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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the §
surviving mother of CHARLES             §
ROUNDTREE, JR., BERNICE                 §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and §
all Statutory Beneficiaries, TAYLOR     §
SINGLETON, and DAVANTE SNOWDEN §
      Plaintiffs,                       §
                                        §                    CIVIL ACTION NO.
VS.                                     §                    5:18-CV-1117-JKP-ESC
                                        §
THE CITY OF SAN ANTONIO, TEXAS          §
AND STEVE CASANOVA                      §
      Defendants.                       §


                               DEFENDANT STEVE CASANOVA’S
                              MOTION FOR SUMMARY JUDGMENT


TO THE HONORABLE U.S. DISTRICT COURT:

        COMES NOW Defendant STEVE CASANOVA (“Defendant” or “Casanova”) and files

this Motion for Summary Judgment asserting his qualified immunity from Plaintiffs’ claims,

pursuant to Rule 56, Federal Rules of Civil Procedure Defendant respectfully shows the Court

the following:

                                            I. INTRODUCTION

1.      This is an action brought by Plaintiffs against Officer Casanova and the City of San

Antonio, Texas, on October 23, 2018,1 alleging Casanova’s alleged use of excessive force



1
  Plaintiffs’ Original Complaint included Patricia Slack, Individually and as surviving mother of Charles Roundtree
Jr. (decedent); Bernice Roundtree representative of Estate of Charles Roundtree, Jr. and Statutory Beneficiaries;
Taylor Singleton. [Dkt. 1]. Plaintiff Davante Snowden was added in Plaintiffs’ First Amended Complaint filed on
November 19, 2018. [Dkt. 9]. Plaintiffs added Diajhanae Williams as Next Friend of K.W., a minor, in Plaintiffs’
Third Amended Petition filed on November 13, 2021, contending that K.W. was the child of Charles Roundtree, Jr.


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                                                            Exhibit                                Page 1
                                                               "1"
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resulting in the October 17, 2018, shooting injury sustained by Snowden and resulting in the

death of Charles Roundtree, Jr. (“decedent”) in violation of 42. U.S.C. §1983 under the Fourth

Amendment of the United States Constitution. Plaintiffs Slack and Bernice Roundtree seek

wrongful death damages and Plaintiff Bernice Roundtree seeks survival damages for the Estate

of Charles Roundtree Jr. Casanova asserts his qualified immunity defense in this suit.

                                                II.
                                         BACKGROUND FACTS

2.      On the night of October 16th and early morning of October 17, 2018, Officers Casanova

and Panah were on routine patrol at the Lincoln Courts, when they were flagged down by Maria

Herrera who told the officers that her husband Esteban Preciado was assaulted by an individual

who ran into the house at 217 Roberts Street.2 Casanova observed the bodily injury to Mr.

Preciado’s facial area. Casanova was familiar with 217 Roberts Street as a “dope house.” He

patrolled this area many times before. Casanova drove by Roberts Street earlier that evening

using a flood light to detect activity in the area and saw a vehicle’s headlights shining on a

female with pink pants going into the house at 217 Roberts Street.3 Plaintiff Singleton along

with Plaintiff Snowden looking through the front window of the house witnessed Casanova’s

patrol car go by shining a light on the house.4

3.      After receiving the citizen complaint of an assault that allegedly occurred only a few

minutes before and that the suspect was inside the house at 217 Roberts Street, Casanova decided

to conduct a “knock and talk” investigation of the house. Casanova informed Ms. Herrera that he

would go to the house to try to make contact to see he could catch the guy; if not, he would

[Dkt. 68-1]. Plaintiffs voluntarily dismissed Plaintiff Williams without prejudice on February 11, 2021. [Dkt. 80].
Defendant reserves the right to seek a determination of heirship if necessary, at the appropriate time.
2
  Exhibit A (Casanova Affidavit, Casanova bodycam 06:06:45-06:12:18); Exhibit B (Panah Affidavit, Panah
bodycam T06:07:20Z-T06:08:11Z); Exhibit C (Perez Affidavit, C-1 Snowden’s statement; C-2, Recording of
Snowden statement (15:34:58-15:37:54)).
3
  Exhibit A (Casanova Affidavit).
4
  Exhibit E (Singleton Deposition 35:24-36:20); Exhibit A (Casanova Affidavit, p. 2).


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provide Ms. Herrera with a case number and he would file a report.5 Prior to approaching the

house, Casanova gave instructions to the officers present on where to position themselves.6

Casanova approached 217 Roberts Street and opened an unlocked chain link fence gate. He

walked down the walkway to the front porch where an individual, John Cotton, was sitting.

Casanova recognized him as an individual that frequented drug houses in the area but who did

not match the description of the alleged assailant. Casanova proceeded to the front door of the

residence.7 With his flashlight in his right hand, Casanova approached the front door wearing his

full regulation SAPD uniform, with badge, name plate, and SAPD patch on his arm and on the

front of his beanie.8 He knocked on the inner wood door three times and the door swung open.9

Casanova pointed his flashlight downwards with his firearm holstered when the inner door

opened. Snowden greeted Casanova first and said: “What’s up?” Casanova returned the

salutation with “What’s up man?”10 As Casanova stood at the door, he could see an overhead

light in the living room illuminating the room and himself at the door.11 Plaintiff Singleton noted

in her written statement and in her deposition testimony that the officer she saw shooting looked

Hispanic, and she could see the beanie he was wearing.12 Casanova scanned the three occupants

in the living room, evaluated the immediate presence of danger and noted that the individual

seated directly in front of him about six feet away matched the description of the assailant.13

Within seconds, Snowden suddenly turned confrontational toward Casanova rising from the

5
  Exhibit A (Casanova Bodycam A-1, T06:11:11Z-T06:11:33Z).
6
  Exhibit A (Casanova Affidavit A-1, Bodycam T06:17:36Z-T06:20:26Z).
7
   Exhibit A (Casanova Affidavit, Casanova body cam 06:21:45-06:22:15); Exhibit B (Panah Affidavit, Panah
bodycam T06:21:48Z-T06:22:14Z).
8
  Exhibit B-1 (T06:07:22Z - T6:08:08Z) and Exhibit B-2 (Still frame, T06:07:29Z).
9
  Exhibit D (Tanwar Affidavit, A-3 Casanova enhanced bodycam video (T06:21:42Z - T06:22:15Z).
10
   Exhibit D (Tanwar Affidavit, D-3, Casanova enhanced bodycam video (T06:22:16Z - T06:2218Z); D-5, Casanova
enhanced bodycam video inverted (T06:22:16Z - T06:2218Z); D-6, Casanova enhanced bodycam audio).
11
   Exhibit D (Tanwar Affidavit, D-1, (T06:22:14Z - T06:22:19Z); D-2 (938 to 1100/1198); D-9, (Image No. 7).
12
   Exhibit E (Singleton Deposition Exhibit No. 2, Statement); Exhibit F-8, Singleton 10/17/18 written statement,
COSA 002132 - 002133; Exhibit F-9, Singleton’s Deposition page 41, lines 10-14; page 50, lines 2 - 15.
13
   Exhibit F-5 (Ortiz Declaration, Casanova’s written statement).


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couch saying: “Hey, who the fuck is this!” while gripping a gun with his right hand.14 Casanova

quickly yelled: “Hey let me see your fucking hands!”15 Casanova unholstered his gun for the

first time and fired two shots at Snowden who did not obey his command to show his hands.16

After the shots were fired, Casanova and other officers departed the front yard to establish a

perimeter around the house. Casanova commented that he saw Snowden in possession of a nine-

millimeter gun.17 After the incident, investigators found a nine-millimeter gun just outside the

back window of the house and a matching nine-millimeter gun clip inside the house.18 The

occupants of 217 Roberts Street, other than Charles Roundtree, Jr., departed the house after

approximately ten minutes, as instructed by the police. The occupants were transported to the

police station to give witness statements. Officer Casanova did not play a role in deciding to

detain the occupants of the house for the purpose of providing witness accounts to police.


     CASANOVA DID NOT VIOLATE PLAINTIFFS’ CONSTITUTIONAL RIGHTS

                                    III.
              VIDEO AND AUDIO RECORDINGS ARE CONSISTENT WITH
                      CASANOVA’S VERSION OF THE FACTS.

4.      The video and audio recordings from Defendant, Officer Casanova’s and Officer Panah’s

body worn cameras (BWC) provide undisputed evidence of what took place the night of October

16, and the early morning of October 17, 2018. The recordings are consistent with, and do not

controvert, Officer Casanova’s version of the facts.


14
   Exhibit D (Tanwar Affidavit at D-3, D-5 and D-7, Casanova bodycam video-slow motion (T06:22:18Z -
T06:22:20Z).
15
   Exhibit D (Tanwar Affidavit at D-3, D-5 and D-7 (T06:20:20Z - T06:22:22Z); D-8, Casanova enhanced bodycam
frames 170-220); D-9, Tanwar Supplemental Report Images 11, 15-18).
16
   Exhibit D (Tanwar Affidavit at D-3, D-5, D-7 and D-8 (T06:22:20Z); D-9, Images 19-26); Exhibit F-5 (Ortiz
Affidavit, Casanova’s statement).
17
   Exhibit D (Tanwar Affidavit at D-3, D-5, D-7 and D-8 (T06:22:23-06:22:24Z).
18
   Exhibit C (Perez Affidavit at C-3, COSA (003426-003427) and COSA (003433); Exhibit C-4, COSA (003375),
COSA (001981), COSA (001992); Exhibit D (Tanwar Affidavit at D-9, Supplemental Report Images 27-28; D-10,
Report Image 18).


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5.     “When evaluating a qualified immunity defense, courts ‘consider[] only the facts that

were knowable to the defendant officers.’ Tucker v. City of Shreveport, 2021 WL 1973562, *3

(5th Cir. 2021), citing, White v. Pauly, 137 S. Ct. 548, 550 (2017) (per curiam); Cole v. Carson,

935 F.3d 444, 456 (5th Cir. 2019) (en banc) (“[W]e consider only what the officers knew at the

time of their challenged conduct.”). An official's actions are judged in light of the circumstances

that confront him, without the benefit of hindsight. Brown v. Callahan, 623 F.3d 249, 253 (5th

Cir. 2010).

6.     Although courts view evidence in the light most favorable to the nonmoving party in a

typical summary judgment proceeding, they give greater weight, even at the summary judgment

stage, to the facts evident from video recordings taken at the scene. Valderas v. City of Lubbock,

937 F. 3d 384, 388 (5th Cir. 2019), reissued 774 Fed. Appx. 173, 176 citing, Griggs v. Brewer,

841 F.3d 308, 312 (5th Cir. 2016) citing, Carnaby v. City of Houston, 636 F.3d 183, 187 (5th

Cir. 2011)). Because of video and audio recordings of the event, Courts are not required to

accept factual allegations that are “blatantly contradicted by the record.” Tucker v. City of

Shreveport, No. 19-30247. (5th Cir. 2021), citing, Scott v. Harris, 550 U.S. 372, 380 (2007).

Rather, the Court should “view[ ] the facts in the light depicted by the videotape.” Id. at 381. As

shown in Defendant’s Motion for Summary Judgment, Plaintiffs’ alleged facts leading up to the

shooting incident are “blatantly contradicted by the record.” Id.

                                 IV.
       CASANOVA HAD DISCRETION TO CONDUCT A “KNOCK AND TALK”
                           INVESTIGATION

7.     The Fifth Circuit recognizes the “knock and talk” approach as a “reasonable investigative

tool when officers seek to gain an occupant’s consent to search or when officers reasonably

suspect criminal activity.” United States v. Jones 239 F.3d 716, 720 (5th Cir. 2001). American




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courts, generally, and the Fifth Circuit in particular, view pristine “knock and talk” incidents as

legitimate investigative tactics. Id., U.S. v. Lewis, 476 F.3d 369 (5th Cir.2007); U.S. v. Gould,

364 F.3d 578 (5th Cir. 2004). Police officers with legitimate business may enter areas impliedly

open to the public and are permitted the same license to intrude as a reasonably respectful

citizen. A knock and talk is a consensual encounter between police officers and citizens are not

seizures. U.S. v. Velazco-Durazo, 372 F. Supp 2d 520, 525 (D. Ariz. 2005), citing, Terry v.

Ohio, 392 U.S. 1, 19 n. 16, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968) (“Obviously, not all personal

intercourse between policemen and citizens involves ‘seizures' of persons. Only when the officer,

by means of physical force or show of authority, has in some way restrained the liberty of a

citizen may we conclude that a ‘seizure’ has occurred.”).

8.       Even where a gated fence surrounds the property, if the officers “reasonably believe the

gate provided the principal means of access ... through which they could approach the front

door,” the Fourth Amendment is not violated by entering the fenced yard to attempt a knock and

talk. Rojas v. Kirkpatrick, 2015 WL 6550441 *8 (W. D. Tex. Oct. 28, 2015) affirmed, 643 Fed.

Appx. 451 (5th Cir. Apr. 15, 2016, cert denied), U.S. v. Thomas, 120 F.3d 564, 572 (5th Cir.

1997).

9.       “When an officer of the law simply walks up to the door and knocks, (s)he visits the

house in the same lawful way that a private citizen would, and the ensuing ‘knock and talk’ does

not implicate the Fourth Amendment or its exceptions because no search or seizure occurs.”

U.S. v. Walters, 529 F. Supp. 2d. 628, 637 (E.D. Tex. 2007). Plaintiffs assert that Casanova did

not have a “no-knock warrant” when he opened the door. [Dkt. 72, ¶13]. However, “No warrant

is required to ‘knock and talk.’” U.S. v. McGrath, 65 Fed. Appx. 508, *1 (5th Cir. 2003). In

addition, “[l]aw enforcement officials are not required to obtain a warrant at the first possible




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opportunity. United States v. Rodea, 102 F.3d 1401, 1409 (5th Cir.1996).

10.      Although reasonable suspicion alone does not justify a warrantless search of a home, it

can justify a police officer approaching the house to question occupants. U.S. v. Tobin, 923 F.2d

1506, 1510-11 (5th Cir. 1991); U.S. v. Orozco 2006 WL 1851709, *2 (W. D. Tex., 2006); United

States v. Jones, 239 F.3d 716, 720 (5th Cir. (Tex.) Jan. 22, 2001). As demonstrated on the

bodycam footage, Officer Casanova approached 217 Roberts Street to investigate the complaint

of an alleged assault. He received credible information that the suspect went into the residence

after the assault.19 Casanova’s and Panah’s bodycams show the complainant confirming the

address and description of the suspect, and the injuries suffered by her husband.20

11.      Officer Casanova used proper discretion to conduct a “knock and talk” investigation

pursuant to City of San Antonio Police Department Policies and Procedures.21

      A. Identification by police officers is not a requirement in a “knock and talk”
      investigation.

12.      Plaintiffs assert in their Complaint that, “[a]t no time did Defendant Casanova identify

himself as a San Antonio police officer.” Uniformed police officers conducting “knock and talk”

investigations are not required to identify themselves as police officers prior to knocking on a

suspect's door, where the suspect lacks protected privacy interests in the public area outside his

door, the suspect responds voluntarily to the knock, and officers are immediately identifiable as

police officers when the door is opened. United States v. Anderson, 160 F. App'x 391, 392-93

(5th Cir. 2005) (Emphasis added). “This procedure, in which an officer knocks on a person’s

door and asks to speak with them and to enter the residence has been approved, so long as it is


19
   Exhibit A (Casanova Affidavit, Casanova bodycam T06:47:45Z-T12:20:21Z); Exhibit B (Panah Affidavit, Panah
bodycam 06:07:20-06:08:11).
20
   Exhibit A (Casanova Affidavit, Casanova bodycam T06:47:45Z-T12:20:21Z).
21
   Exhibit F (Ortiz Affidavit, SAPD SOP, Exhibit F-3 701-Crime Scene Duties, Section .06; and F-4 Texas Code of
Criminal Procedure, Chapter 2, Article 2.13).


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not used as a means of avoiding the need to obtain a warrant.” U.S. v. Milikan, 404 F. Supp. 2d

924, 927 (E.D. Tex. 2005), citing Jones at 721. No such allegation is made by Plaintiffs in this

suit.

13.       As the bodycam video demonstrates, Officer Casanova walked up to the front door and

knocked to make his inquiry. Casanova’s gun was holstered and was not pointed at the door or

the house. There is no dispute that Casanova was wearing his SAPD uniform that night. His

initial encounter with Snowden started out as consensual when both exchanged friendly

greetings.22 Contrary to Singleton’s assertions Casanova did not kick down the door.23

                                        V.
                    THERE WAS NO WARRANTLESS ENTRY BY CASANOVA.

14.       Plaintiffs Third Amended Complaint asserts that, “[s]tartled and frightened by Defendant

Casanova’s unauthorized entry to the Residence . . .;” [Dkt. 72, ¶14]. A warrantless intrusion

into an individual's home is presumptively unreasonable unless the individual consents or

probable cause and exigent circumstances justify encroachment. Jones at 719. However,

Casanova never stepped into the residence at 217 Roberts Street.

15.       There is no entry where an officer's ordinary knock opens a door that was slightly

ajar. U.S. v. Kemp, 12 F.3d 1140, 1143 (D.C. Cir. 1994) (officers did not “break open” door

within meaning of 18 U.S.C. § 310924 when door to premises swung open after officers knocked

on it with reasonable force); U.S. v. Moreno, 217 F.3d 592, 593 (8th Cir. 2000) (no “breaking”

occurred when an officer knocked on a door with a normal amount of force and that knocking

causes the door to swing open”). After Casanova’s knocking using a normal amount of force,



22
    Exhibit D (Tanwar Affidavit, D-3, Casanova enhanced bodycam video (T06:22:16Z – T06:2218Z); D-5,
Casanova enhanced bodycam video inverted (T06:22:16Z – T06:2218Z); D-6, Casanova enhanced bodycam audio).
23
   Exhibit E (Singleton Deposition 127:6-16).
24
   Applies to execution of warrants, regarding regulation of forced entry.


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the inner door opened.25 Pursuant to the above-referenced case law, Casanova’s knock that

opened the inner door is not an unauthorized entry.26

16.     Casanova did not breach the entry to the front door. In Payton v. New York, 445 U.S. 573,

583, 100 S. Ct. 1371, 1378, 63 L. Ed. 2d 639 (1980), the Supreme Court made clear that, “. . .

the Fourth Amendment has drawn a firm line at the entrance to the house. Absent exigent

circumstances, that threshold may not reasonably be crossed without a warrant.” 445 U.S. at

590; Kirkpatrick v. Butler, 870 F.2d 276, 281 (5th Cir. 1989). A closed outer iron door was not

opened by Casanova.27 As clearly shown on the video, Casanova did not kick the door down or

demand that the door be opened. The closed outer iron door was not used by Casanova to enter

the home. As such, there was no unauthorized entry into the house.

                                           VI.
                          SNOWDEN CAUSED EXIGENT CIRCUMSTANCES
                            BY REACHING FOR AND GRIPPING A GUN

17.     Officer Casanova very suddenly confronted an exigent circumstance that posed an

immediate threat risk to his life and that of his fellow officers when he saw Snowden brandish a

nine-millimeter handgun near his waist as he became confrontative and belligerent toward the

officer. Snowden quickly escalated the investigation from a “knock and talk” to a verbal warning

to show his hands to a sudden need for self-preservation.28 Snowden stepped toward the officer

and did not obey Casanova’s command. Only then did Casanova pull his service revolver from

25
   Exhibit D (Tanwar Affidavit, T06:22:13Z – T06:22:15Z (Pages 1 to 89/298).
26
   Exhibit D (Tanwar Affidavit, D-3, Casanova enhanced bodycam video (T06:22:16Z – T06:2218Z); D-5,
Casanova enhanced bodycam video inverted (T06:22:16Z – T06:2218Z); D-6, Casanova enhanced bodycam audio);
D-1, Panah’s video (T06:21:42Z— T06:22:00Z and T06:22:06Z – T06:22:08Z); Exhibit D-2, Panah Bodycam
Frames (1 to 536 and 697 to 773/1198).
27
   Exhibit D (Tanwar Affidavit, D-3, Casanova enhanced bodycam video (T06:22:16Z – T06:2218Z); D-5,
Casanova enhanced bodycam video inverted (T06:22:16Z – T06:2218Z); D-6, Casanova enhanced bodycam audio);
D-1, Panah’s video (T06:21:42Z— T06:22:00Z and T06:22:06Z – T06:22:08Z); Exhibit D-2, Panah Bodycam
Frames (1-536 and 697-773/1198).
28
    Police-citizen encounters may be divided into three tiers or categories for Fourth Amendment
purposes: consensual encounters, Terry-type stops, and full-blown arrests. U.S. Const. Amend. 4. See footnote 14,
Supra.


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his holster and fire two shots at Snowden.29

18.     At this moment, Snowden changed the material circumstances where Casanova was now

faced with probable cause to believe that Snowden was about to discharge a firearm in his

direction. Courts have found the existence of such an exigency where officers have a reasonable

belief that a suspect has a weapon, and the suspect demonstrates a willingness to use the weapon.

Naselroad v. Mabry-K & T, 763 Fed. Appx. 452 (6th Cir. 2019); United States v. Ponder, 240

Fed. Appx. 17, 20 (6th Cir. 2007). Although a suspect’s “willingness to use” a weapon may

involve the occurrence of fired gunshots, “brandishing” a weapon may also indicate a suspect’s

willingness to use the weapon. Ewolski v. City of Brunswick, 287 F.3d 492, 502 (6th Cir. 2002).

The plaintiff’s “subjective assessment of whether his behavior posed an immediate threat is not

the appropriate lens” through which to view the officer’s actions. Deffert v. Moe, 111 F.Supp.3d

797, 807 (W.D. Mich. 2015). Instead, the Court conducts an objective inquiry by looking to the

facts and circumstances known to the officer. Id.

19.     The ‘reasonableness’ of a particular use of force must be judged from the perspective of a

reasonable officer on the scene. Graham at 396. “The calculus of reasonableness must embody

allowance for the fact that police officers are often forced to make split-second judgments—in

circumstances that are tense, uncertain, and rapidly evolving—about the amount of force that is

necessary in a particular situation.” Id. at 396–97.

                                         VII.
                    CASANOVA’S PERCEPTION OF AN IMMEDIATE THREAT
                        RESULTED IN A REASONABLE USE OF FORCE

20.     In evaluating whether the use of force was reasonable, courts look to the “totality of the

circumstances,” giving “careful consideration to the facts and circumstances of each particular


29
  Exhibit A (Casanova Affidavit); Exhibit D (Tanwar Affidavit, Exhibits D-3, D-5, D-7, and D-8 (T06:20:20Z -
T06:22:22Z).


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case, including the severity of the crime at issue, whether the suspect poses an immediate threat

to the safety of the officers or others, and whether he is actively resisting arrest or attempting to

evade arrest by flight.” Ramirez v. Martinez, 716 F.3d 369, 377 (5th Cir. 2013) (citing Graham,

490 U.S. at 396). “The timing, amount, and form of a suspect’s resistance are key to determining

whether the force used by an officer was appropriate or excessive.” Joseph v. Bartlett, 981 F.3d

319, 332 (5th Cir. 2020). Estate of Macias v. Texas Department of Public Safety, 2021 WL

495877 *11 (W. D. Tex., Feb 09, 2021).

21.     In evaluating use of deadly force, the degree of force employed is only permitted to

protect the life of the shooting officer or others. Cole v. Carson, 935 F.3d 444, 453 (5th Cir.

2019) citing, Tennessee v. Garner, 471 U.S. 1, 11 (1985). “The use of deadly force violates the

Fourth Amendment unless ‘the officer has probable cause to believe that the suspect poses a

threat of serious physical harm, either to the officer or to others.’” Romero v. City of Grapevine,

888 F.3d 170, 176 (5th Cir. 2018) quoting, Garner at p.11. Stated differently, “[a]n officer’s use

of deadly force is not excessive, and thus no constitutional violation occurs, when the officer

reasonably believes that the suspect poses a threat of serious harm.” Manis v. Lawson, 585 F.3d

839, 843 (5th Cir. 2009); Batyukova v. Doege, 2020 WL 2512987 (W. D. Tex. 2020) affirmed,

2021 WL 1557354 *4 (5th Cir. 2021).

22.     Courts are careful to avoid “second-guessing a police officer’s assessment, made on the

scene, of the danger presented by a particular situation.” Garza, 943 F.3d at 745, quoting,

Ryburn v. Huff, 565 U.S. 469, 477 (2012). “The calculus of reasonableness must embody

allowance for the fact that police officers are often forced to make split-second judgments — in

circumstances that are tense, uncertain, and rapidly evolving — about the amount of force that is

necessary in a particular situation.” Graham, 490 U.S. at 396–97, 109 S. Ct. 1865, Batyukova at




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*4.

23.     Officer Casanova clearly saw Snowden in possession of a firearm. Officer bodycam

video and enhancements support his observation.30 The sudden transformation of circumstances

from a casual greeting of potential witnesses to a life-threatening confrontation occurred in a

split-second. This is a fact scenario where any reasonable officer in Casanova’s shoes would

have drawn his weapon in self-defense. He had no other viable option, including a duty to

retreat, as his fellow officers were in the line of potential fire from Snowden. Snowden testified

in his deposition that he was not wearing a belt, which rules out any reflective material on or

around his waist.31 This is not a case of a vague-looking object in the possession of the suspect,

such as a cell phone or metal object, from the perspective of the officer. A nine-millimeter gun

was ultimately found outside a back bedroom window, with a nine-millimeter magazine/clip

found inside the house in the same bedroom.32 Casanova was objectively reasonable in his

decision to use deadly force in the face of an immediate and imminent threat. He reasonably

assumed his presence in a police uniform was illuminated by the living room light. Snowden’s

friendly greeting caused Casanova to believe his presence was not a threat to others initially,

thereby leading him to return a casual greeting instead of a police command. Once Snowden

suddenly became hostile and appeared to be drawing a firearm toward Casanova, the intended

target was a mere five feet in front of him. Casanova gave a verbal command to Snowden to

show his hands. When Snowden failed to comply with the command, Casanova discharged two

shots directly aimed at Snowden, as opposed to randomly shooting inside the house. As the Fifth

Circuit has repeatedly admonished, rapidly evolving, tense, and uncertain circumstances like this

forcing law enforcement officers to make split-second judgments on the appropriate use of force

30
   Exhibit D (Tanwar’s Affidavit, at D-3, D-4, D-5, D-7, D-8, and D-9).
31
   Exhibit G (Snowden’s Deposition pp. 66:16-68:13 & Att. 10).
32
   Exhibit C (Perez Affidavit, Exhibits C-3 and C-4).


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should not be second-guessed in Court proceedings. Tucker, supra., 2021 WL 1973562, *3; Cole,

supra., 935 F.3d at 456; Brown, supra., 623 F.3d at 253. Casanova is entitled to qualified

immunity from Plaintiffs’ claims of excessive force under the Fourth Amendment.

                                      VIII.
                  SINGLETON WAS NOT SEIZED BY OFFICER CASANOVA

24.      As the Supreme Court held in Graham, “[a] ‘seizure’ triggering the Fourth Amendment’s

protections occurs only when government actors have, by means of physical force or show of

authority ... in some way restrained the liberty of a citizen.” Graham v. Connor, 109 S. Ct. at

1871 n. 10, quoting, Terry v. Ohio, 392 U.S. 1, 19 n. 16, 88 S. Ct. 1868, 18 n. 16, 20 L. Ed. 2d

889 (1968)). Plaintiffs’ Third Amended Complaint only asserts that the force used by Casanova

was excessive and violated Singleton’s clearly established constitutional rights and was not

objectively reasonable under the circumstances.33

25.      In Plaintiff’s Third Amended Complaint, Singleton asserts she was in fear of her live as a

result of Casanova firing his weapon at her.34 However, Casanova did not fire his weapon

directly at Singleton nor did he have any intention of doing so.35 She testified that the first shot

hit Snowden in the back and then it went passed her head.36 She testified in her deposition that

she did not give Casanova any reason to shoot at her.37 In Plaintiffs’ Third Amended Complaint,

Singleton requests damages because she was in the residence and, “. . . within the line of

Casanova’s fire when Casanova fatally shot Roundtree and injured Snowden.” In Torres v.

Madrid, 141 S. Ct. 989, 998 (March 25, 2021), the Supreme Court stressed that not every

physical contact between an officer and a member of the public can be considered a Fourth


33
   Dkt. 68-1, ¶ 45.
34
   Dkt. 72 ¶ 47.
35
   Exhibit A (Casanova Affidavit).
36
   Exhibit E (Singleton Deposition p. 46:19-24).
37
   Exhibit E (Singleton Deposition p. 62:11-25).


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Amendment seizure. Id. “A seizure requires the use of force with intent to restrain”. Id.

(Emphasis added). “Accidental force will not qualify.” Id., citing, County of Sacramento v.

Lewis, 523 U.S. 833, 844, 118 S.Ct. 1708, 140 L.Ed.2d 1043 (1998). The Supreme Court in

Torres further found that, “Nor will force intentionally applied for some other purpose satisfy

this rule”. Id at 999. “In this opinion, we consider only force used to apprehend.” Id.

26.      The court determined that the appropriate inquiry is whether the challenged conduct

objectively manifests an intent to restrain. Id. at 998. The court further noted that, “While a

mere touch can be enough for a seizure, the amount of force remains pertinent in assessing the

objective intent to restrain. Id. No force was applied against Singleton beyond the presence of

an officer at the door.38 In addition, there was no intent to apprehend Singleton as part of

Casanova’s investigation.39 As cited within this motion, the Court conducts an objective inquiry

by looking to the facts and circumstances known to the officer. Deffert at 807. Similarly, the

Supreme Court in Torres held that a seizure does not depend on the subjective perceptions of the

complainant. Torres v. Madrid, 141 S. Ct. at 999. In the instant case, it does not matter what

Singleton believed. There was no force applied against her and no intent to restrain, therefore,

no seizure occurred. Singleton only asserts in her Amended Complaint that she was only in the

line of fire.40 Singleton cannot sustain a Fourth Amendment violation against Casanova. In

addition, nowhere in Plaintiffs’ Third Amended Complaint does Singleton assert that she was

unlawfully seized.




38
   In Torres, the force applied, and the seizure occurred when the suspect was actually struck by the officer’s bullet.
Id. at 999.
39
   Exhibit A (Casanova Affidavit).
40
   Dkt. 72, ¶ 76 (d)(1).


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                                 IX.
      DECEDENT WAS AN UNINTENDED VICTIM AND THERE WAS NO SEIZURE
            WITHIN THE MEANING OF THE FOURTH AMENDMENT

27.       Charles Roundtree Jr., the unintended victim of a shooting, was not “seized” within the

meaning of the Fourth Amendment and, therefore, his accidental death cannot give rise to a

constitutional violation based on allegations of excessive force or unreasonable seizure.

28.       This Court recently and succinctly addressed the seizure and accidental death issue in the

Estate of Macias v. Texas Department of Public Safety, 2121 WL 495877 *10 (W. D. Tex. Feb.

9, 2021):

       “It is true that “a Fourth Amendment seizure does not occur whenever there is a
      governmentally caused termination of an individual’s freedom of movement, ... but only
      when there is a governmental termination of freedom of movement through means
      intentionally applied.” Brower v. County of Inyo, 489 U.S. 593, 596–97 (1989) (emphasis in
      original). And the “[v]iolation of the Fourth Amendment requires ... [that the] detention or
      taking itself must be willful.” Id. at 596. These principles ensure that every “negligent taking
      of a life” does not become “a constitutional deprivation” and have been applied consistently
      to foreclose Fourth Amendment claims in the context of the accidental deaths of innocent
      bystanders. Young v. City of Killeen, 775 F.2d 1349, 1353 (5th Cir. 1985). See also Moore v.
      Indehar, 514 F.3d 756, 760 (8th Cir. 2008) (collecting cases) (“bystanders are not seized for
      Fourth Amendment purposes when struck by an errant bullet in a shootout”); Childress v.
      City of Arapaho, 210 F.3d 1154, 1156–57 (10th Cir. 2000) (finding, in hostage shooting case,
      no Fourth Amendment “seizure” because “[t]he officers intended to restrain the minivan and
      the fugitives, not [the hostages]”); Claybrook v. Birchwell, 199 F.3d 350, 355, 359 (6th Cir.
      2000) (determining that plaintiff struck by errant bullet during police shootout was not seized
      because officers were aiming at her father-in-law and did not realize she was hiding in
      nearby parked car); Medeiros v. O’Connell, 150 F.3d 164, 167–69 (2nd Cir. 1998) (holding
      that where a hostage is struck by an errant bullet, there is no Fourth Amendment seizure or
      violation); Rucker v. Harford County, Md., 946 F.2d 278, 281 (4th Cir. 1991) (explaining
      that Brower “does not mean ... that a seizure occurs just so long as the act of restraint itself is
      intended ... though it restrains one not intended to be restrained”); Landol–Rivera v. Cruz
      Cosme, 906 F.2d 791, 794–96 (1st Cir. 1990) (declining to hold that hostage was seized for
      Fourth Amendment purposes when police officers fired at suspect’s getaway car and
      accidentally struck the hostage)”.

      Id. at *10.

29.       The Court also presented analogous cases similar to the fact situation in the instant case.

In Gorman v. Sharp, 892 F. 3d 172, 174 (5th Cir. 2018), the Fifth Circuit discussed the issue of



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accidental deaths in a case involving a firearms training exercise where a firearms instructor

forgot to replace his real firearm with a “dummy” firearm and unintentionally shot a colleague in

the chest with a live round of ammunition. The Court concluded that the shooting was not

willfully performed by the instructor, whose “only intention in pulling the trigger. . .was to

educate his audience as a firearms training instructor” and therefore there could be no “seizure”

“in the absence of intentional conduct.” Macias at *10, citing Gorman at 174. As in the instant

case, Casanova intended to protect himself and his fellow officers from the threat of serious

bodily injury caused by Snowden brandishing and gripping a weapon. Casanova’s intended

target, judging from the sudden life-threatening conduct, was Snowden, and Casanova ostensibly

pulled his trigger in order to stop Snowden. Id., Macias at *10.

30.      An analogous case from the Southern District of Texas applied Gorman in granting

summary judgment in the context of an accidental death during a “shootout” arising from a

domestic disturbance. Garcia v. City of McAllen, Texas 2020 WL 1660095, *1 (S.D. Tex. Apr. 1,

2020).    In Garcia, the McAllen Police Department responded to a domestic disturbance

involving several minors and their stepfather. During the shootout, the police officers accidently

struck one of the minors, who survived, but suffered injuries. The district court held that since

the officer who discharged his weapon accidentally striking the minor did not intend to shoot the

minor, but rather was targeting the stepfather, the plaintiffs did not have an excessive force claim

under the Fourth Amendment against the officer. Id. at *4, Macias at *10. The facts are similar

as in this case, where Casanova’s discharge of his firearm was targeting Snowden and the bullet

accidently struck the decedent. The fact situations in Gorman and Garcia are on point to the

facts presented in this case. As such, the operative facts in this case do not rise to a Fourth

Amendment claim, therefore, the decedent does not satisfy the first step to defeat Casanova’s




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qualified immunity by showing that Casanova violated decedent’s constitutional rights. District

of Columbia v. Wesby, 138 S. Ct. at 589. Therefore, Casanova maintains his qualified immunity.

                                  X.
      SINGLETON HAS NO WRONGFUL ARREST AND DETENTION CLAIM AND NO
                          BYSTANDER CLAIM.

         A. No wrongful arrest and detention.

31.      Singleton cannot maintain a cause of action for wrongful arrest and detention against

Casanova.41 Casanova had no role in the decision to hold and transport Singleton to the police

station to give a statement.42

32.      It is well-settled that not all encounters with the police implicate the Fourth Amendment.

Golla v. City of Bossier City, 687 F. Supp. 2d 645, 656 (W.D. La. 2009) (citing Florida v.

Bostick, 501 U.S. 429, 434 (1991)). After Singleton came out of the house at 217 Roberts, she

was placed in handcuffs and other officers took her in to give a statement.43 The United States

Supreme Court has recognized the right to detain non-suspect material witnesses on a temporary

basis. Illinois v. Lidster, 540 U.S. 419, 427-28 (2004). At a minimum, officers have a right to

identify witnesses, obtain the names and addresses of such witnesses, and ascertain whether they

are willing to speak voluntarily with the officers. Golla v. City of Bossier City, 687 F. Supp. 2d

645, 657-58, (W.D. La. 2009), citing, Hiibel v. Sixth Judicial Dist. Ct., 542 U.S. 177, 186–88

(2004). Handcuffing a suspect or using force does not automatically convert an investigatory

detention into an arrest requiring probable cause. United States v. Abdo 733 F. 3d 562, 565 (5th

Cir. 2013) citing , United States v. Sanders, 994 F.2d 200, 206 (5th Cir. 1993).




41
   Dkt. 72 ¶¶ 14, 17, 30.
42
   Exhibit A (Casanova Affidavit, pg. 3).
43
   Exhibit E (Singleton Deposition p. 31:15-22).


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33.     There is no dispute that Singleton was not arrested after she gave her statement and

therefore, cannot maintain a wrongful arrest violation. As such, Singleton does not have a cause

of action for wrongful arrest and detention against Casanova.

        B. Singleton does not have a 1983 bystander claim.

34.     The Fifth Circuit has determined that bystander recovery is not permitted under §1983.

Grandstaff v. Borger, 767 F. 2d 161, 172 (5th Cir. 1985), quoting, Baker v. McCollan, 443 U.S.

137, 146 (1979)); Khansari v. City of Houston, 14 F.Supp. 3d 842, 863 (S.D. Tex. 2014) (mem.

op.). The Fifth Circuit held in Grandstaff, that “there is no constitutional right to be free from

witnessing police action.” Id. at 172. In Grandstaff, bystander plaintiffs sought to recover

damages “for their own emotional injuries suffered as bystanders when they witnessed the

gunfire directed at [decedent] Grandstaff in his pickup truck.” Id. The Grandstaff Court

ultimately held that the bystander plaintiffs could not recover damages for emotional injuries

because they did not have an independent cause of action under § 1983. Id. Essentially,

witnessing a police officer commit a tort is not a violation of a Constitutional right sufficient to

make a § 1983 claim. The district court in Khansari concluded that Plaintiffs’ claims for

excessive use of force asserted against the individual officers should be dismissed for failure to

state a claim because these bystander Plaintiffs did not allege facts capable of showing that the

police actions were directed at them or that they suffered a “seizure” as required for a violation

of rights protected by the Fourth Amendment. Id at 862. Similarly, the court in Dantzler v.

Hindman, 2017 WL 6403043 *3 (W. D. Tex. 2017), held that similar to other courts’ rejections

of claims of emotional injuries for observation of excessive force used against another person, “a

bystander who is not the object of police action cannot recover for resulting injuries under

§1983.” Id. at *13.




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35.     In this case, Singleton asserts that she suffered a direct personal injury in the form of

severe anxiety symptoms, moderate depression and grieve/loss symptoms related to the shooting

of the unrelated decedent and of unrelated Snowden by Officer Casanova.44 Singleton was not

the object of direct police action.45           Singleton makes her claim for recovery of emotional

damages based on her witnessing the accidental death of the decedent.46 Singleton was merely a

bystander who is asserting injuries as a result of police conduct directed toward others, which is

not a permissible cause of action.

                                   XI.
      PATRICIA SLACK IS NOT DECEDENT’S PARENT AND CANNOT ASSERT A
       CLAIM UNDER THE WRONGFUL DEATH ACT OR SURVIVOR STATUTE.

36.     The purpose of the Wrongful Death Act (“Act”) is to provide a means whereby surviving

spouses, children, and parents can recover for the loss of a family member for wrongful death.

Tex. Civ. Prac. & Rem. Code Ann. § 71.004(a), Garza v. Maverick Market, Inc., 768 S.W.2d

273, 275 (Tex. 1989). Under Texas law, only the surviving spouse, children, and parents of a

deceased individual may be the beneficiaries of wrongful death and survival suits. Tex. Civ.

Prac. & Rem. Code Ann. § 71.004(a), Ortega v. United States, 986 F. 3d 513 (5th Cir. 2021)

(Emphasis added); Byrnes v. Ford, 642 F. Supp 309 (E.D. Tex., Beaumont Div., 1986)

(“Moreover, §71.004(a) states that “An action to recover damages as provided by this subchapter

is for the exclusive benefit of the surviving spouse, children, and parents of the deceased.

(emphasis added)).” Id at 310, 311. To bring suit under the Wrongful Death Act, a party is

required to prove that he or she was the deceased's spouse, child, or parent. Tex. Civ. Prac. &

Rem. Code Ann. § 71.004(a); Garza, at 275–76; Brown v. Edwards Transfer Co., 764 S.W.2d

220, 222 (Tex.1988).

44
   Exhibit E (Singleton Deposition pp. 20: 9-21; 85:14-88:8; 90:17-93:7).
45
   Exhibit A (Casanova Affidavit, p. 2).
46
   Exhibit E (Singleton Deposition pp. 107:13-23).


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37.      Patricia Slack a/k/a Patricia Castillo testified at her deposition that, although she is the

biological mother of Charles Roundtree Jr. (“decedent”), he was adopted by Slack’s sister-in-law

Bernice Roundtree. The adoption occurred on April 14, 2005, when decedent was four years

old.47

      A. Slack is not the parent of decedent and does not have standing to sue under the
         Texas Wrongful Death Statute.

38.      “Under statute, adoption results in complete severance of parent-child relationship, . . .

upon entry of decree of adoption, new parent-child relationship is created as if child were born

to adoptive parents during marriage. Go Intern., Inc. v. Lewis, 601 S.W.2d 495 (Tex. Civ.

App.—El Paso, June 4, 1980, writ refused n.r.e.), (Emphasis added). When judgment terminating

parent-child relationship between natural mother and minor son is signed, all legal rights,

privileges, duties, and powers concerning son are divested out of the mother. Rogers v. Searle,

533 S.W.2d 440, (Tex. App.—Corpus Christi, 1976, no writ). Bernice Roundtree is designated

as decedent’s parent/mother in decedent’s adoption papers, birth, and death certificates.48 In Go

International, the court referred to language in the adoption statute that “upon adoption, all legal

rights ... between the natural parent and the child with respect to each other are divested upon the

adoption.” Id. at 499. Based on this language, the Go International court held that the adopted

children were no longer “children” of their natural parents within the meaning of the Act, even

though the adopted children retained the right to inherit from their natural parents. Id. at 498–

99. The court reasoned that “if the Legislature had intended to make an exception with regard to

those rights which accrue under the wrongful death statute, it could easily have said so.”

Id. at 499. LG Electronics, USA v. Grigg, 424 S.W. 3d 804, 807-808 (Tex. App.—Tyler, 2014,

47
   Exhibit H (Slack Deposition 50:7-51:5); Exhibit I (Roundtree Deposition 52:4-54:10); Exhibit J (Copy of
adoption papers and Powers of Attorney [CR000104-CR000112], produced by Plaintiffs in response to Defendant
Casanova’s Request for Production).
48
   Exhibit H (Slack Deposition, Att. 2, Death Certificate and Att. 3, Birth Certificate); Exhibit J.


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no pet.) citing Go International at 498; Broussard v. KLLM, Inc., WL 11348337, *3 (E.D. Tex.,

May 12, 2008).

39.      The April 14, 2005 Order Granting Adoption to Bernice Roundtree provides, “IT IS

ORDERED that the adoption of the children the subject of this suit by Petitioners [Bernice

Roundtree] is GRANTED and that the parent-child relationship is created between the children

and Petitioners for all purposes.”49 There is no evidence that Bernice Roundtree terminated her

parental rights to decedent, just the opposite, Ms. Roundtree deposition testimony reaffirmed that

she never terminated her parental rights to decedent.50 It is clear that Plaintiff Slack is not the

decedent’s parent under the Act and she does not have standing to sue for decedent’s death.

      B. Slack cannot claim she is a parent under “loco parentis”

40.      Texas courts have traditionally recognized the rights of persons standing in loco parentis

to a child. It is well-established that “in loco parentis” means in the place of a parent and refers

to a relationship a person assumes toward a child not his or her own. Coons-Anderson v.

Anderson 104 S.W. 3d 630, 634-635 (Tex. 2003); McCall v. Hays County Constable Precinct

Three, 2020 WL 2739868, *5 (Tex. App.—Austin, May 21, 2020); citing McCullough v.

Godwin, 214 S.W.3d 793, 807 (Tex. App.—Tyler 2007, no pet.). “The in loco parentis

relationship arises when a non-parent assumes the duties and responsibilities of a parent and

normally occurs when the parent is unable or unwilling to care for the child.” McCall at *5,

citing Coons-Anderson at 635. As noted above, Bernice Roundtree is decedent’s mother and did

not terminate her parental rights after decent moved back in with Slack when he was fifteen (15)

years old.51 Texas courts have consistently held that the statutory word “parents” does not


49
   Exhibit I (Roundtree Deposition 30:10-31:2, 51:7-52:9); Exhibit H (Slack Deposition 56:19-57:8, 59:17-25);
Exhibit J.
50
   Exhibit I (Roundtree Deposition 30:10-31:2, 51:7-52:9); Exhibit J.
51
   Exhibit I (Roundtree Deposition 30:3-31:2); Exhibit J.


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incorporate a person standing in loco parentis for purposes of a wrongful death action.

Davis v. Bills, 444 S.W.3d 752, 758 (Tex. App.—El Paso 2014, no pet.); Robinson v. Chiarello,

806 S.W.2d 304, 310 (Tex. App.—Fort Worth 1991, writ denied); Taylor v. Parr, 678 S.W.2d

527, 529 (Tex. App.—Houston [14th Dist.] 1984, writ ref'd n.r.e.) A person standing in loco

parentis is not a child's parent for purposes of a wrongful death action. V.T.C.A.,

Civil Practice & Remedies Code § 71.004. Davis v. Bills 444 S.W. 3d 752 (Tex. App.—El Paso,

2014, no pet.).

       C. Joint-Parenting Agreement is not applicable to confer status of in loco parentis.

41.        Slack and Bernice Roundtree testified in their depositions that they had an unwritten

joint-parenting agreement concerning the care and management of decedent. Ms. Slack and Ms.

Roundtree also executed two six-month Power of Attorneys to facilitate the agreement.52

Agreements to share parenting duties cannot alone serve to confer the status of in loco parentis.

Coons-Anderson at 635.

       D. Slack is not an heir and does not have standing to assert a survival cause of action.

42.        The Survival Statute provides that only a personal representative, administrator, or heir

may sue on behalf of an estate. Tex. Civ. Prac. & Rem. Code. § 71.021(b). In a wrongful death

or survival action brought under 42 U.S.C. § 1983, a party must have standing under the state

wrongful death and survival statutes. Turk v. Mangum, 268 F. Supp. 3d 928, 931-32 (S.D. Tex.,

July 17, 2017) citing , Pluet v. Frasier, 355 F.3d 381, 383-84 (5th Cir. 2004); Rhyne v.

Henderson Cty., 973 F.2d 386, 390–91 (5th Cir. 1992). Whether a person is an “heir” for

purposes of the Texas Survival Statute (TSS) is determined by reference to the relevant sections

of the Texas Estates Code. Turk at 935, citing, Rodgers v. Lancaster Police & Fire Dep’t, 819

F.3d 205, 212 (5th Cir. 2016). Pursuant to Texas. Estates Code § 22.015, “ ‘Heir’ means a person

52
     Exhibit I (Roundtree Deposition 30:10-31:2, 51:7-52:9); Exhibit H (Slack Deposition 56:19-57:8, 59:17-25).


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who is entitled under the statues of descent and distribution to a part of the estate of a decedent

who dies intestate. . .” Id. When a person dies intestate—without a spouse or surviving

descendants—the estate “passes in equal portions to the person’s father and mother.” Texas.

Estate. Code § 201.001(c). A parent (biological or adoptive) of the intestate is not considered an

heir if parental rights have been terminated. Tex. Fam. Code § 161.206(b)53; see Tex. Est. Code §

201.054(b).54 As such, Slack does not have standing to assert a cause of action under the Texas

Survival Statute. Therefore, her claims should be dismissed from this case.

         WHEREFORE, PREMISES CONSIDERED, Defendant Casanova prays that his

Motion for Summary Judgment be granted and that all of Plaintiffs’ claims against him be

dismissed. Alternatively, Defendant prays for such other and further relief to which he is justly

entitled.




53
   (b) Except as provided by Section 161.2061, an order terminating the parent-child relationship divests the parent
and the child of all legal rights and duties with respect to each other, except that the child retains the right to inherit
from and through the parent unless the court otherwise provides.
54
   (b) The natural parent or parents of an adopted child and the kindred of the natural parent or parents may not
inherit from or through the adopted child, but the adopted child inherits from and through the child's natural parent
or parents, except as provided by Section 162.507(c), Family Code.


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       Signed this 28th day of May, 2021.

                                               Respectfully submitted,

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                                               State Bar No. 02208750
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                                               State Bar No. 17385600
                                               COUNSEL FOR DEFENDANT
                                               STEVE CASANOVA

                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
upon the below named individual(s) via certified mail, return receipt requested, unless otherwise
indicated, and according to the Federal Rules of Civil Procedure on the 28th of May, 2021.

E-NOTIFICATION                                     E-NOTIFICATION
CMRRR# 9489 0090 0027 6104 1778 59                 CMRRR# 9489 0090 0027 6104 1778
Daryl K. Washington                                N. Mark Ralls
Washington Law Firm, PC                            HOBLIT DARLING RALLS HERNANDEZ
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Counsel for Plaintiffs                             San Antonio, Texas 78201
                                                   Counsel for Defendant COSA

E-NOTIFICATION
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                                               /s/ Patrick C. Bernal
                                               PATRICK C. BERNAL
                                               ADOLFO RUIZ


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           Patricia Slack, et al. v. The City of San Antonio, Texas, et al.
       No. 5:18-CV-1117 (USDC Western District, San Antonio Division)




                    DEFENDANT STEVE CASANOVA’S
                   MOTION FOR SUMMARY JUDGMENT
                            EXHIBITS A - J



                THE VIDEO AND AUDIO RECORDINGS
                  AND LARGE PHOTOGRAPH FILES
              WILL BE MAILED UNDER SEPARATE COVER
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the §
surviving mother of CHARLES             §
ROUNDTREE, JR., BERNICE                 §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries, TAYLOR     §
SINGLETON, and DAVANTE SNOWDEN §
      Plaintiffs,                       §
                                        §            CIVIL ACTION NO.
vs.                                     §            5:18-CV-1117-JKP-ESC
                                        §
THE CITY OF SAN ANTONIO, TEXAS          §
AND STEVE CASANOVA                      §
      Defendants.                       §



                              AFFIDAVIT OF STEVE CASANOVA


STATE OF TEXAS                 §
                               §
COUNTY OF BEXAR                §

        Before me, the undersigned notary, on this day personally appeared Steve Casanova, a
person whose identity is known to me. After being by me duly cautioned to tell the truth, subject
to the penalties for perjury, he did affirm and testify as follows:

                "My name is Steve Casanova. I am over the age of eighteen (18) years, am
        of sound mind, and am fully capable of making this affidavit. I am personally
        familiar with facts recited below, which are true and correct.

               Currently, I hold the position of Police Officer for the City of San Antonio
        Police Department. I have held the position of Police Officer for the San Antonio
        Police Department for almost eight (8) years.

                On Tuesday, October 16, 2018, I wore badge No. 0099 while on duty
        beginning at 2230 hours working patrol on the West Side of San Antonio. I
        patrolled the area near the Lincoln Heights Housing Project with my partner,
        Officer James Panah (Badge No. 0907), in separate patrol units. When I arrived at
        the location, I observed pedestrian traffic at a known drug house located at 217
        Roberts Street. I observed an individual wearing pink pants, who I later learned to

Affidavit of Steve Casanova              Exhibit                                     Page 1

                                             A
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        be Taylor Singleton, arrived at the house. I drove by the house and used my patrol
        unit's flood light to observe the house and activity. I then parked my vehicle at the
        intersection of Hamilton and Albert Streets where I could see and monitor
        pedestrian and vehicular activities at 217 Roberts Street. I had monitored 217
        Roberts Street in this manner many times before. I estimate I stopped pedestrians
        and vehicles leaving 217 Roberts Street multiple times before, resulting in arresting
        people leaving this house in possession of illegal drugs.

                 A short while later, a vehicle approached my unit and a female complainant
        approached me to report that her husband had been punched in the face by a tall,
        thin black male from 217 Roberts Street. My body worn camera captured our
        conversation and is attached to my affidavit as Exhibit A-1 (T06:06:46Z- T06: 12:
        19Z). The complainant identified herself as Maria Herrera and the victim was her
        husband Esteban Preciado. Her report of the assault and the location of the suspect
        lead me to decide to conduct a knock and talk investigation. The complainant and
        the victim were delivering soup across the street at 218 Roberts Street purchased
        over the internet when the assault occurred. I informed the complainant that I
        would go to the house to investigate. I told the complainant if I could, I would
        arrest the assailant. If not, I would provide Ms. Herrera with a case number and I
        would submit a report.

                I asked Officer Panah to call other officers to provide back up and to
        position themselves nearby in the event the suspect attempted to flee. At
        approximately 1:20 AM on October 17, 2018, I approached the front gate to 217
        Roberts Street, wearing my winter uniform including my name tag, arm patch and
        beanie with the SAPD logo and gun belt. I entered the gate using a flashlight as it
        was dark. The gate was unlocked. I observed an individual sitting on the porch. I
        greeted him with "What's up man" and asked if he lived there and who is staying
        in the house, but he indicated that he did not know. [Exhibit A-1 (T06:21:44Z-
        T06:22:08Z)]. I asked that he take his hat off and I recognized him as a person
        known by me to regularly be present at drug houses in my patrol area. I knew he
        did not match the description ofthe suspect I was looking for. I then walked toward
        one of the front doors. The outside metal door was closed. I did not open the
        outside metal door and knocked on the inside wooden door about three times. My
        last knock caused the inside door to swing open to what appeared to be a well-
        lighted living room where two individuals were sitting on a couch facing me less
        than six feet in front of me. The living room had a ceiling light fixture that I knew
        was shining a bright light on me as I was standing at the door behind the iron outer
        door. I did not rely on my flashlight to illuminate the room and therefore pointed
        my flashlight in a downward direction. [Exhibit A-1 (T06:21:42Z- T06:22:15Z)].
        A third individual was sitting on a chair next to the couch. I scanned the three
        individuals to see what they had in their possession. The male sitting directly in
        front of me matched the description of the individual that assaulted the victim and
        I was focused on him. He greeted me saying: "What's up?" I replied: "What's up,
        man?" [Exhibit A-1 (T06:22:16Z- T06:22:23Z)]. This individual, who I now
        know to be Davante Snowden, then stood up in an aggressive manner and said:


Affidavit of Steve Casanova                                                            Page2
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         "Hey, who the fuck is this?" As he stood up, he moved closer to me, while reaching
         for a gun near his waistband. I clearly saw the gun in his right hand and described
         it later at the scene as a nine-millimeter handgun after I retreated to the street in
         front of 217 Roberts Street. I indicated on my bodycam that the guy had a gun in
         his waist and described the handgun as a nine-millimeter. [Exhibit A-1
         (T06:24:48Z- T06:25:12Z)].

                 When I saw Mr. Snowden drawing his weapon, I immediately drew my
         holstered weapon and shouted, "Let me see your fucking hands!" Until this point
         in time, I had not unholstered my weapon while conducting my investigation of the
         assault incident. When I saw Mr. Snowden drawing his weapon, I knew he intended
         to shoot at me and in the direction of my partners located behind me. When he
         walked toward me, Mr. Snowden was less than five feet in front of me. He moved
         to his right as he drew his gun. I fired two successive rounds from my weapon
         aiming at Mr. Snowden as the only target. The other individuals did not pose a
         threat to me at that moment. I, along with other officers, retreated to the street in
         front of 217 Roberts Street. Approximately ten minutes later, the individuals
         occupying the house exited. I had no role in the decision to hold and transport
         Plaintiff Singleton to the police station to give a statement.

                Following the incident, I was placed on administrative leave while the San
         Antonio Police Department and other entities reviewed the incident.

                Attached hereto is a true and correct copy of one (1) DVD reflecting the
         video recording taken with my body camera on October 16th and 17th, 2018
         involving the shooting incident at 217 Roberts Street in San Antonio, Texas.

          Exhibit A-1         Video recording taken by my body worn camera during my
                              shift on October 16th and 17th, 2018.

          Exhibit A-2         My written statement [COSA 002126-002128] , taken
                              October 17, 2018


                I operated the body camera using a digital recording device, which accurately
        records and reproduces images, as is consistent with my operation of my body
        camera while I was on duty on October 16th and 17th, 2018 . The recording attached
        as (Exhibit A-1) has been preserved under the City of San Antonio Police
        Department's custody and control as required by law and I attest that, based on my
        personal observations at the time of the shooting incident at 217 Roberts Street, the
        recordings are true and correct recordings of the incident depicted."




Affidavit of Steve Casanova                                                            Page 3
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         Further Affiant sayeth not.




                                       . ~STEVECASANOVA      ~-


      SUBSCRIBED AND SWORN TO BEFORE ME on this m         y ofMay 2021 , to certify
which witness my hand and official seal.




Affidavit of Steve Casanova                                          Page4
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STATE OF TEXAS§                                                         Case Number: SAPD18220885
COUNTY OF BEXAR§                                                        Date and Time: 10/17/2018 0530 hrs
                                                                        Taken by: DET. R. Perez, #2298
Page 1 of 3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:

My name is Steve Casanova and I am a patrol officer with the San Antonio Police Department. My badge number is #0099. I
have not been given or promised anything in return for my statement. I have been with the San Antonio Police Department for
approximately 5 years. I have worked the streets the entire time. I am currently assigned to Central Dogwatch.

I am here today to talk about what happened earlier this morning. I came to work last night for my shift at 2230 hours. My
shift was from 2230 to 0630 hours. I work in full SAPD uniform and was a one man unit. From the time I came to work at
2230 hours to the time of this incident, I was answering calls for service as I would do on any other day. At approximately
2330 hours, Officer J. Panah #0907 and I decided to go patrol the projects looking for activity.

I had seen a dark colored car with unknown people on Roberts Street. I know Roberts Street as a street known for drug activity.
I then saw a female with pink pants crossing Roberts and head towards the house where this incident occurred. She was lit up
by the headlights of this dark colored car. I then drove the block to see what they were doing down there. I let Officer Panah
know what I had just seen.

I then parked at Hamilton and Albert streets. As I was parked a vehicle pulled up and parked next to me. A female exited the
vehicle and approached me. The female stated she was the wife of the victim of an assault. At this time I realized that this
vehicle was the same vehicle I'd just seen parked on Roberts Street. The female told me that a male had just assaulted her
husband. Her husband was driving their vehicle and was sitting in it as she was the only person that had gotten out. She
explained that while she was making a sale of soup on Roberts Street a black male had came out from across the street and had
began cussing at them. The black male then approached the driver's side of the car and opened the door and punched her
husband in the face three or four times. The husband had a busted lip. The black male had been yelling at her 'why are you
parked in front of my aunt's house and don't ever park here again'. The wife of the victim explained to him that she was just
making a sale and that she was sorry. She was telling them that she wasn't from there and that they were going to be leaving.
The wife told me the husband did not want to file a report because he was nervous because he didn't have his papers. (I took
this to mean he was an illegal immigrant). Basically she was telling me that he didn't want anything to do with the Police but
she was the one who'd initiated contact with me because she didn't feel it was right what had happened and she wanted to press
charges.

At that point I gathered both their information and I explained that I would try and make contact with someone at the house.
told her that if I didn't make contact with them I would still come back to her and file a report for her. Officer Panah and I
assigned ourselves. Officer Panah I believe then sent out messages on the computer to other officers letting them know what
we'd be doing. I believe that the reason he did this was because of our knowledge of past drug activity at that particular house.

Once all the officers arrived, I gave them a rundown of what had occurred. I then coordinated where everyone should position
themselves in case somebody tried to run. Officer Panah Officer Garza and I then approached 217 Roberts in our vehicles. We
parked one property down. We all walked up to the house and I opened up the gate on the chain link fence. I saw an unknown
black male eating food on the porch. I asked him if he lived there and he told me no. I asked him who lived there and he said
he didn't know. In my opinion, he was being cooperative and I recognized him once he lifted up his hat. I recognized him as a


                                                      Signature~-::::;:-,$
Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
~~::~ant to Chapter 602.002 of the Texas Governm~ ent Code on this the 17th day of October, A.D.,


                                                 @             ~~Zfr
                                                            R. er z, 298
                                                            Detective, San Antonio Police Department


                                           "EXHIBIT A-2"                                                     COSA002126
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STATE OF TEXAS§                                                           Case Number: SAPD18220885
COUNTY OF BEXAR§                                                          Date and Time: 10/17/2018 0530 hrs
                                                                          Taken by : DET. R. Perez, #2298
Page 2 of 3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:

male I know as "John"; a male that frequents drug houses in the area. I went to knock on the door. When I walked up to the
porch, I approached the door on the left; I initially tried to open the screen door but it was tied shut so I moved on to the door
on the right. I see a steel security door; I knocked on the interior wooden door and it just swung open. I did not forcefully
knock; it was light tap. I was surprised the door opened as easily as it did. I see a black male sitting directly in front of me; a
female in pink pants to his right, they were both sitting on the couch. To her right there was another black male. I did not
recognize either of the black males however I did recognize the female in the pink pants as the female I had seen crossing the
street a short time earlier.

The male sitting directly in front of me matched the description of the individual that assaulted the ladies husband. I was
focused on him. As the door had swung open, this male had jumped up and had started walking towards me when I immediately
noticed his right hand holding something in his waistband. He's saying who the fuck are you; I'm thinking at this time he
knows it's the cops.

As he's noticing me he's simultaneously moving to his right and I noticed it was a gun in his waistband and as I start to yell
show me your hands, he was starting to pull the gun out of his waistband. Beliving that the suspect was pulling his gun to try
and shoot and kill me, I drew my weapon and fired two rounds. I yelled to the guys shots fired as I'm falling back to a position
of cover back into the street. At that moment, both my partners had moved to cover. As I was falling back to the vehicles I got
on the police radio and said shots fired. I also noticed the pit bull come out of nowhere and was being very aggressive towards
us.

By this time Officer Macias was moving through the empty lot. He noticed the black male known as John standing by the side
of the house; this would be the empty lot side. Officer Macias told John to crawl towards us. As he's crawling towards us, we
were trying to get him to safety and in doing so, the pit bull actually attacked John. Officer Panah, in protecting all of us, fired
one shot killing the pit bull. At that point, they took John off to safety. I fall back from the front of the house to my patrol
vehicle to get better cover. Officer Garza deployed his AR rifle and provided cover for me. I then deployed my AR rifle and
we set up a perimeter at the location. I did this because there were still subjects located inside the residence. At this point we
didn't know the status of the suspect that I had seen with a gun.

I got on the radio and gave a description of the people I had seen inside of the house; I also made it clear who had the firearm
on them. We sat and waited. Street crimes officers arrived to provide additional cover. One of the Officers got on the PA and
started giving commands to the people inside the location. He was letting them know to come out of the house with their hands
up. I could hear the people inside the house saying I'm corning out but call EMS. I called for EMS; shortly after that I saw
shadows of people coming out of the house. I believe four people came out. I could hear them being detained and being
secured in patrol vehicles. As soon as we thought everyone was safely out of the house, street crimes got a group of officers
together and they made entry. They went inside to clear the house.

Sgt. Limon then told me to stay back because I had been involved in the shooting. Besides Officer Panah and I, no other
Officers fired their weapons. I stood by until I was transported to the Public Safety Headquarters to provide my statement.


                                                       Signature&q_
                                                                  .___-1;:
                                                                       -
Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
pursuant to Chapter 602.002 of the Texas Government Code on this the 17th day of October, A.D.,
                                                               ~
2018.
                                                 e                              #         22-f,P
                                                           /4.er,#2298
                                                              Detective, San Antonio Police Department



                                                                                                                COSA002127
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STATE OF TEXAS§                                                         Case Number: SAPD18220885
COUNTY OF BEXAR§                                                        Date and Time: 10/17/2018 0530 hrs
                                                                        Taken by : DET. R. Perez, #2298
Page 3 of 3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:


I have read this statement and everything is true and correct to the best of my knowledge.




                                                      SignaWre      ,xi? C; J!!;:
Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
pursuant to Chapter 602.002 of the Texas Government Code on this the 17th day of October, A.D.,
2018.                                                             ~
                                                    @                             -/f 22 7tf
                                                             ~
                                                             Detective, San Antonio Police Department



                                                                                                COSA002128
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the §
surviving mother of CHARLES             §
ROUNDTREE, JR., BERNICE                 §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries, TAYLOR     §
SINGLETON, and DAVENTE SNOWDEN §
      Plaintiffs,                       §
                                                §    CIVIL ACTION NO.
vs.                                             §    5:18-CV-1117-JKP-ESC
                                                §
TQ:E CITY OF SAN ANTONIO, TEXAS                 §
AND STEVE CASANOVA                              §
    Defendants.                                 §


                                AFFIDAVIT OF JAMESPANAH


STATEOFTEXAS                   §
                               §
COUNTY OF BEXAR                §

        Before me, the undersigned notary, on this day personally appeared James Panah, a person
whose identity is known to me. After being by me duly cautioned to tell the truth, subject to the
penalties for perjury, he did affirm and testify as follows:

                "My name is James Panah. I am over the age of eighteen (18) years, am of
        sound mind, and am fully capable of making this affidavit. I am personally familiar
        with facts recited below, which are true and correct.

               Currently, I hold the position of Police Officer for the City of San Antonio
        Police Department ("SAPD"), Badge No. 0907. I was a patrol officer on October
        16 and 17, 2018, when the incident that is the basis of this lawsuit occurred.

                On Tuesday, October 16, 2018, I wore badge No. 0907 while on duty
        beginning at 2230 hours working patrol on the West Side of San Antonio. I
        patrolled the area near the Lincoln Heights Housing Project with my partner Officer
        Steve Casanova (Badge No. 0099) in separate patrol units. Officer Casanova called
        for my assistance regarding an assault incident where a suspect ran into the house
        at 217 Roberts Street after the assault. Officer Casanova was wearing his full
        regulation SAPD uniform, with badge, name plate, and SAPD patch on his arm and

Affidavit of James Panah
                                         Exhibit                                     Page 1
                                             B
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       on the front of his beanie. See Exhibit B-1 (T06:07:22Z- T6:08:08Z) and Exhibit
       B-2 (Still frame, T06:07:29Z). I followed Officer Casanova as we walked to 217
       Roberts to conduct a knock and talk at the residence. I witnessed Officer Casanova
       walk up the pathway to the house, speak to an individual who was sitting on the
       porch and step onto the porch to approach the front door. Officer Casanova
       knocked three times on the inner door and the door swung open. Officer Casanova's
       firearm was holstered during this time. See Exhibit B-1 (T06:21:42Z-
       T06:22: 12Z -T06:22: 14Z) and Exhibit B-3 (Still frame, T06:22:08Z).

                Attached hereto is a true and correct copy of one (1) DVD reflecting the
        video recording, including still frames from the video recording taken with my body
        worn camera (BWC) on October 16th and 17th, 2018, involving the incident at 217
        Roberts Street in San Antonio, Texas.


         B-1:     BWC video recording of the subject incident taken during my shift on
                  October 16th and 17th, 2018.

         B-2:      Still frame taken from BWC video recording at Time stamp,
                   T06:07:29Z.

         B-3:      Still frame taken from BWC video recording at Time stamp,
                   T06:22:08Z.

               I operated the BWC using a digital recording device, which accurately
        records and reproduces images, as is consistent with my observations of the subject
        incident while I was on duty on October 16th and 17th, 2018. The recording attached
        as (Exhibit B-1) has been preserved under the City of San Antonio Police
        Department's custody and control as required by law and I attest that, based on my
        personal observations at the time of the shooting incident at 217 Roberts Street, the
        recordings are true and correct recordings of the incident depicted."

        Further Affiant sayeth not.




      SUBSCRffiED AND SWORN TO BE                  RE ME on this JfJ~ay of May 2021, to certify
which witness my hand and official seal.


                      MELISSA M TIJERINA
                     Not~ry ID #125201404
                     My Commission Expires
                       October 24, 2022                                               AS



Affidavit of James Panah                                                               Page 2
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                  "EXHIBIT B-2"
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                  "EXHIBIT B-3"
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the§
surviving mother of CHARLES            §
ROUNDTREE, JR., BERNICE                §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries, TAYLOR    §
SINGLETON, and DAVENTE SNOWDEN §
      Plaintiffs,                      §
                                                §    CIVIL ACTION NO.
vs.                                             §    5:18-CV-1117-JKP-ESC
                                                §
THE CITY OF SAN ANTONIO, TEXAS                  §
AND STEVE CASANOVA                              §
   Defendants.                                  §


                              AFFIDAVIT OF RUBEN PEREZ


STATE OF TEXAS                §
                              §
COUNTY OF BEXAR               §

        Before me, the undersigned notary, on this day personally appeared Ruben Perez, a person
whose identity is known to me. After being by me duly cautioned to tell the truth, subject to the
penalties for perjury, he did affirm and testify as follows:

               "My name is Ruben Perez. I am over the age of eighteen ( 18) years, am of
       sound mind, and am fully capable of making this affidavit. I am personally familiar
       with facts recited below, which are true and correct.

               Currently, I hold the position of Detective for the City of San Antonio Police
       Department Homicide Division ("SAPO"), Badge No. 2298. I was the
       Investigating Detective for SAPO in October 2018 when I investigated the shooting
       incident that occurred on or about October 17, 2018.

               As part of the investigation, I interviewed Davante Snowden on October 24,
       2018. I obtained a recorded DVD statement from Davante Snowden on October
       24, 20 18, regarding the shooting incident that occurred on or about October 17,
       20 18. A written record of the recorded statement and the DVD video and audio
       recording are attached respectively as Exhibits C-1 and C-2. During the recorded
       statement, I asked Davante Snowden about an assault that occurred outside in the

Affidavit of Ruben Perez                   Exhibit                               Page 1 of 4
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          yard at 217 Roberts Street. Mr. Snowden stated that it happened when it was dark
          before the incident. Mr. Snowden stated that he pushed a Mexican man who came
          into the yard. Mr. Snowden said that was the only altercation that happened.

                  Soon after the shooting incident, in the early morning of October 17, 2018,
          a consent to search the property was obtained from the homeowner, Mr. Hence
          Williams and a search warrant was procured for 217 Roberts Street, including
          inside and outside the house. A Smith and Wesson nine-millimeter magazine/clip
          containing eleven (11) live rounds was found in the back bedroom. [Exhibit C-3,
          COSA 003426-003427 and COSA 003433].

                 A Smith and Wesson nine-millimeter semi-automatic firearm, serial
          number HEV1574, ("firearm") with one live round removed from the chamber,
          recorded as E-5, was found a few feet outside the back bedroom window of 217
          Roberts. [Exhibit C-4, COSA 003375, COSA 001981, and COSA 001992]. 1

                   I placed a trace on the firearm, which revealed that the original purchaser
          of this firearm was Darrel Marquis Wiggins, Jr. [Exhibit C-5, Excerpt of my
          report, COSA 001820]. On December 4, 2018, I traveled to Converse, Texas and
          contacted Darrell Wiggins, Jr. Mr. Wiggins reported that he had sold the firearm
          to a Deshon Winn. [Exhibit C-6, COSA 004120]. On December 19, 2018, I
          located a Michael Deshon Winn in the Bexar County Jail. Michael Deshon Winn
          admitted to buying the firearm that was found in the yard at 217 Roberts on the
          night of the shooting on October 17, 2018, from a person named Darrell for the sum
          of $200.00. Mr. Winn said that he did not really want the firearm and that he was
          buying it for a "homeboy"; a guy named "Slime Dinero". Mr. Winn went on to say
          that he knew the whole story about the shooting at 217 Roberts but did not want to
          get involved. Mr. Winn stated that "Slime Dinero's" real name was Marcus. Mr.
          Winn stated that Marcus had called him the day of the incident at 217 Roberts and
          reported that Marcus had gone to the "Trap House" at 217 Roberts and left the
          firearm with Charles. [Exhibit C-7, COSA- 001831 and see the video recording of
          the interview with Michael Deshon Winn on Exhibit C-8, COSA 003464].

                  Attached hereto is a true and correct copy of three (3) pages of documents
          consisting of my investigative report from my interview of Davante Snowden on
          October 24, 2018 regarding the shooting incident that occurred on or about October
          17, 2018. I recall making the report and I identified myself as the "Officer Making
          Report" on the bottom of pages 1· 3 of the report. Also attached is one ( 1) DVD
          reflecting one video recorded statement given by Davante Snowden on October 24,
          2018.




1 It
   is important to mention that the back bedroom window ncar where the Smith and Wesson automatic was found
contained a window air conditioning unit with an eight to ten inches gap/opening next to the air conditioner. The
window opening was larger than this particular unit. This gap/opening was stuffed with a black/Brown throw pillow.
[Exhibit C-9, photo COSA- 003086, COSA 003142, and COSA 003370].

Affidavit of Ruben Perez                                                                   Page 2 of 4
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             Exhibit C-1 Written record of the DVD recorded statement of Davante
      Snowden from my Investigation Report, Offense Number 18220885, regarding the
      shooting incident that occurred on or about October 17, 2018 [COSA 001788-
      001790].

             Exhibit C-2 Two (2) DVD video recordings of the statement given by
      Davante Snowden on October 24, 2018 regarding the shooting incident that
      occurred on or about October 17, 2018, and his altercation with the Mexican man.
      (15:34:58 -15:37:54) [COSA 003572, Part 1 and Part 2].

             I operated the video camera using a digital recording device, which
      accurately records and reproduces images, as is consistent with my training and
      operation of the camera and recording device while I was obtaining a DVD
      recorded statement from Davapte Snowden on October 24, 20 18. The attached
      recording (Exhibit C-2) has been preserved under the City of San Antonio Police
      Department's custody and control as required by law and I attest that, based on my
      personal involvement in the interview and observations of the recording, the video
      recording is a true and correct recording of Davante Snowden's statement that took
      place on October 24, 2018.

               Also, attached hereto is a true and correct copy of seven (7) of crime scene
       photos; four (4) pages of investigation documents and reports; and one (l) video
       recording from my Internal Affairs investigation; one ( l) video interview with
       Darrell Wiggins, Jr., and one (l) video interview with Michael Deshon Winn.

        C-3:     Photographs of Smith and Wesson nine-millimeter magazine/clip [COSA-
                 003426-003427 and COSA-003433]

        C-4:     Crime Scene Search Report and photograph of Smith and Wesson firearm
                 [COSA 003375, COSA 001981, and COSA 001992]

        C-5:     Excerpt of my report regarding a Smith and Wesson firearm [COSA 001820]

        C-6:     Video recording entitled, "Johnathon              Korczynski     201812041437
                 VHC2009635 73479465" [COSA 004120]

        C-7:     Excerpt of my report regarding Michael Deshon Winn [COSA 001831]

        C-8:     Video recording entitled, "Interview at Bexar County Jail by Michael Winn"
                 [COSA 003464]

        C-9:     Photographs of window and/or pillow [COSA- 003086, COSA 003142, and
                 COSA 003370]




Affidavit of Ruben Perez                                                        Page 3 of 4
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              The attached digital photos; video interview recordings and/or body camera
      videos; crime scene investigation documents, and/or Internal Affairs investigation
      reports are kept by the City of San Antonio Police Department in the regular course
      of business, and it was in the regular course of business and activity of City of San
      Antonio Police Department for an employee of City, with knowledge of the act and
      contains information transmitted by the person with knowledge of the matters of
      the event, condition, opinion, recorded to make the record or to transmit
      information thereof to be included in such record; and the record was made at or
      near the time of the occurrence of the matters set forth in the documents, photos,
      and/or digital footage and was made by the regularly conducted activity as a usual
      practice for the City of San Antonio Police Department. The records attached are
      exact duplicates of the originals which are true and correct."

      Further Affiant sayeth not.


                                            RUBE;;:Ij              :/f: l   l'iP

      SUBSCRffiED AND SWORN TO BEFORE ME on this & % ay of May, 2021, to certify
which witness my hand and official seal.




Affidavit of Ruben Perez                                                       Page 4 of 4
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    PROSECUTION GUIDE                                              3. OFFENSE CLASSIFICATION
                                                                                                                        4. ASSIGNMENT NO:                  18220885
    PAGE5OF50                                                     Felon in Poss of firearm                              5. OFFENSE NO:                      520303
                                                                                                                        6. DATE REPORTED:                  10/17/18
    ROUTING: Homicide
                                                             SAN ANTONIO POLICE DEPARTMENT
    Last name of Complainant,First,Middle Initial
    Casanova, Steve #0099
    Place of Occurrence.Street on• at or Number
    217 Roberts S.A., TX                                        2360                         10/17/2018 0106 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc..


Patricia Slack (NOK) was notified of Charles Roundtree's (Ol)'s death by Det. L. Saiz #2474.


ARRESTED PERSON:                               Snowden, Davante M.                                                  ***Ol's friend***
(AP)                                              B/M-




                                                                                                                    *Recorded DVD statement obtained




L
On Wednesday, October 24th 2018, Davante Snowden (AP) was arrested on a felon in possession of firearm
warrant and was transported to the Homicide office for a formal statement; a summary of his interview:

1503 hours-Davante was put in room #3329. For his comfort, Officer Hebert put his handcuffs in front.

I walked in to the room and offered him water. He accepted the water. I exited the room and returned with a
bottle of water.

I introduced myself and then I then read Davante his Miranda warning using SAPD form 66-E and he said he
understood his rights. I filled out the SAPD form 66-8L form for him.

1515 hours-Davante said that Hence was not blood related; he calls Hence his "grandfather." Went on to say that
he breeds dogs and keeps them at Renee's and goes by every day. He said they were "chillin"; he said Charles
shut the door and they were chillin' some more then the door swung open and he heard the gunshots. He tried to
go for the hallway and into Renee's room. He closed the front door.
    UCR       UNFOUNDED (        )   CLEARED BY      ( XX) CLEARED BY ( )            CLEARED BY EXCEPTION   (   )    CHANGE OF   (   )   PROGRESS OF (     )
    STATUS    REPORT                 ARREST                JUVENILE ARREST           OF OTHER MEANS                  OFFENSE             INVESTIGATION
Officer Making Report (Badge No.)                     Approving Authority                            Unit Case No.                              Unit Assigned to Follow -up
    Detective R. Perez # 2298                           Sergeant W. McCourt # 3266                                                              Homicide
   SANANTONIO                                                                                                             PROSECUTION GUIDE
POLICE DEPARTMENT                                                             TYPE ONLY                                   SAPD Form 3-L Rev. (9-90)



                                                                 "EXHIBIT C-1"
                                                                                                                                            COSA001788
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  PROSECUTION GUIDE                                                3. OFFENSE CLASSIFICATION
                                                                                                                        4. ASSIGNMENT NO:                   18220885
  PAGE6OF50                                                       Felon in Poss of firearm                              5. OFFENSE NO:                        520303
                                                                                                                        6. DATE REPORTED:                    10/17/18
  ROUTING: Homicide
                                                              SAN ANTONIO POLICE DEPARTMENT
  Last name of Complainant,First,Middle Initial
  Casanova, Steve #0099
  Place of Occurrence-Street on- at or Number                   Dist. Occurrence                                           Date & Time of this Report
  217 Roberts S.A., TX                                          2360                         10/17/2018 0106 hrs           12/26/2018 1700 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc..


He said they tried to say we had "something." (Referring to Officer's saying he had a gun).

He said his girlfriend had dropped him off at Renee's house at approximately 5:00 p.m. on Tuesday, October 16th
2018.

The night of the incident he was wearing black and white Nikes, a black jacket and khaki pants

1521 hours-Davante said that he and Charles are "blood cousins" through their fathers. He talked about Taylor
arriving and how he was going to sell a dog but the buyer never arrived.

Davante and Taylor are not related by blood; he said his mother helped raise her.

1525 hours-I asked him if he did anything significant that night and he said no.

1530-Davante talked about himself getting shot and then how Charles got shot as he was behind him. I asked him
about how long they'd been inside the house after the shooting; he said he felt it was about a minute, no more than
a minute and thirty seconds before they came back out.

1533 hours-Det. Saiz knocked on the door and gave me the copy of the firearms trace report. I asked him about an
assault that had occurred outside. He said a "Mexican" had gone into the yard and that he, Davante had pushed
him. He said the Mexican came into the yard and he pushed him. He said that was the only altercation that
happened.

1539 hours-"! did not have a gun that night."

1550 hours-I stepped out of the room.

1554 hours-I walked back in the room. I asked Davante if he would give me a buccal swab. He said he would not
do it without his lawyer. I then asked him if he was willing to take a polygraph exam and he said he needed to
contact his lawyer. I walked out of the room.

1559 hours-Det. Espinosa and I walked into the room and Det. Espinosa and Espinosa tried to explain to Davante
what he had told him. Davante

1605 hours-Davante was led out of the room.
 UCR        UNFOUNDED ( )           CLEARED BY       ( XX) CLEARED BY ( )            CLEARED BY EXCEPTION   (   )    CHANGE OF   ( )   PROGRESS OF ( )
 STATUS     REPORT                  ARREST                 JUVENILE ARREST           OF OTHER MEANS                  OFFENSE           INVESTIGATION
Officer Making Repon (Badge No.)                      Approving Authority                            Unit Case No.                               Unit Assigned to Follow -up
 Detective R. Perez # 2298                              Sergeant W. McCourt # 3266                                                               Homicide
   SANANTONIO                                                                                                             PROSECUTION GUIDE
POLICE DEPARTMENT                                                             TYPE ONLY                                   SAPD Form 3-L Rev. (9-90)




                                                                                                                                           COSA001789
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 PROSECUTION GUIDE                                                 3. OFFENSE CLASSIFICATION
                                                                                                                              4. ASSIGNMENT NO:                   18220885
 PAGE7OF50                                                        Felon in Poss of firearm                                    5. OFFENSE NO:                       520303
                                                                                                                              6. DATE REPORTED:                   10/17/18
 ROUTING: Homicide
                                                              SAN ANTONIO POLICE DEPARTMENT
 Last name of Complainant,First,Middle Initial                                                                                    Phone Number
  Casanova, Steve #0099
 Place of Occurrence-Street on• at or Number                    Disl Occurrence              Date & Time or Occurrence           Date & Time or this Report
 217 Roberts S.A., TX                                           2360                         10/17/2018 0106 hrs                 12/26/20181700 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc..


1607 hours-video ends.

Davante never admitted to having a gun on him; also said he never went into the back room.


VEHICLES:
No vehicle was involved in this incident.


WITNESSES:

WITNESS#l:                          Panah, James #0907
(Wl)                                SAPD Central Patrol


                                                                                                                         *Written statement obtained by
                                                                                                                          Det. T. Angell #2395

Officer Panah (Wl) reported he was on patrol when he was requested to contact Officer Casanova at the
intersection of N. Hamilton and Albert. Officer Casanova advised him that he had been flagged down by two
males who reported they were assaulted in front of 217 Roberts. Officer Panah reported when they arrived at 217
Roberts they observed an older B/M sitting on the front porch of the residence. They asked the male if he lived at
the residence and he reported he did not. As they knocked on the front door, the door swung open and Officer
Panah reported he briefly saw two males and a female inside the front room of the residence.

Officer Panah said Officer Casanova was in front of him and his vision into the room. Panah said he heard one of
the males say "who the fuck are you." Officer Panah said he heard Officer Casanova giving the male commands to
show his hands. Officer Panah said he then heard Officer Casanova yelling out "drop the gun" just before he
(Officer Casanova) fired his duty weapon two times. Officer Panah said he immediately retreated to the side of the
residence where a vicious dog began attempting to attack him. Officer Panah said he then retreated further to the
street and took cover behind a parked vehicle. Officer Panah said the dog continued to attempt to attack the
officers as they tried to take control of the situation. As they tried to detain and search the older male from the front
porch, the dog began to bite the male they were trying to detain. At that point Officer Panah shot and killed the
animal to protect officers and civilians at the scene.

 UCR         UNFOUNDED ( )          CLEARED BY       ( XX) CLEARED BY ( )            CLEARED BY EXCEPTION         ( )      CHANGE OF   ( ) PROGRESS OF ( )
 STATUS      REPORT                 ARREST                 JUVENILE ARREST           OF OTHER MEANS                        OFFENSE         INVESTIGATION
Officer Making Repon (Badge No.)                      Approving Authority                                  Unit Case No.                               Unit Assigned to Follow -up
 Detective R. Perez # 2298                              Sergeant W. McCourt # 3266                                                                     Homicide
    SANANTONIO                                                                                                                  PROSECUTION GUIDE
POLICE DEPARTMENT                                                              TYPE ONLY                                        SAPD Form 3-L Rev. (9-90)




                                                                                                                                                  COSA001790
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                  "EXHIBIT C-3"                                         COSA003426
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                                                                        COSA003427
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                                                                        COSA003433
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                                                                                    City of San Antonio
                                                                  San Antonio Police Department
                                                                                Crime Scene Search Report


                                                                            Critne Scene Case Header
*Case No.: SAPD18220885                      CFS Case No.: SAPD-2018-1196862                                            •Off/Incident: Officer-Involved Shooting

*Place of Occurrence: 217 Roberts St                                                                                                                                                 ..District:     2360

Reported:         *Date:        10/17/2018                                          Arrived: *Date:               10/17/2018                           Completed:               •Date:        10/17/2018

                  *Tlme:0210                                                                      *Time:0232                                                                    *Time: 0930




     SP       Roundtree, Charles                                  Mal               -                     B                                                                   (OOO) 000-0000 !Delete


                                                                                                Evidence
Photos:          r         No   ~ Yes               [Z]   Regular Photos                         Quantity:                        [Z]   Add'I Details

Additional Photo Details:                  ISAPD CSI A. Salvatierra #9415 photographed the scene. Refer to her report for further details.

                                                    D PanoScan Photos
Video:           ("' No         (i' Yes         Minutes:                                  [Z]   Add'I Details

Additional Video Details:                  SAPD CSI C. Crain #9444 video taped the scene. Refer to her report for further details.

Graphics:        r         No   (i' Yes         IZ] Sketch                      0     Diagram        D    3D Laser Scan                                              0        Add'I Details

Additional Graphics Details: I completed a rough sketch of the exterior and interior scene to include overall room
                             measurements and measurements from two reference points to each item of evidence. The sketch
                             was scanned into RMS. Diagram to be completed at a later date.
Ph sical Evidence:              rN        (i' Yes

Evidence Collected: ISAPD CSI A. Salvatierra #9415 collected the evidence. Refer to her report for further details.

Prints:          Latent Prints Found?                 (i' No            r Yes
                 Prints Attempted with Negative Results? (i' No                                      C Yes
Firearm(sl·

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MV1
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General Details:                r No      (i' Yes

PS.4125-0S(a) .OFFENSE.INVESTIGATION,RECORD.SAPD Crime Scene Search
Rev.2013-4 05/21/13                                                                                  ®                                                                        Case No:        SAPD 18220885
                                                                                                                                                                                                 Page 1 of 2




                                                                  "EXHIBIT C-4"                                                                                                  COSA001980
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                                                 City of San Antonio


I                                        San Antonio Police Department
                                                Crime Scene Search Report


    I was dispatched to the above listed location for a Officer-Involved Shooting. Upon arrival, I contacted SAPD CSI A.
    Salvatierra #9415 who requested that I sketch the exterior and interior scene. Sergeant A. Johnson #3381 was on scene prior
    to my arrival.

    I conducted an initial search of the exterior scene and observed the firearm West of the above listed location (house) on the
    ground near a tree. In front of the house there was a spent shell casing in the street near a dead dog, one (1) gray "Nike"
    shoe, and two (2) spent shell casing next to the front patio area of the house.

   I sketched the exterior scene as stated above. SAPD CSI C. Crain #9444 made the scene in the MCL. Once we had a search
   warrant on scene we entered the house and I observed the apparent bullet hole in one of the entrance door frames and in
   the opposite wall (East wall) of the South East room. The above listed Suspected Person (SP) was laying in the hallway with a
   black backpack under his head. There was a cell phone on the ground in the dining room/kitchen area down the hall from
   the SP. There was a cell phone on the couch in the South West room of the house and a puppy that was initially on the
   couch in that room. There was one (1) wooden handled apparent long gun leaning against a nightstand in the South West
   room and two (2) apparent long guns in the closet of the same room. I sketched the interior scene as stated above. CSI
   Crain, Salvatierra and I searched for the slug that went through the East wall but were unable to find it. The Medical
   Examiner (ME) made the scene. During the ME's initial examination we found apparent drugs in a plastic bag in the SP's
   waistband. After they removed the SP's body we found a firearm magazine on the floor at the foot of the bed in the North
   West bedroom. It appeared to belong to the firearm found outside which was missing the magazine. The scene was cleared
   by Sergeant Johnson at 0610.

   I relocated to the SAPD Crime Scene Unit located at 515 S Frio where I scanned and uploaded the sketch into RMS. No
   further action taken.


                                                          Signature
                Member Making Report:     Nicolas Berrios (SAPD)                                  Badge No.: 9401
               Assisted By:                                                                       Badge No.: _ __

   IZJ   Report Completed




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Rev.2013-4 05/21/13                                         @                                             Case No:   SAPD 18220885
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                                                                                                             COSA001981
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                                                    City of San Antonio


I                                            San Antonio Police Department
                                                    Crime Scene Search Report


                                                   Crime Scene Case Header
*Case No.: 18-220885              CFS Case No.:                            "Off/Incident: Officer Involved Shooting

~Place of Occurrence: 217 Roberts Street                                                                              '"District:   2360
                        ----------------------------
Reported:    * Date:   10/17/2018                     Arrived: * Date:   10/17/2018               Completed:     *Date:     10/17/2018

             "Time: 0120                                        *Time: 0125                                      *Time: 1200

Connected Person(sl - SuspectNictim/Witness /Arrested Person :
 SN,
  AP                                         Gender                                                                                 Ade
 SP1     Charles Roundtree Jr.               Mal                                                                (000) 000-0000 l!>elete

 SP2     Davante Snowden                     Mal                                                                (OOO) 000-0000 11>el~te


                                                              Evidence
Photos:      (" No     (e Yes        IZI Regular Photos        Quantity: ~        IZI Add'I Details
Additional Photo Details:        I took approximately three hundred-thirty-three (333) overall, medium and closeup photographs of
                                 the above listed location and surrounding areas to include the following: Photographs of SP2 and
                                 his injuries to the buttocks, exterior and interior of the location, SP1 deceased body and his injuries
                                 to the chest, and the medical examiner investigator's initial exam of the body. I downloaded the
                                 original images to one (1) DVD and submitted the same DVD to the Photo Service Lab for further
                                 investigations and preservations.

                                     D PanoScan Photos
Video:       (e No     (" Yes

Graphics: (e ~ o       (" Yes

Physical Evidence: (" No (e Yes
                       ~------- --------- --------- --------- ~
Evidence Collected: I collected the following items of evidence from the above location:

                       A - One (1) GSR Test Kit performed on a Charles Roundtree Jr. B/M 09-05-2000
                       El - One (1) spent shell casing (stamped: S&W 40 SPEER) (from roadway south of the location)
                       El a - One (1) DNA swab from El
                       E2- One (1) NIKE gray running shoe (LEFT) (from roadway/walkway south of the location)
                       E3 - One (1) spent shell casing (stamped: S&W 40 SPEER) (from ground east of the front porch stairs)
                       E3a - One (1) DNA swab from E3
                       E4 - One (1) spent shell casing (stamped: S&W 40 SPEER) (from ground east of the front porch stairs)
                       E4a - One (1) DNA swab from E4
                       ES - One (1) SMITH & WESSON SD 9VE (semi-auto handgun) Serial No. HEV1574 (9mm)
                            black in color with a chrome slide (from the ground next to a tree west of location at the north
                            bedroom window) (Weapon made safe)
                       ESa - One (1) live round from ES chamber (WIN 9mm Luger)
                       ESb - One (1) Trace DNA (touch) swab from ES
                       E5c - One (1) Trace DNA (touch) swab from ESa

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Rev.2016-6 02/25/16                                  ~                                                                          Page 1 of 5




                                                                                                                   COSA001992
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                                                        City of San Antonio


I                        E6 -
                                                 San Antonio Police Department


                                 ne 1 oo Pa Mo e 3632
                              (living room 1V stand)
                                                        Crime Scene Search Report



                         E6a - One (1) Trace DNA swab from E6
                                                                        No. R3BYL3032



                         E7 - One (1) iphone X Max black in Otter Case (elderly female image on lock screen) (from kitchen floor)
                         E7a - One (1) Trace DNA swab from E7
                         EB - One (1) LG G7ThinQ cell phone (space gray) with apparent blood (from couch in front bedroom)
                         EBa - One (1) Trace DNA swab from EB
                         E9 - One (1) BB gun APX UX rifle #1617220130170542J with misc. loose BB's (weapon made safe)
                              One (1) GAMO SWARM Maxxim Pellet rifl (04-1C-0B4455/17cal.4.1/1.77 (Empty)
                              (front bedroom closet)
                         E10-One (1) Pellet gun unknown make model (brown stock) (rusted) unloaded (front bedroom
                                along west wall) ft.. , ; c.. c
                         El 1 - One (1) plastic bag with approx. five (5) small cubbed rocks of dry, white, powder like materials
                                 (2grams) (tucked into the SPl 's waistband of pants)
                         El 2 - One (1) black Jans port backpack with misc. clothing, toiletries, watch, chain, and papers
                                (under SP2 head)
                         El 2a - US Paper and coin currency from El 2 totaling: $303.44
                         E12b - One (1) ID Card for the SPl: Charles Roundtree Jr. (B/M)
                                  One (1) Social Security Card for SPl: Charles Roundtree
                         El 3 - One (1) 9mm magazine (Smith & Wesson) with four (4) live rounds (CBC 9mm Luger)
                                and seven (7) live rounds (WIN 9mm Luger)
                                 (from under edge/sheets of the north bedroom bed)
                         E13a - One (1) Trace DNA swab from E13 (magazine)
                         E13b - One (l)Trace DNA swab from E13 (live rounds)

                         I marked with my initials, packaged and placed the above items of evidence into the Property Room with
                         the appropriate bar code labels with the exception of ES, ESa and El 3. These respective items were placed
                         into the Blood Drying Cabinet #4 to dry and wait for further processing.

Prints:         Latent Prints Found?         r No r. Yes            Elimination Prints Taken From:         D Complainant D Other
          Prints Collected: Using a single use Black Powder and Brush, I conduced a search for latent prints on the below
                            mentioned items of evidence. I was able t o develop prints from the following items:

                                1. El 3 (magazine)

                                I submitted the developed prints to the Identification Unit for further examination and preservations.
                Prints Attempted with Negative Results?        r. No          (' Yes

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                                      .                                       ~                        Lengtt'}                Nutnl>er                         '    .

                                                                                                                                                         □
Fl        Smith & Wesson                     SD9VE                      semi-auto            9             4                   HEV1574                              IDelete

Vehicle(sl· .                                                                                                         .,       I   .        --    --
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General Details:         (' No     (e' Yes


PS.4125-0S(a) .OFFENSE.INVESTIGATION.RECORD.SAPD Crim e ~ Search                                                                       Case No:               18-220885
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                                                                                                                                                 COSA001993
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                                                  City of San Antonio


I                                          San Antonio Police Department
                                                 Crime Scene Search Report


   I responded to the above location to assist in the processing of an Officer Involved Shooting scene. Upon my arrival to the
   location, I contacted Sgt. A. Johnson #3381 to inform him of the situation and to request additional personnel for the
   processing duties at the scene.

   Officers at the scene were in the process of securing the location with patrol vehicles, crime scene tape and multiple police
   officers on foot. Several hostile community members and individuals that claimed to be the family of the SP1, arrived at the
   scene and made multiple attempts to gain entry in to the secured area.

   After confirming with Lt. Padweka that the scene was secured for processing, I immediately began photographing the
   location and SP2 who was being prepped for transport to a local area hospital by EMS personnel. The SP2 had sustained a
   gunshot wound to the buttocks. I then began to photograph the exterior of the location and surrounding areas.

   CSI Carin Crain #9444 and CSI Nick Berrios #9401 arrived to the location to assist in the processing. At the time of their
   arrival, it was determined that I would be responsible for photographing the scene and collecting items of evidence. CSI
   Carin Crain #9444 was responsible for recording the scene by means of a video, assisting with scene search and assisting
   with the collection of evidence. CSI Nick Berrios #9401 was responsible for recording the scene by means of a rough sketch.
   CSI Det. Sweeney #2237 responded to University Hospital to photograph and collect the clothing of SP2 at my request. See
   all respective personnel reports for additional information.

   I began the processing of the exterior yard and surrounding locations while waiting for a warrant to be signs fro the interior
   of the home.

   SCENE OBSERVATIONS:

   1.   The location was a small single-family dwelling in a residential neighborhood.
   2.   The weather was cold and raining heavily.
   3.   The scene was secured prior to my arrival with heavy police presence.
   4.   Several hostile individuals attempted to enter the scene from multiple areas, but were not allowed to gain access to the
         location or surrounding areas that had been secured by police personnel.
   5.   In the roadway, south/west of the front yard to the location, I observed one (1) spent shell casing (E1) that had been
        marked by police prior to my arrival. Just west of the shell casing, I observed a deceased pit bull dog
        with a gun shot wound to the head lying in the roadway.
   6.   One (1) Nike gray shoe (E2) was on the ground of the roadway/walkway to the front entry gate of the yard.
   7.   On the ground, south of the front porch and to the east of the front porch stairs, I observed two (2) spent shell casings
        (E3 and E4) that had been marked by police personnel prior to my arrival.
   8.    In the vacant lot west of the location, I observed a black handgun with a chrome slide (ES) lying on the ground
         next to a tree west of the north bedroom window. The magazine to the handgun was removed.
   9.    The two (2) front entry doors of the location were opened to the home.

   (After warrant was obtained.)

   10. An apparent bullet hole was found in the living room entry door frame (trim) on the left side.
   11. The living room was small and sparsely furnished with a couch, TV and TV stand, small side table, and a wheeled
       assistant chair.
   12. On the TV stand in the living room, I found a cell phone (E6).
   13.1 observed an apparent bullet hole to the east wall of the living room north of the couch.
   14. The SP 1's deceased body was lying on the floor of the central hallway just north of the living room. The SP 1's was
       lying face up with a black backpack placed under his head (E12). His head was in a southern direction with his legs and
       feet stretched to the north.
   15. The victim was clothed in a black velvet hooded jacket that was tied around his neck, a white T-shirt with apparent
       blood on the chest area, a pair of black pants, black socks and one black house slipper under his right foot. The SP1 wore

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Rev.2016-6 02/25/16                                           @                                            Case No:        18-220885
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                                                                                                               COSA001994
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                                                City of San Antonio


I                                        San Antonio Police Department
                                                Crime Scene Search Report

       one 1 eart s ape , g ittery earring int e e ear an a ea e
       yellow metal colored necklace around his neck.
   16. A small plastic bag with five (5) cubbed like rocks of possible cocaine materials was found tucked in the SPl 's waistband
       of his black pants.
   17. To the north of the SP 1's body, was the entry door to the kitchen. In the kitchen, a cell phone (E7) was found lying on
        the floor.
   18. To the west of the SPl 's body was the entry door into the front (south) bedroom. This room was heavily furnished and
       contained a large amount of clutter. On the couch of this room, I observed a cell phone (EB). In the closet of this room, I
       observed two (2) long rifle style guns (E9). To the west of the bed in the room, i observed a brown wooden long rifle
       style gun (El 0) that was leaving against the west wall near a window. After collection of the three long guns was made
       in this room, it was observed that the weapons were only pellet and BB guns.
   19. In the north bedroom of the location, I observed the west window opened with a pillow lightly stuffed In the opening
       made by the A/C unit. Just outside the window is where the black hand gun with the chrome slide (ES) was found.
   20. On the final search of the location, I found a chrome magazine with live rounds (El 3) in the north bedroom on the
        floor under the edge of the bed it was covered by the bed sheets.

   (During Medical Examiner Investigator's Examination of SPl 's deceased body.)

   21. The SPl, had one (1) gunshot wound to the chest with bullet holes to the white T-shirt and black hooded jacket. No
   other signs of Injury were observed to the SPl 's body at the time. No exit wound was found to the SPl 's back. US paper
   currency was found in the front right pocket of the SPl 's pants.
   22.1 performed a GSR Test Kit on the SPl 's hands prior to the ME Investigator bagging the hands.
   23. The backpack (E12) was removed from under the SPl 's head and I examined the contents of the backpack.
   24. A Michael Kors folding wallet was found In the backpack (El 2) with the SPl 's Identification card (Texas) and a Social
   Security Card (El 2b) along with US currency paper money (El 2a). Other misc. clothing, toiletries and items were contained
   within the backpack.

   Once the scene observations and searches were made, I then marked all items of evidence with numerical placards. I
   rephotographed the scene with the placards In place. CSI C. Crain #9444 and CSI N. Berrios #9401 completed their
   documentations of the scene.

   I collected items from the scene prior to the medical examiner investigator arrival, in order to prevention loss and or
   destruction from the rain and due to the hostile environment from the neighboring areas.

   While collecting the evidence, I made an exhaustive search and sweep of the areas to the east of the location and the
   adjacent home for the bullet projectile/slug that exited the front living room east wall. I was assisted by scene detectives
   and CSI personnel, but no items were identified at the time. I used a trajectory laser light to pin point the possible path
   taken by the spent bullet/projectile. No strikes to the adjacent home were observed.

   Once the final scene search was completed, I contacted CSI Sgt. A. Johnson #3381 to have the scene released. The scene
   was released at approximately 0610 hours.

   (Post Scene Processing)

   I conducted a latent prints visual search on the three cell phones collected from the location, but no prints were identified. I
   swabbed all three phones for the possible presence of DNA material (E6am E7a and E8a).

   I conducted a search for latent prints on the three (3) spent shell casings that were recovered from the scene using the black
   powder and brush methods (single use), but no prints were identified. I swabbed the three (3) spent shell casings for the
   possible presence of DNA materials (El a, E3a, & E4a).

   After allowing the black handgun with the chrome slide (ES) to dry overnight, I processed the item for latent prints using the
PS.4125-0S(a).OFFENSE.INVESTIGATION.RECORD.SAPD Crim~ ne Search                                            Case No:          18-220885
Rev.2016-6 02/25/16                                 ~                                                                    Page 4 of 5




                                                                                                              COSA001995
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                                                 City of San Antonio
                                         San Antonio Police Department
                                                Crime Scene Search Report


    presence of DNA materials (ESb).

    After allowing the live round (ESa) removed from the chamber of (ES) to dry overnight, I processed the item for latent prints
    using the black powder and brush method (single use), but no latent prints were developed. I then swabbed the live round
    for the possible presence of DNA materials (ESc).

    I processed the loaded magazine containing the live rounds (El 3) for latent prints using the black powder and brush
    method (single use) and developed latent prints. I then swabbed the magazine for the possible presence of DNA materials
    (El 3a) and the live rounds from the magazine (El 3b).

    No further actions were requested and none were required of me once the scene and evidence processing were completed.




                                                          Signature
                Member Making Report: Angela Salvatierra (SAPD)                                   Badge No.: 9415
               Assisted By:                                                                       Badge No.: _ __

   12]   Report Completed




PS.4125-0S(a) .OFFENSE.INVESTIGATION.RECORD.SA~ me Scene Search                                           Case No:       18-220885
Rev.2016-6 02/25/16                           ~                                                                         Page 5 of 5




                                                                                                              COSA001996
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                                                                        COSA003375
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  PROSECUTION GUIDE                                                3. OFFENSE CLASSIFICATION
                                                                                                                        4. ASSIGNMENT NO:                18220885
  PAGE37OF50                                                      Felon in Poss of firearm                              5. OFFENSE NO:
                                                                                                                                                              520303
                                                                                                                        6. DATE REPORTED:                    10/17/18
  ROUTING: Homicide
                                                             SAN ANTONIO POLICE DEPARTMENT
  Last name of Complainant,First,Middle Initial
  Casanova, Steve #0099
  Place of Occurrence-Street on• at or Number
  217 Roberts S.A., TX                                          2360                         10/17/2018 0106 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc.•


I watched the entire video.

Wednesday, October 24th 2018

I received and reviewed the final patient care reports (EMS run sheets) for Charles and Davante; copies were put in
the case file.

I received a copy of the firearms trace for the Smith & Wesson 9mm handgun serial #HEV1574 found in the
vacant lot next to 217 Roberts. The report indicated that the purchaser was Darrell Marquis Wiggins Jr. -


1400 hours-At approximately this time, I received a phone call from Sgt. C. Johnson #3033 with the street crimes
unit; he said that his officers had Davante in custody. I asked Sgt. Johnson to have officers transport him to HQ so
that a statement could be obtained from him.

1425 hours-Det. R. Juarez #2241 started a recorded DVD in room #3329 in the Homicide office.

Officer Hebert #0226 arrived at HQ with Davante.

1503 hours-Davante was put in room #3329. For his comfort, Officer Hebert put his handcuffs in front.

I walked in to the room and offered him water. He accepted the water. I exited the room and returned with a
bottle of water.

I introduced myself and then I then read Davante his Miranda warning using SAPD form 66-E and he said he
understood his rights. I filled out the SAPD form 66-8L form for him.

1515 hours-Davante said that Hence was not blood related; he calls Hence his "grandfather." Went on to say that
he breeds dogs and keeps them at Renee's and goes by every day. He said they were "chillin"; he said Charles
shut the door and they were chillin' some more then the door swung open and he heard the gunshots. He tried to
go for the hallway and into Renee's room. He closed the front door.

He said they tried to say we had "something." (Referring to Officer's saying he had a gun).


 UCR        UNFOUNDED (         )   CLEARED BY       ( XX) CLEARED BY ( )            CLEARED BY EXCEPTION   ( )      CHANGE OF   (   ) PROGRESS OF (     )
 STATUS     REPORT                  ARREST                 JUVENILE ARREST           OF OTHER MEANS                  OFFENSE           JNVESTIGATION
Officer Making Report (Badge No.)                     Approving Authority                            Unit Case No.                            Unit Assigned to Follow -up
 Detective R. Perez # 2298                             Sergeant W. McCourt # 3266                                                             Homicide
   SAN ANTONIO                                                                                                            PROSECUTION GUIDE
POLICE DEPARTMENT                                                             TYPE ONLY                                   SAPD Form 3-L Rev. (9-90)



                                                                                                                                                                        /,ii'\
                                                          "EXHIBIT C-5"                                                                   COSA001820
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 PROSECUTION GUIDE                                                 3. OFFENSE CLASSIFICATION
                                                                                                                        4. ASSIGNMENT NO:                 18220885
 PAGE48OF50                                                       Felon in Poss of firearm                              5. OFFENSE NO:                      520303
                                                                                                                        6. DATE REPORTED:                  10/17/18
 ROUTING: Homicide
                                                              SAN ANTONIO POLICE DEPARTMENT
 Last name of Complainant,First,Middle Initial
 Casanova, Steve #0099
 Place of Occurn,nce-Street on• at or Number
 217 Roberts S.A., TX                                           2360                         10/17/2018 0106 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc.•


I drove to the Bexar County Jail and interviewed Michael Deshon Winn. I explained to him what I was
investigating and he knew about this incident. Michael admitted to knowing Darrell; said they were friends for
about a year and a half.

Michael said that Darrell had told him that he needed money. Michael asked him how much he wanted for the gun
and Darrell said, "250." Michael told Darrell he didn't want it but that his homeboy wanted it and had $200.
Darrell sold it to a guy that goes by "Slime Dinero."

Michael said he knew the "full story" but didn't want to get involved. He then said that "Slime Dinero" was
Marcus, was black and that he stayed off o f -

Marcus had called Michael the day of this incident; said he went to the "Trap house" (217 Roberts) and left the gun
to Charles. I asked Michael if the gun had been left by accident and he said he didn't know.

Michael said: "He (Marcus) left it there, that's all he told me."

Marcus had left the gun there for protection.

Michael said he never had possession of the gun.

Michael said the gun was a Smith and Wesson 9mm or .40 and was chrome and black. He corrected himself and
said it was chrome on the top and black on the bottom.

Michael said the gun was sold on Lombrano on or before October of this year.

Michael confirmed that Darrell had tried to buy the gun back but that he told him that he didn't have it.

Towards the end of the interview I asked Michael if he knew Marcus's phone number; he said he didn't know it off
hand but said it started with "832" and said that Evelyn might have it. The interview was recorded on a DVD at
the jail. I received a copy.

***Michael was concerned about his well-being and safety because he said what he said to me. He asked
that his name not be used or brought up if possible.

Sunday, December 23rd 2018
 UCR         UNFOUNDED ( )           CLEARED BY       ( XX) CLEARED BY ( )           CLEARED BY EXCEPTION    (   )    CHANGE OF   (   )   PROGRESS OF (    )
 STATUS      REPORT                  ARREST                 JUVENILE ARREST          OF OTHER MEANS                   OFFENSE             INVESTIGATION

Officer Making Report (Badge No.)                      Approving Authority                            Unit Case No.                             Unit Assigned le Follow -up
 Detective R. Perez # 2298                              Sergeant W. McCourt # 3266                                                               Homicide

   SANANTONIO                                                                                                              PROSECUTION GUIDE
POLICE DEPARTMENT                                                              TYPEONLY@                                    SAPD Form 3-L Rev. (9-90)




                                                                                                                                            COSA001831
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                                                                        COSA003086
                  "EXHIBIT C-9"
Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 58 of 305




                                                                        COSA003142
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the§
surviving mother of CHARLES            §
ROUNDTREE, JR., BERNICE                §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries, TAYLOR    §
SINGLETON, and DAVENTE SNOWDEN §
      Plaintiffs,                      §
                                       §            CIVIL ACTION NO.
vs.                                    §            5:18-CV-1117-JKP-ESC
                                       §
THE CITY OF SAN ANTONIO, TEXAS         §
AND STEVE CASANOVA                     §
      Defendants.                      §


                                AFFIDAVIT OF DIGVIJAY TANWAR


STATE OF TEXAS                   §
                                 §
COUNTY OF HARRIS                 §

        Before me, the undersigned notary, on this day personally appeared Digvijay Tanwar, a
person whose identity is known to me. After being by me duly cautioned to tell the truth, subject
to the penalties for perjury, he did affirm and testify as follows:

                "My name is Digvijay Tanwar. I am over the age of eighteen (18) years,
        am of sound mind, and am fully capable of making this affidavit. I am personally
        familiar with facts recited below, which are true and correct.

                I am employed by Rimkus Consulting Group, Inc. (Rimkus). I hold the
        position of Director of Visual Media and Technology Practice. Rimkus was
        retained to enhance and analyze the video and audio recordings provided by
        Officers Steve Casanova and James Panah's body worn camera recordings taken
        on or about October 17, 2018.




                                          Exhibit
Affidavit of Digvijay Tan war                 D                                    Page 1
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               I have reviewed the bodycam videos worn by Officers Steve Casanova and
        James Panah and provided video enhancement as referenced below. Under my
        supervision, Chris Cuellar performed the audio enhancement in parallel. The video
        and audio enhancement allowed the following observations:

                Officer Casanova is seen and heard knocking on the inner door two times
        before the door opens on the third knock. [Exhibit D-1, Officer Panah's Enhanced
        video, (T06:22:12Z); Exhibit D-2, Officer Panah's Individual Bodycam Frames
        (871 to 903/1198); and Exhibit D-9 my Supplemental Report, Image No.4].

               Officer Casanova's flashlight is seen pointed downwards when the door
        opens. [Exhibit D-4, Officer Casanova's Individual Bodycam Frames (1-298); and
        Exhibit D-10 my original Report, Images No. 1 and 2].

               Mr. Snowden is seen sitting on the sofa with Ms. Singleton sitting to the
        right of Mr. Snowden with no flashlight shining on their faces. [Exhibit D-10,
        Image No. 2].

               The living room light can be seen casting the shadows of Officer Casanova
        and the iron door onto the floor of the porch. [Exhibit D-1, (T06:22:14Z -
        T06:22:19Z); Exhibit D-2, (938 to 1100/1198); Exhibit D-9, Image No.7].

               Mr. Snowden is the first to greet Officer Casanova saying: "What's up?"
        [Exhibit D-3 and D-5 Officer Casanova's Enhanced VideoNideo Inverted
        (T06:22:16Z - T06:22:18Z)]. Officer Casanova responds to Mr. Snowden by
        saying: "What's up man?" [Exhibit D-3 and Exhibit D-5 Officer Casanova's
        Enhanced Video/Video Inverted (T06:22:16Z- T06:22:18Z); and Exhibit D-6A
        and D-6B, Officer Casanova's Enhanced Audio].

                Mr. Snowden starts to rise from the sofa looking at Officer Casanova and
        states: "Hey, who the fuck is this?" [Exhibits D-3, D-5, and D-7, Officer
        Casanova's Bodycam-Slow motion (T06:22:18Z- T06:22:20Z)].

                When Officer Casanova knocks on the door and the door opens, Officer
        Casanova stands outside the open door and on the other side of the iron door with
        his right hand to his side and his gun is in the holster. [Exhibit D-9, Images No.7-
        9].

               Mr. Snowden can be seen gripping a reflective object with his right hand.
        [Exhibits D-3, D-5, D-7 and D-8, (T06:22:18Z- T06:22:20Z); Exhibits D-4 and
        D-8 (175 to 217/298); Exhibit D-9, Images No. 15-17].

               Both Enhanced Color and Inverse frames show the object in the area of Mr.
        Snowden's waist. [Exhibit D-9, Images No. 15-17; Exhibit D-10, Images No.5-
        7; Exhibit D-4 (205)].



Affidavit of Digvijay Tan war                                                         Page2
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               Officer Casanova then states: "Hey let me see your fucking hands"
        [Exhibits D-3, D-5, D-7, and D-8 (T06:22:20Z- T06:22:22Z)] and remains outside
        the house. Officer Casanova then reaches for his gun [Exhibit D-1, (T06:22:19Z)
        ; Exhibit D-2 (1080 to 1110/1198); Exhibit D-9, Image No. 11] and fires two shots
        at Mr. Snowden while Mr. Snowden moved to his right. Officer Casanova remains
        standing outside the front door. [Exhibits D-3, D-5, D-7, and D-8 (T06:22:20Z-
        T06:22:22Z); Exhibit D-9, Images No. 19-26].

               In my capacity as Director of Visual Media and Technology Practice, I serve
        as a Custodian of Records for Rimkus. Of those records, attached hereto is a tme
        and correct copy of the above-referenced videos on a compact disc and/or flash
        drive of a digital recording reflecting:

                D-1:      Video recording entitled,
                          "SAPD18220885 - 00137518 - PANAH- JAMES - A-file 1- Enhanced
                          Clip.mp4" (bodycam) taken on October 17, 2018

                D-2:      Individual Video Frames (1-1198) entitled,
                           "SAPD18220885 - 00137518- PANAH JAMES - A-file 1-
                          Enhanced Frames.pdf' (bodycam) taken on October 17, 2018

                D-3:      Video recording entitled,
                          "SAPD18220885 - 00132324- CASANOVA STEVE-file 1- Enhanced
                          Clip 180x.mp4" (bodycam) taken on October 17, 2018

                D-4:      Stills from Casanova's bodycam entitled,
                          "SAPD18220885 - 00132324- CASANOVA STEVE-file 1 Enhanced
                          Frames 180x.pdf' (bodycam) taken on October 17, 2018

                D-5:      Inverted Video recording entitled,
                          "SAPD18220885 - 00132324- CASANOVA STEVE-file 1 Enhanced
                          Clip 180x Invert.mp4" taken on October 17, 2018

                D-6A: Audio recording from Casanova's bodycam recording entitled,
                      "SAPD 18220885 _ 00132324 _ CASANOVA_STEVE-audio clip-
                      enh.wav" taken on October 17, 2018

                D-6B      Video recording from Casanova's bodycam recording entitled,
                          "SAPD 18220885_ 00132324 _ CASANOVA_STEVE-audio clip-
                          enh.mp4" taken on October 17, 2018

                D-7:      Video recording entitled,
                          "SAPD18220885 - 00132324- CASANOVA STEVE-file 1 Enhanced
                          Clip 180x Slowmotion.mp4" taken on October 17, 2018




Affidavit of Digvijay Tan war                                                        Page 3
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               D-8:      Inverted Stills from Casanova's bodycam entitled,
                         "SAPD18220885 - 00132324- CASANOVA STEVE-file 1 Enhanced
                         Frames 180x Invert. pdf' taken on October 17, 2018

               D-9:      Supplemental Report of Findings, dated April 20, 2021               [DEFT
                         CASANOVA 01315-01372]

               D-10:     Report ofFindings, dated February 16,2021 [DEFT CASANOVA 00090-
                         00141]

               The attached digital footage from the body cameras and video stills are kept
        by me in the regular course ofbusiness, and it was in the regular course of business
        and activity of Rimkus, with knowledge of the act and contains information
        transmitted by the person with knowledge of the matters of the event, condition,
        opinion, recorded to make the record or to transmit information thereof to be
        included in such record; and the record was made at or near the time of the
        occurrence of the matters set forth in the documents and/or digital footage and was
        made by the regularly conducted activity as a usual practice for Rimkus. The
        records attached are exact duplicates of the originals which are true and correct."

                A true and correct copy of my original and supplemental reports, which
        contains my educational and professional background and the substance of my
        opinions and conclusions, are attached hereto as Exhibits D-9 and D-10. I have
        personal knowledge ofthe facts stated in the attached Exhibits D-9 and D-10 and
        they are true and conect."

        Fmiher Affiant sayeth not.




       SUBSCRIBED AND SWORN TO BEFORE ME on this                  J ~11aay of May, 2021,to certify
which witness my hand and official seal.


                                                         (w(A ~. ~a.QUN\U
                                              ------~~------~~-----------=
                                                                                            ~·llo·Z.022..
                                              NOTARY PUBLIC, STATE OF TEXAS


                                                                                     LISA M PALOMO
                                                                                   Notary ID .¥48112648
                                                                                  My Commission Expires
                                                                                     Augu~t 16, 20 22




Affidavit of Digvijay Tanwar                                                           Page4
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                                                         Rimkus Consulting Group, Inc.
                                                      12140 Wlckchester Lane, Suite 300
                                                                    Houston, TX 77079
                                                             Telephone: (713) 621·3550

      RIGINAL OF THIS REPORT, SIGNED AND SEALED BY THE PROFESSIONAL WHOSE NAME
    PPEARS ON THIS PAGE, IS RETAINED IN THE FILES OF RfMKUS CONSULTING GROUP, INC.


                 Supplemental Report of Findings

                    Slack vs. COSA - Video Enhancement



                          Rimkus File No: 100053745

                                  Prepared For:

                  Denton Navarro Rocha Bernal & Zech, PC
                           2517 N. Main Avenue
                          San Antonio, TX 78212

                                    Attention:

                                 Mr. Adolfo Ruiz




                                      Digvijay Tanw r
                                      Principal Consultant




I
                                    April 20, 2021
                                                                            Exhibit

                                DEFT CASANOVA 01315
                                                                              D-9
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                                      April 20, 2021
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                                         Section I
                                      INTRODUCTION


On October 17, 2018, at about 1:00 a.m., San Antonio Police Department (SAPO)
officers responded to a report of an assault with bodily injuries at 217 Roberts Street in
San Antonio, Texas. The SAPO officers were reportedly directed to this residence by
the victim's wife, who was also a witness to the assault. The officers' interactions with
people visiting the residence resulted in an officer-involved shooting in which Mr.
Charles Roundtree sustained fatal injuries, and another was wounded. The investigation
into this case was assisted by audio and video recording instruments housed in the
officers' patrol vehicles and Body Worn Cameras, which captured portions of the
incident. Due to the placement of the cameras, the distance between the officers and
other participants, and ambient noise, not all the incident was within view of the
cameras and the audio recordings are often difficult to understand.

Rimkus Consulting Group, Inc. (Rimkus) was retained to enhance and analyze the
video and audio of the provided recording of Officer Steve Casanova's bodycam ,
showing the approach to the property leading up to the front door and interaction with
Mr. Davante Snowden when the shooting occurred. Furthermore, Rimkus was asked to
provide close-up images of Mr. Snowden's right hand and identify the object it was
believed he was holding.      The video enhancement portion of this assignment was
performed by Mr. Digvijay Tanwar, Principal Consultant, audio enhancement was
performed by Mr. Chris Cuellar, Graphic Artist. This report was reviewed by Richard V.
Baratta , Ph.D. , P.E., Senior Vice President.

Subsequent to our Report of Findings, we were asked to enhance and analyze the
video of the provided recording of Officer James Panah's bodycam , showing the
approach to the property leading up to the front door and interaction with Mr. Snowden
when the shooting occurred.      This report was reviewed by Michael A.K. Liebschner,
Ph.D. , P.E., Principal Consultant.


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                                 DEFT CASANOVA 01317
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This report was prepared for the exclusive use of Officer Steve Casanova who is
represented by Denton Navarro Rocha Bernal & Zech, PC , and The City of San
Antonio, and was not intended for any other purpose. Our report was based on the
information available to us at this time, as described in the Basis of Report. Should
additional information become available, we reserve the right to determine the impact, if
any, the new information may have on our opinions and conclusions and to revise our
opinions and conclusions if necessary and warranted.




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                                          Section II
                                        CONCLUSIONS


                                         Conclusions

We affirm our conclusions made in our original Report of Findings. Conclusions one,
and two have been added as stated below to reflect new information gathered during
the enhancement and analysis of Officer Panah's bodycam. The conclusions from our
original Report of Findings are provided below for reference.

1. Mr. Snowden's left hand remained positioned low, close to his left thigh in a relaxed
    position.

2. Mr. Snowden's right hand was positioned relatively higher around his waist/hip area
    in a guarded position.

3. Mr. Snowden's right hand appeared to be holding/gripping an object that was
    shiny/reflective in nature. However, the images were not sufficiently clear to
    conclusively identify the object.

                                Supplemental Conclusions

1. From Officer Panah's bodycam view, Officer Casanova can be seen approaching
    and knocking on the door with his right hand.      The inner door swings open.     The
    outer black surface-mount security door remained closed. No other body part, apart
    from the right hand, made contact with the door.

2. The video analysis indicated that Officer Casanova did not begin to draw his gun
    until after Mr. Snowden can be heard saying "Hey, who the fuck is this", and stands
    up.




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                                    Section Ill
                                   DISCUSSION


On December 2, 2020, Rimkus received a link, via email, that contained Officer
Casanova's bodycam video recording from October 17, 2018, at 217 Roberts Street in
San Antonio, Texas. The video contained in the link was 01 hour, 18 minutes, and 14
seconds in length, and was named SAPD18220885_00132324_CASANOVA_STEVE-
file 1.mp4, which captured Officer Casanova's bodycam angle of view where the
incident occurred.

On February 12, 2021 , Rimkus received , via email, two PDF's named [3374] Photo of
gun (4828-0443-4905.1 ).pdf, showing one-page gun close-up, Pictures of Gun SAPD-4-
Photos (333) (4826-6237-2828.1 ).pdf, showing one-page with four gun close-ups, gun
images, and link via email that contained Officer Panah's bodycam video recording from
October 17, 2018, at 217 Roberts Street in San Antonio, Texas. The video contained in
the link was 01 hour, 24 minutes, and 12 seconds in length, and was named
SAPD18220885_00137518_PANAH_JAMES_A-file 1.mp4, which captured Officer
Panah's bodycam angle of view where the incident occurred.

Importing Files

SAPD18220885- 00137518- PANAH- JAMES A-file                     1.mp4             and
SAPD18220885_00132324_CASANOVA            STEVE-file 1.mp4 videos were imported
into Adobe Photoshop 2021.

Video Enhancement

Camera View: bodycam looking in front of Officer Panah (Image 1).

Camera View: bodycam looking in front of Officer Casanova. Zoomed 180 percent (%)
(Image 2).



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Section from the video file SAPD18220885_00137518_PANAH_JAMES_A-file 1 .mp4
from timestamp T06:21 :42Z- T06:22:22Z was selected. Levels and Shadow/Highlights
enhancement filters were applied to improve lighting and contrast. The following
enhanced files were exported.

    I.   SAPD18220885_00137518_PANAH_JAMES_A-file 1_Enhanced Clip .mp4

    II. SAPD18220885_00137518_PANAH_JAMES_A-file 1_Enhanced Frames.pdf

Section from the video file SAPD18220885- 00132324- CASANOVA                    STEVE-file
1 .mp4     from     timestamp   T06:22: 13z   -   T06:22:22z     was    selected.   Levels,
Shadow/Highlights, and Invert enhancement filters were applied to improve lighting and
contrast. A timestamp was overlaid on the video. The video was zoomed 180%. The
following enhanced files were exported.

    Ill. SAPD18220885- 00132324- CASANOVA           STEVE-file         1 Enhanced      Clip
         180x.mp4

    IV. SAPD18220885- 00132324- CASANOVA            STEVE-file 1 Enhanced Clip 180x
         lnvert.mp4

    V. SAPD18220885- 00132324- CASANOVA             STEVE-file    1 Enhanced        Frames
         180x.pdf

    VI. SAPD18220885- 00132324- CASANOVA            STEVE-file    1 Enhanced        Frames
         180x lnvert.pdf

   VII. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 01.jpg

   VIII. SAPD18220885_00132324_CASANOVA__STEVE-file 1_Still Frame 02.jpg

    IX. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 03.jpg

    X. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 04.jpg



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       XI. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 05.jpg

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Clip 180x.mp4 and
SAPD18220885_00132324_CASANOVA                 STEVE-file         1 Enhanced         Clip      180x
lnvert.mp4, was imported in Adobe Premiere Pro 2020. Speed/Duration was changed to
25%. The following slow-motion enhanced files were exported.

   XII. SAPD18220885_00132324_CASANOVA               STEVE-file 1 Enhanced Clip 180x
         Slowmotion.mp4

   XIII.SAPD18220885_00132324_CASANOVA               STEVE-file 1 Enhanced Clip 180x
         Slowmotion lnvert.mp4

Side by side, color and invert comparison of gun images from [3374] Photo of the gun
(4828-0443-4905.1 ).pdf and Pictures of Gun SAPD-4- Photos (333) (4826-6237-
2828.1 ).pdf, with Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-
file              1 Enhanced              Frames                       180x.pdf,                and
SAPD18220885 00132324 CASANOVA                 STEVE-file       1 Enhanced         Frames      180x
lnvert.pdf, was performed. An invert enhancement filter was applied. The following
enhanced files were exported (Images 27 and 28).

  XIV. Comparison_Color.jpg

   XV. Comparison_lnvert.jpg

Audio Enhancement

Video file SAPD18220885_00132324_CASANOVA_STEVE-file 1.mp4 was imported
into Adobe Premiere 2021. Section from the video from timestamp T06:22:09z -
T06:22:24z                 was       trimmed              and              exported              as
SAPD18220885 00132324 CASANOVA                 STEVE-file 1.WAV. The WAV audio files
were imported into Adobe Audition 2021, to reduce background noise and to re-master
the       audio    file.     The    enhanced      audio         file     was       exported      as


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SAPD18220885- 00132324- CASANOVA            STEVE-file 2.wav. The enhanced WAV file
was then imported back into Adobe Premiere 2021 , and combined with the original
video. The following files were exported.

    I.   SAPD18220885_00132324_CASANOVA_STEVE-clip-enh01.mp4

    II. SAPD18220885- 00132324- CASANOVA          STEVE-file 2.wav

Names were updated to stay consistent:

    I.   SAPD18220885_00132324_CASANOVA_STEVE-audio clip-enh.mp4

    II. SAPD18220885_00132324_CASANOVA_STEVE-audio clip-enh.wav

Analysis

SAPD18220885_00137518_PANAH_JAMES_A-file 1_Enhanced Clip .mp4

SAPD18220885_00137518_PANAH_JAMES_A-file 1_Enhanced Frames.pdf

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Clip 180x.mp4

SAPD18220885_00132324_CASANOVA_STEVE-file                1 Enhanced    Clip     180x
lnvert.mp4

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Frames 180x.pdf

SAPD18220885- 00132324- CASANOVA            STEVE-file   1 Enhanced   Frames    180x
lnvert.pdf

[3374] Photo of gun (4828-0443-4905.1).pdf

Pictures of Gun SAPD-4- Photos (333) (4826-6237 -2828.1 ).pdf




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The video footage suggests that Officer Panah was following behind Officer Casanova.
Officer Panah 's bodycam was mounted on the torso, facing forward. In the video, from
timestamp T06:21 :42Z - T06:22:00Z and T06:22:06Z - T06:22:08Z (Pages 1 to 536
and 697 to 773/1198), Officer Casanova is in the bodycam's view and can be seen
approaching the door.

From T06:22:09Z - T06:22:19Z (Pages 781 to 111 0/1198) Officer Casanova can be
seen holding his flashlight with his left hand and can be seen and heard knocking on the
inner door with his right hand, which resulted in the opening of the inner door. The
outer black surface mount security door remained closed (Images 3 through 6). The
living room ceiling light can be seen casting a shadow of the outer black surface mount
security door and Officer Casanova, on the porch behind him (Image 7). It is not until ,
Mr. Snowden stands up and can be heard saying, "Hey, who the fuck is this", that
Officer Casanova begins to draw his gun (Images 8 through 11).

The video footage suggested that Officer Casanova's bodycam was mounted on the
torso, facing forward. In this video , from timestamp T06:22:13z - T06:22: 15z (Pages 1
to 89/298), Officer Casanova can be seen holding his flashlight and heard knocking on
the door followed by the sound of the door swinging open. The black surface mount
security door remained closed (Image 2).

From T06:22:16z - T06:22:18z (Pages 90 to 155/298), Mr. Snowden can be heard
saying "What's up". Officer Casanova can be heard replying "What's up man", holding a
flashlight with his left hand pointing downwards at an angle. Three individuals can be
seen sitting inside the residence. Mr. Snowden to the right, a female individual in the
middle with a cellular phone in her hands, and another individual (presumably Mr.
Roundtree), who appeared to be a male sitting on the left from where Officer Casanova
was standing (Image 12).

From T06:22:18z - T06:22:20z (Pages 156 to 220/298), Mr. Snowden can be heard
saying "Hey, who the fuck is this" as he stands up. In the video , Mr. Snowden's left-
hand can be seen positioned in front of his left thigh, and the right hand positioned

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closer to his right hip/waist area and appeared to be gripping an object that is
shiny/reflective in nature. His right-hand stays positioned at the hip location, whereas
his left-hand remains in a lower relaxed position (Image 13, Image 13 Invert, Image 14,
Image 14 Invert, Image 15, Image 15 Invert, Image 16, Image 16 Invert, Image 17,
and Image 17 Invert). At T06:22:20z (Page 221 to 225/298), Mr. Snowden can be
seen moving his right arm upwards while his left arm remains in a relaxed position
around his left thigh (Image 18).

From T06:22:20z- T06:22:22z (Pages 224 to 235/298), Officer Casanova can be heard
saying "Hey, let me see your fucking hands" as his right hand appears in the bodycam
angle of view, as the gun is unholstered (Images 19 through 21). Mr. Snowden can be
seen standing at an angle, taking a step forward towards the wall, which is to the left
side of where Officer Casanova is standing. Mr. Snowden's left-hand remains in front of
his left thigh in a relaxed position, clearly visible. His right hand appears to be relatively
higher than his left hand, tucked close to his right-side hip/waist area with body angle
covering the right hand (Page 232 to 267/298) (Image 22, Image 22 Invert, Image 23,
Image 23 Invert, Image 24, Image 24 Invert, and Image 25).                 At approximately
T06:22:22z (Page 278 to 290/298), two shots were fired by Officer Casanova, as
seen/heard on the video (Image 26).

The     breakdown       of the   sequence   can   be   viewed     by   scrolling    down   the
SAPD18220885_00137518_PANAH_JAMES_A-file 1_Enhanced Frames.pdf (Pages
1/1198), SAPD18220885_00132324_CASANOVA__ STEVE-file 1_Enhanced Frames
180x.pdf         and   SAPD18220885_00132324_CASANOVA            STEVE-file        1 Enhanced
Frames 180x Invert. pdf (Pages 1/298).




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                                      Section IV
                                BASIS OF REPORT


1. Reviewing, enhancing, and analyzing the following video.

    a. SAPD18220885_00132324_CASANOVA_STEVE-file 1.mp4

2. Reviewing, enhancing, and analyzing the following PDF.

    a. [3374] Photo of gun (4828-0443-4905.1 ).pdf

    b. Pictures of Gun SAPD-4- Photos (333) (4826-6237 -2828.1 ).pdf

3. Reviewing , enhancing, and analyzing the received video.

    a. SAPD18220885_00137518_PANAH_JAMES_A-file 1.mp4

4. Reviewing

    a. Ms. Singleton's deposition excerpts from February 91h, 2021 (Pages 51, 127, 128).

    b. Mr. Snowden's deposition excerpts from March 16th, 2021 (Pages 79, 80, 81 ).




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                                 Section V
                              ATTACHMENTS


A. Images

B. Curricula Vitae




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                                    Section V
                                ATTACHMENT A



                                    Images
Images reviewed or generated during our work, including images that were not included
in this report, were retained in our files and are available to you upon request.




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Image 1
Page 775 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1 Enhanced
Frames.pdf" showing camera angle video from Officer Panah's bodycam.




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Image 2
Page 86 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf" showing camera angle video from Officer Casanova's bodycam.




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Image 3
Page 856 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1_Enhanced
Frames.pdf" showing Officer Casanova outside the door. Camera angle video from
Officer Panah's bodycam.




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lmage4
Page 880 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1_Enhanced
Frames.pdf" showing Officer Casanova outside the door. Camera angle video from
Officer Panah's bodycam.




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Image 5
Page 910 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1_Enhanced
Frames.pdf" showing Officer Casanova outside the door. Camera angle video from
Officer Panah's bodycam.




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Image 6
Page 960 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1_Enhanced
Frames.pdf" showing Officer Casanova outside the door. Camera angle video from
Officer Panah's bodycam.




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Image 7
Page 980 from "SAPD18220885_00137518_PANAH_JAMES_A-tile 1_Enhanced
Frames.pdf" showing Officer Casanova outside the door. Living room light casting
shadow of Officer Casanova behind him on the porch.


                                                                              Living room
                                                                              ceiling light




                                                                            Casanova's
                                                                            shadow from t he
                                                                            living room
                                                                            ceiling light.




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Image 8
Page 1007 from "SAPD18220885_00137518_PANAH              JAMES A-file 1 Enhanced
Frames.pdf" showing Officer Casanova outside the door.




                                                                                   Officer
                                                                                   Casanova' s
                                                                                   right-hand
                                                                                   position.




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Image 9
Page 1030 from "SAPD18220885_00137518_PANAH              JAMES A-file 1 Enhanced
Frames.pdf" showing Officer Casanova outside the door.


                                                                             Casanova's
                                                                             right-hand
                                                                             position.




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                             DEFT CASANOVA 01337
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Image 10
Page 1075 from "SAPD18220885_00137518_PANAH              JAMES A-file 1 Enhanced
Frames.pdf" showing Officer Casanova outside the door.




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                             DEFT CASANOVA 01338
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Image 11
Page 1105 from "SAPD18220885_00137518_PANAH              JAMES A-file 1 Enhanced
Frames.pdf" showing Officer Casanova outside the door.




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                             DEFT CASANOVA 01339
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            Image 12
            Page 155 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
            Frames 180x.pdf' showing three individuals sitting inside the residence, with Officer
            Casanova standing outside holding a flashlight with his left hand pointing downwards at
            an angle.




Male Individual




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                                           DEFT CASANOVA 0 1340
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Image 13
Page 185 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions.




                                            Right Hand
                                                                            Left Hand




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                            DEFT CASANOVA 0 1341
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Image 131nvert
Page 185 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.




                                                                            Left Hand




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                            DEFT CASANOVA 01342
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Image 14
Page 201 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's hand positions. Right hand visible and left
hand blocked by black surface mount security door only allowing partial view.

                                                  2018-10-17 T06:22:19Z    ~
                                                  AXON BODY 2 X81159311    ~




                                                                                     Left Hand




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                             DEFT CASANOVA 01343
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Image 141nvert
Page 201 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
left hand blocked by black surface mount security door only allowing partial view.




                                                                                       Left Hand




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                              DEFT CASANOVA 01344
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Image 15
Page 205 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions.




                                                                            Left Hand




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                            DEFT CASANOVA 0 1345
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Image 151nvert
Page 205 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.




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                            DEFT CASANOVA 01346
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Image 16
Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions. Right hand visible and Left
hand covered by black surface mount security door shadow.




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Rimkus File No. 100053745
                             DEFT CASANOVA 01347
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Image 161nvert
Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
Left hand covered by black surface mount security door shadow.




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                              DEFT CASANOVA 01348
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Image 17
Page 215 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions. Right hand visible and Left
hand blocked by black surface mount security door.




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                             DEFT CASANOVA 01349
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Image 171nvert
Page 215 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
Left hand blocked by black surface mount security door.




                            Right Hand




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                                  DEFT CASANOVA 01350
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Image 18
Page 221 from "SAPD18220885_00132324_CASANOVA            STEVE-file 1 Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions.




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Image 19
Page 224 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf'. Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




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                              DEFT CASANOVA 01352
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Image 20
Page 226 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf". Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




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                              DEFT CASANOVA 01353
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Image 21
Page 228 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf". Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




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       Image 22
       Page 236 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
       Frames 180x.pdf" showing Mr. Snowden's hand positions.



Right Hand




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       Image 221nvert
       Page 236 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
       Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.


Right Hand




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        Image 23
        Page 238 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




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                                     DEFT CASANOVA 01357
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        Image 231nvert
        Page 238 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.


Right Hand




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                                     DEFT CASANOVA 01358
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        Image 24
        Page 239 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




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                                     DEFT CASANOVA 01 359
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        Image 241nvert
        Page 239 from "SAPD18220885_00132324_CASANOVA            STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




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                                     DEFT CASANOVA 01360
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Image 25
Page 263 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's left leg while taking a step forward towards
the wall.




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                             DEFT CASANOVA 01361
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Image 26
Page 278 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x.pdf" showing a shot fired by Officer Casanova.




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Image 27
Side by side comparison- [3374] Photo of gun (4828-0443-4905.1).pdf, Pictures of Gun
SAPD-4-     Photos   (333)    (4826-6237-2828.1).pdf    with   Page      209    from
SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Frames 180x.pdf




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Image 28
Side by side comparison- Invert
[3374] Photo of gun (4828-0443-4905.1).pdf, Pictures of Gun SAPD-4- Photos (333)
(4826-6237-2828.1).pdf with SAPD18220885_00132324_CASANOVA_STEVE-file
1_Enhanced Frames 180x lnvert.pdf




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                                 Section V
                              ATTACHMENT B



                             Curricula Vitae




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 m! .. CONSULTING GROUP, INC.

FORENSIC ENGINEERS AND CONSULTANTS




Chris Cuellar, A.A.S.
Graphic Artist
Visual Media and Technology
                                                                                            '
Background
                                                                               Contact Information
Mr. Cuellar received an Associate of Applied Science Degree in                         (713) 621-3550
                                                                                   cacue ller@rimkus.co m
Computer Animation. He excels in many aspects of 30 computer
animation such as, modeling, character rigging/animation, particle
effects and advanced lighting. He is proficient in compositing, 20                Eight Greenway Plaza,
motion graphics, video editing, as well as illustration in various media                       Suite 500
and design layouts.                                                                  Houston , TX 77046


Mr. Cuellar has experience in creating animations for events such as
vehicle accident reconstruction, personal injury, fire, weather,
equipmentfailure, construction, and refinery accidents. He has created trial graphics such as large format
posters, illustrations for reports and power point presentations.          He has also videotaped or
photographed live events, tests and site inspections.

Mr. Cuellar is certified in the use of the FARO 30 Laser Scanner and processing of scan data. He has
experience in scanning large outdoor areas, interior of buildings, vehicles and small objects. He has
produced animations that combine 30 computer animation and laser scan data




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Professional Engagements
• Animations
  • Baylor Neurological Center- Houston, TX (2002), Produced an educational animation for children.
  • Corpus Christi Water Department- Corpus Christi, TX (2002) , designed and animated a 30 logo
    for a TV commercial.
  • Baseball Sports Medical Institute- Houston, TX (2001), created animation and visual effects for a
    TV commercial.
  • The News of Texas- San Antonio, TX (2000), created graphics for news broadcast.
  • Visual Candy, Houston, TX (1999) , Provided post-production and animation assistance on a live
    production for Compaq computers.

Forensic Engagements
• Animations (2005- Present)
  • Accident Reconstruction - Low speed vehicle occupant animations to show injury causation,
    commercial and consumer multi vehicle accidents, show perception reaction times of drivers.
  • Criminal Cases- Police shootings, manslaughter, blunt injury, child abuse cases, show consistency
    of injuries with depositions and physical evidence.
  • Oil and Gas - Model machinery, oil rigs, drilling equipment, show mechanics of use or failure of
    system or parts.
  • Environmental- Wind versus hail damage, flood damages, fire spread, fire cause and origin, plant
    explosions.
  • Construction- Show as built versus as designed plans, animate rooffailures, retaining wall collapse,
    show worker injury accidents on site during construction.
  • Personal Injury - Slip and fall animations, forklift accidents, fall protection equipment failure or
    improper use, electrocution accidents involving, power lines, transformers, and electrical facilities.

Professional Experience
• Rimkus Consulting Group, Inc.                                                           2005- Present
  • Graphic Artist- Visual Media and Technology
    Create 30 animations and video graphics for litigation support encompassing a multitude of fields
    from accident reconstruction, personal injury, product failure, fire, etc. Composite and edit both 30
    animations and video. 30 camera matching and tracking to incorporate 30 animations into live video
    or photos. Responsibilities also include creating multimedia presentations for investigations and
    expert reports, creating trial graphics such as scale drawings, diagrams and charts. Other
    responsibilities include the use of the FARO Laser Scanner and Scene software. Scan accident sites
    and vehicles. Process scans for site preservation, analysis, and visualization. Create animations
    based on 30 scan data. Added and animated bi-peds, humanoids, and vehicles to 30 scan data to
    show how accident or incident occurred. Video analysis and enhancement. Vehicle and pedestrian
    speed analysis from security video or dash cam videos utilizing photogrammetry and reverse
    projection techniques.
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• RGB Solutions                                                                      2002-2005
  • Contractor/Ani mator

• Baylor College of Medicine                                                                2002
  • Contractor, Animator/Graphic Artist

• The Corpus Christi Water Department                                                       2002
  • Contractor, Animator/Graphic Artist

• Visual Candy                                                                              2001
  • Contractor, Animator/Graphic ArtisWFX

• Crush Interactive                                                                         2001
  • Contractor/Modeler

• The News of Texas                                                                         2000
  • Graphic Artist

• Visual Candy                                                                              1999
  • Contractor/Animator/Graphic ArtisWFX

• Kno-lt Inc.                                                                               1999
  • Internship/Animator

Education and Certifications
• Computer Animation, A.A.S.: The Art Institute of Houston (2000)

Continuing Education
• FXPHD: Production Rendering with Mental Ray; Digital Color Theory; After Effects Motion Graphics
  II, 2010; Advanced Environmental Modelling; Visual Effects Techniques with 3DSMax; Premiere Pro
  for the Filmmaker, 2011
• Other: FARO Laser Scanner, FARO Technologies, 2013




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FORENSIC ENGINEERS AND CONSULTANTS




Digvijay (VJ) S. Tanwar
Director, Visual Media and Technology Practice




Backg round

Mr. Tanwar received his B.A. degree in Animation and has extensive
                                                                               Contact Information
                                                                                         (713) 621-3550
industry experience in forensic visualization, retail virtual reality and
                                                                                    vtanwa r@rimkus.co m
video production.

His experience and industry knowledge covers over 12 years in areas                Eight Greenway Plaza,
                                                                                                Suite 500
of computer graphics, animation and virtual reality application. With
                                                                                      Houston , TX 77046
over eight years of creating animations and graphics for litigation, Mr.
Tanwar has deep and thorough understanding of all phases of
animation delivery and operationallifecycle. He has created hundreds
of forensic animations and visualizations of events including heavy trucks, trains, motor vehicle , line of
sight, UTV and ATV accidents and earth moving equipment among others.

Mr. Tanwar's areas of expertise include creating animations and graphics us1ng state-of-the-art
computer software. He works closely with engineers and using their scientific data and findings,
generate compelling, accurate and easy to understand graphics and animations to support courtroom
and deposition testimony. He has experience in deposition and courtroom testimony.


 Prof essiona l Engagements
• Virtual Reality/Animation
  • VR Research -International (20 14-20 18), Developed 3D, animation and VR solutions for consumer
    packaged goods clients in the adult beverage, snack, medical devices, pharmaceutical,
    confectionery, nonalcoholic beverage, syrups and pet food.
  • Lighting Manufacturer- U.S. (2014-2018), Using the power of 3D and virtual reality, helped top
    household lighting manufacturer test new point of sale, new packaging and new layout design in a
    leading retail chain. Based on the recommendations, the manufacturer tested in few small stores
    and saw a double digitjump in sales within two months.



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 • Pet Retailer- U.S. (20 14-20 18), A leading pet retailer wanted to display their products better within
   pet pharmacy. A standard PowerPoint or sales pitch would not have shown the end vision to the
   client and would have made it complicated and taken a big effort to explain. To overcome this , a
   dynamic animation with audio and titles was created that conveyed the message very clearly and
   explained the reasoning behind the proposed changes.


• Product Liability
  • Forklift Injury- Product liability/design defect case involving an injury sustained while operating a
    stand up forklift inside a factory. 3D was used extensively to keep the cost down to a minimum. Two
    forklifts were scanned using FARO. Accident site was surveyed, and the scene was re-created
    virtually in 3D for further analysis. The same forklift model was then processed and passed over to
    a biomechanical engineer to do further injury analysis.


• Human Factors
  • Line of Site Animation- For a case involving a pedestrian who got hit by a locomotive. Accident site
    survey data which included busy road intersection and train tracks , was used to create virtual
    accident site in 3D. FARO was used to scan the interior cabin of the subject locomotive and merged
    it with the scaled 3D model of the locomotive. Based on the scientific data from expert, inspection
    photographs, depositions and witness statements, pedestrian and locomotive were animated and
    generated operator and pedestrian points of view. The animated visuals showed exactly what the
    individuals saw including the blind spot allowing viewers to experience and understand the
    perspective of both parties involved in the accident.


• Biomechanics
  • Arkansas Children's Hospital- (2012), Teamed with biomechanical engineer to convert simulation
    of ATV operation into animation for ATV Safety Summit.
  • Vehicle Analysis- U.S. (2005-2014), Generated numerous CAD models for engineers evaluating
    infant and car seat, automobile interior cabin area (driver/passenger) and exterior using FARO.


• Property
  • Road Damage- (2012) , Developed 3D visuals for a case involving damage to access road, due to
    excessive excavation at the base of a hillside. Due to the evolving nature of the hillside, 3D visuals
    played an important role in understanding the extent of damage in relation to time and helped put
    a visual timeline together. Used satellite images, old photos before the excavation, a series of
    construction photos, inspection photos, CAD survey data, and construction drawings among other
    materials were used to create accurate, scaled 3D model and 2D graphics of the site.




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FORENSIC ENGINEERS AND CONSULTANTS




Forensic Engagements
• Visual Media
  • Texas (2018), Developed animation and illustrations, prepares visuals based on drone-gathered
    site inspection data, created a visual storyboard and enhances videos.
  • Animations/visualizations- Developed animation and illustrations to support forensic investigations
    of events involving heavy trucks, trains, motor vehicle, line of sight, UTV and ATV accidents and
    earth moving equipment as well as energy, oil and gas projects.


Professional Experience
• Rimkus Consulting Group, Inc.                                                        2018- Present
  • Director, Visual Media and Technology Practice
    Responsible for producing state-of-the-art visuals based on scientific analysis. Specializing in 3D
    and FARO forensic documentation, creates hundreds of forensic animations and visualizations of
    events. Also performs video enhancements.

• Kantar Consulting                                                                             2014-2018
  • Creative Team Lead
    Managed and led the creative VR team split between two continents. Directing team in executing
    all creative efforts: animation , virtual reality, store survey and virtual environment builds. This team
    created projects from ground up with state-of-the-art 3D software e.g. Autodesk 3ds max, Adobe,
    Unity and proprietary software as the delivery platform. Successfully executed and coordinated
    projects with multiple teams working across multiple time zones. Responsibilities included
    managing timelines, deliverables, quality and communication. Achieved organization's ambitious
    growth forecast for online research projects.

   Identify and successfully link customer's creative animation, videos and virtual reality needs to
   overall client's strategy by working in conjunction with outside creative agencies and partners,
   resulting in 100% success rate and return clients. Manage multiple projects running in parallel with
   accountability of work prioritization for the creative team and resource allocation. Recognize and
   address areas of improvement and operational growth, in line with business needs. Successful
   implementation of recommendations which resulted in strengthening regional and international
   virtual creative teams in US, UK and India.

• The Engineering Institute                                                               2005-2014
  • Sr. Visualization Specialist/Forensic Animator
    Developed animation and video editing pipelines by introducing new and refining old tools, resulting
    in superior deliveries. Created scaled and accurate 3D environments and models under tight
    deadlines. Introduced FARO scanner which replaced hand drawings, reducing margin of error.
    Executed more than 200 forensic visualization projects and testified as a 3D expert.

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FORENSIC ENGINEERS AND CONSULTANTS




• Brockman Productions                                                                      2002
  • Animator
    30 Engineering I Forensic Animator. Awarded Outstanding Service Award for work excellence .


Education and Certifications
• Computer Animation , B.A.: Collins College (2005)
• Computer Animation, A.A.: Collins College (2002)
• Political Science & Public Administration, B.A.: Panjab University (200 1)
• Autodesk Maya Certified Professional (2013)




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                                                          Rimkus Consulting Group, Inc.
                                                       12140 Wickchester Lane, Suite 300
                                                                     Houston, TX 77079
  ••••
  ••••    TIA




THE ORIGINAL OF THIS REPORT, SIGNED AND SEALED BY THE PROFESSIONAL WHOSE NAME
APPEARS ON THIS PAGE, IS RETAINED IN THE FILES OF RIMKUS CONSULTING GROUP, INC.
(Only include statement if seal is an ink seal, remove statement if sealed digitally)




                            Report of Findings

                     Slack v COSA Video Enhancement

                          Rimkus File No: 100053745

                                  Prepared For:

                 Denton Navarro Rocha Bernal & Zech, PC
                          2517 N. Main Avenue
                        San Antonio, Texas 78212

                                    Attention:

                                 Mr. Adolfo Ruiz




                                       Digvijay Tanwar
                                       Principal Consultant




                                                                           Exhibit

                                   February 15, 2021
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                                       Section I
                                  INTRODUCTION


On October 17, 2018, at about 1:00 a.m., in the morning , San Antonio Police
Department (SAPO) officers responded to a report of an assault with bodily injuries at
217 Roberts Street, in San Antonio, Texas. The SAPO officers were reportedly directed
to this residence by the victim 's wife , who was also a witness to the assault. The
officers' interactions with people visiting the residence resulted in an officer-involved
shooting in which Mr. Charles Roundtree sustained fatal injuries, and another was
wounded. The investigation into this case was assisted by audio and video recording
instruments housed in the officers' patrol vehicles and Body Worn Cameras, which
captured portions of the incident. Due to the placement of the cameras, the distance
between the officers and other participants, and ambient noise, not all the incident was
within view of the cameras and the audio recordings are often difficult to understand.

Rimkus Consulting Group, Inc. (Rimkus) was retained to Enhance and analyze the
video and audio of the provided recording of Officer Steve Casanova's bodycam ,
showing the approach to the property leading up to the front door and interaction with
Mr. Davante Snowden when the shooting occurred. Provide close-up images of Mr.
Snowden's right hand and identify the object it was believed he was holding. The video
enhancement portion of this assignment was performed by Mr. Digvijay Tanwar,
Principal Consultant, audio enhancement was performed by Mr. Chris Cuellar, Graphic
Artist. This report was reviewed by Dr. Richard V. Baratta, Ph.D., P.E. , Senior Vice
President.




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This report was prepared for the exclusive use of Officer Steve Casanova who is
represented by Denton Navarro Rocha Bernal & Zech, PC , and The City of San
Antonio, and was not intended for any other purpose.      Our report was based on the
information available to us at this time, as described in the Basis of Report. Should
additional information become available, we reserve the right to determine the impact, if
any, the new information may have on our opinions and conclusions and to revise our
opinions and conclusions if necessary and warranted.




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                                         Section II
                                       CONCLUSIONS


1. Mr. Snowden's left hand remained positioned low, close to his left thigh in a relaxed
   position.

2. Mr. Snowden's right hand was positioned relatively higher around his waist/hip area
   in a guarded position.

3. Mr. Snowden's right hand appeared to be holding/gripping an object that was
   shiny/reflective in nature.    However, the images were not sufficiently clear to
   conclusively identify the object.




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                                     Section Ill
                                    DISCUSSION


On December 2, 2020, Rimkus received a link, via email, that contained Officer Steve
Casanova's bodycam video recording from October 17, 2018, at 217 Roberts Street, in
San Antonio, Texas. The video contained in the link was 01 hour, 18 minutes, and 14
seconds in length, and was named SAPD18220885_00132324_CASANOVA_STEVE-
file 1 .mp4, which captured Officer Steve Casanova's bodycam angle of view where the
incident occurred.

On February 12, 2021 , Rimkus received , via email, two PDF's named [3374] Photo of
gun (4828-0443-4905.1 ).pdf, showing one-page gun closeup, Pictures of Gun SAPD-4-
Photos (333) (4826-6237-2828.1 ).pdf, showing one-page with four gun close-ups, gun
images, and link via email that contained Officer James Panah's bodycam video
recording from October 17, 2018, at 217 Roberts Street, in San Antonio , Texas. The
video contained in the link was 01 hour, 24 minutes, and 12 seconds in length, and was
named SAPD18220885_00137518_PANAH_JAMES_A-file 1.mp4, which captured
Officer James Panah's bodycam angle of view where the incident occurred.

Importing Files

SAPD18220885_00132324_CASANOVA_STEVE-file 1.mp4 video was imported into
Adobe Photoshop 2021.

Video Enhancement

Camera View: bodycam looking in front of Officer Steve Casanova. Zoomed 180
percent(%) (Image 1)

Section from the video file SAPD18220885- 00132324- CASANOVA               STEVE-file
1 .mp4    from    timestamp   T06:22: 13z     T06:22:22z    was    selected.   Levels,
Shadow/Highlights and Invert enhancement filters were applied to improve lighting and


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contrast. A timestamp was overlaid on the video. The video was zoomed 180 percent
(%).The following enhanced files were exported.

   I.   SAPD18220885- 00132324- CASANOVA          STEVE-file    1 Enhanced       Clip
        180x.mp4.

   II. SAPD18220885_00132324_CASANOVA             STEVE-file 1_Enhanced Clip 180x
       lnvert.mp4.

   Ill. SAPD18220885- 00132324- CASANOVA          STEVE-file   1 Enhanced     Frames
        180x.pdf.

   IV. SAPD18220885- 00132324- CASANOVA           STEVE-file   1 Enhanced     Frames
        180x lnvert.pdf.

   V. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 01.jpg.

   VI. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 02.jpg.

   VII. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 03.jpg.

   VIII. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 04.jpg.

   IX. SAPD18220885_00132324_CASANOVA_STEVE-file 1_Still Frame 05.jpg.

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Clip 180x.mp4 and
SAPD18220885_00132324_CASANOVA            STEVE-file     1 Enhanced    Clip     180x
lnvert.mp4, was imported in Adobe Premiere Pro 2020. Speed/Duration was changed to
25% The following slow-motion enhanced files was exported.

   X. SAPD18220885_00132324_CASANOVA              STEVE-file 1 Enhanced Clip 180x
        Slowmotion.mp4.

   XI. SAPD18220885_00132324_CASANOVA             STEVE-file 1 Enhanced Clip 180x
        Slowmotion lnvert.mp4.




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Side by side, color and invert comparison of gun images from [3374] Photo of the gun
(4828-0443-4905.1 ).pdf and Pictures of Gun SAPD-4- Photos (333) (4826-6237-
2828.1 ).pdf, with Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-
file                1 Enhanced               Frames                       180x.pdf,                and
SAPD18220885 00132324 CASANOVA                    STEVE-file       1 Enhanced         Frames      180x
lnvert.pdf, was performed. An invert enhancement filter was applied. The following
enhanced files were exported. (Image 17, Image 18)

       XII. Comparison_Color.jpg.

       XIII. Comparison_lnvert.jpg.

Audio Enhancement

Video file SAPD18220885_00132324_CASANOVA_STEVE-file 1.mp4 was imported
into Adobe Premiere 2021. Section from the video from timestamp T06:22:09z -
T06:22:24z                   was        trimmed              and              exported              as
SAPD18220885 00132324 CASANOVA                    STEVE-file 1.WAV. The WAV audio files
were imported into Adobe Audition 2021, to reduce background noise and to re-master
the         audio    file.     The    enhanced       audio         file     was       exported      as
SAPD18220885 00132324 CASANOVA                    STEVE-file 2.wav. The enhanced WAV file
was then imported back into Adobe Premiere 2021, and combined with the original
video. The following files were exported.

       I.   SAPD18220885_00132324_CASANOVA_STEVE-clip-enh01.mp4.

       II. SAPD18220885 00132324 CASANOVA               STEVE-file 2.wav.

Names were updated to stay consistent:

       I.   SAPD18220885_00132324_CASANOVA_STEVE-audio clip-enh.mp4.

       II. SAPD18220885_00132324_CASANOVA_STEVE-audio clip-enh.wav.



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Analysis

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Clip 180x.mp4.

SAPD18220885 00132324 CASANOVA             STEVE-file     1 Enhanced      Clip    180x
lnvert.mp4.

SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Frames 180x.pdf.

SAPD18220885 00132324 CASANOVA             STEVE-file    1 Enhanced     Frames    180x
lnvert.pdf.

[3374] Photo of gun (4828-0443-4905.1 ).pdf.

Pictures of Gun SAPD-4- Photos (333) (4826-6237 -2828.1 ).pdf.

The video footage suggested that Officer Casanova's bodycam was mounted on the
torso, facing forward. In this video, from timestamp T06:22:13z- T06:22:15z (Pages 1
to 89/298) Officer Casanova can be seen holding his flashlight and heard knocking on
the door followed by the sound of the door swinging open. The black surface mount
security door remained closed. (Image 1)

From T06:22:16z - T06:22:18z (Pages 90 to 155/298) Mr. Snowden can be heard
saying "What's up". Officer Casanova can be heard replying "What's up man", holding a
flashlight with his left hand pointing downwards at an angle. Three individuals can be
seen sitting inside the residence. Mr. Snowden to the right, a female individual in the
middle with a cellular phone in her hands, and another individual (presumably Mr.
Roundtree), who appeared to be a male sitting on the left from where Office Casanova
was standing (Image 2)

From T06:22:18z - T06:22:20z (Pages 156 to 220/298) Mr. Snowden can be heard
saying "Hey, who the fuck is this" as he stands up. In the video, Mr. Snowden's left-
hand can be seen positioned in front of his left thigh, and the right hand positioned
closer to his right hip/waist area and appeared to be gripping an object that is

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shiny/reflective in nature. His right-hand stays positioned at the hip location, whereas
his left-hand remains in a lower relaxed position. (Image 3, Image 3 Invert, Image 4,
Image 4 Invert, Image 5, Image 5 Invert, Image 6, Image 6 Invert, Image 7 and
Image 7 Invert). At T06:22:20z (Page 221 to 225/298) Mr. Snowden can be seen
moving his right arm upwards while his left arm remains in relaxed positioned around
his left thigh. (Image 8).

From T06:22:20z- T06:22:22z (Pages 224 to 235/298) Officer Casanova can be heard
saying "Hey, let me see your fucking hands" as his right hand appears in the bodycam
angle of view, as the gun is unholstered (Image 9, Image 10 and Image 11). Mr.
Snowden can be seen standing at an angle, taking a step forward towards the wall,
which is to the left side of where Officer Casanova is standing. Mr. Snowden's left-hand
remains in front of his left thigh in a relaxed position, clearly visible. His right hand
appears to be relatively higher than his left hand, tucked close to his right-side hip/waist
area with body angle covering the right hand. (Page 232 to 267/298). (Image 12, Image
12 Invert, Image 13, Image 13 Invert, Image 14, Image 14 Invert, and Image 15). At
approximately T06:22:22z (Page 278 to 290/298) two shots were fired by Officer Steve
Casanova, as seen/heard on the video. (Image 16).

The    breakdown      of the   sequence    can   be   viewed    by   scrolling   down   the
SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Frames 180x.pdf
and SAPD18220885- 00132324- CASANOVA- STEVE-file 1 Enhanced Frames 180x
lnvert.pdf (Pages 1/298).




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                                    Section IV
                               BASIS OF REPORT


1. Reviewing, enhancing, and analyzing the following video.

   a. SAPD18220885_00132324_CASANOVA_STEVE-file 1.mp4

2. Reviewing, enhancing, and analyzing the following PDF.

   a. [3374] Photo of gun (4828-0443-4905.1 ).pdf

   b. Pictures of Gun SAPD-4- Photos (333) (4826-6237 -2828.1 ).pdf

3. Reviewing the following video.

   a. SAPD18220885_00137518_PANAH_JAMES_A-file 1.mp4




                               DEFT CASANOVA 00100
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                               Section V
                            ATTACHMENTS


A. Images

B. Curriculum Vitae




                          DEFT CASANOVA 00101
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                             Section V
                         ATTACHMENT A



                              Images




                        DEFT CASANOVA 00102
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Image 1
Page 86 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf" showing camera angle video from Officer Casanova's bodycam.




                             DEFT CASANOVA 00103
                  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 135 of 305




            Image 2
            Page 155 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
            Frames 180x.pdf' showing three individuals sitting inside the residence, with Officer
            Casanova standing outside holding a flashlight with his left hand pointing downwards at
            an angle.




Male Individual




                                           DEFT CASANOVA 00104
  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 136 of 305




Image 3
Page 185 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions.




                                          Right Hand
                                                                           Left Hand




                          DEFT CASANOVA 00105
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Image 31nvert
Page 185 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.




      r
                                                                           Left Hand




                          DEFT CASANOVA 00106
  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 138 of 305




lmage4
Page 201 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's hand positions. Right hand visible and left
hand blocked by black surface mount security door only allowing partial view.

                                                  2018-10-17 T06:22:19Z    ~
                                                  AXON BODY 2 X81159311    ~




                                                                                     Left Hand




                             DEFT CASANOVA 00107
   Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 139 of 305




Image 41nvert
Page 201 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
left hand blocked by black surface mount security door only allowing partial view.




                                                                                       Left Hand




                              DEFT CASANOVA 00108
  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 140 of 305




Image 5
Page 205 from "SAPD18220885_00132324_CASANOVA            STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's hand positions.




                            DEFT CASANOVA 00 109
  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 141 of 305




Image Slnvert
Page 205 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.




                          DEFT CASANOVA 00110
   Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 142 of 305




Image 6
Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's hand positions. Right hand visible and Left
hand covered by black surface mount security door shadow.




                             DEFT CASANOVA 0011 1
   Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 143 of 305




Image 61nvert
Page 209 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
Left hand covered by black surface mount security door shadow.




                              DEFT CASANOVA 00112
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Image 7
Page 215 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf' showing Mr. Snowden's hand positions. Right hand visible and Left
hand blocked by black surface mount security door.




                             DEFT CASANOVA 00113
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Image 71nvert
Page 215 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x lnvert.pdf" showing Mr. Snowden's hand positions. Right hand visible and
Left hand blocked by black surface mount security door.




                       Right Hand




                              DEFT CASANOVA 00114
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Image 8
Page 221 from "SAPD18220885_00132324_CASANOVA            STEVE-file 1 Enhanced
Frames 180x.pdf" showing Mr. Snowden's hand positions.




                            DEFT CASANOVA 00115
   Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 147 of 305




Image 9
Page 224 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf". Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




                              DEFT CASANOVA 00116
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Image 10
Page 226 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf". Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




                              DEFT CASANOVA 00117
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Image 11
Page 228 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf". Officer Casanova's right hand appears in bodycam angle of view, as
the gun is unholstered.




                              DEFT CASANOVA 00118
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       Image 12
       Page 236 from "SAPD18220885_ 00132324_CASANOVA_STEVE-file 1 Enhanced
       Frames 180x.pdf" showing Mr. Snowden's hand positions.



Right Hand




                                     DEFT CASANOVA 00119
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       Image 121nvert
       Page 236 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
       Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.


Right Hand




                                     DEFT CASANOVA 00120
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        Image 13
        Page 238 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




                                     DEFT CASANOVA 00 121
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        Image 131nvert
        Page 238 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x lnvert.pdf' showing Mr. Snowden's hand positions.


Right Hand




                                     DEFT CASANOVA 00 122
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        Image 14
        Page 239 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




                                     DEFT CASANOVA 00123
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        Image 141nvert
        Page 239 from "SAPD18220885_00132324_CASANOVA            STEVE-file 1 Enhanced
        Frames 180x.pdf" showing Mr. Snowden's hand positions.


Right Hand




                                     DEFT CASANOVA 00124
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Image 15
Page 263 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced
Frames 180x.pdf" showing Mr. Snowden's left leg while taking a step forward towards
the wall.




                              DEFT CASANOVA 00 125
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Image 16
Page 278 from "SAPD18220885_00132324_CASANOVA_STEVE-file 1 Enhanced
Frames 180x. pdf" showing a shot fired by Officer Steve Casanova.




                          DEFT CASANOVA 00 126
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Image 17
Side by side comparison- [3374] Photo of gun (4828-0443-4905.1).pdf, Pictures of Gun
SAPD-4-     Photos   (333)    (4826-6237-2828.1).pdf    with   Page      209    from
SAPD18220885_00132324_CASANOVA_STEVE-file 1_Enhanced Frames 180x.pdf




                              DEFT CASANOVA 00127
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Image 18
Side by side comparison- Invert
[3374] Photo of gun (4828-0443-4905.1).pdf, Pictures of Gun SAPD-4- Photos (333)
(4826-6237-2828.1).pdf with SAPD18220885_00132324_CASANOVA_STEVE-file
1_Enhanced Frames 180x lnvert.pdf




                             DEFT CASANOVA 00128
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                             Section V
                         ATTACHMENT 8



                       Curriculum Vitae




                        DEFT CASANOVA 00129
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 ...!
 Iii. - CONSULTING GROUP, INC,

FORENSIC ENGINEERS AND CONSULTANTS




Digvijay (VJ) S. Tanwar
Director, Visual Media and Technology Practice




Background

Mr. Tanwar received his B.A. degree in Animation and has extensive          Contact Information
industry experience in forensic visualization, retail virtual reality and          (713) 621-3550
video production.                                                              vtanwar@rimkus.com

His experience and industry knowledge covers over 12 years in areas            Eight Greenway Plaza,
of computer graphics, animation and virtual reality application. With                      Suite 500
over eight years of creating animations and graphics for litigation, Mr.          Houston, TX 77046
Tanwar has deep and thorough understanding of all phases of
animation delivery and operationallifecycle. He has created hundreds
of forensic animations and visualizations of events including heavy
trucks, trains, motor vehicle, line of sight, UTV and A TV accidents and earth moving equipment among
others.

Mr. Tanwar's areas of expertise include creating animations and graphics usmg state-of-the-art
computer software. He works closely with engineers and using their scientific data and findings,
generate compelling, accurate and easy to understand graphics and animations to support courtroom
and deposition testimony. He has experience in deposition and courtroom testimony.


 Professional Engagements
• Virtual Reality/Animation
  • VR Research -International (2014-2018), Developed 3D, animation and VR solutions for consumer
    packaged goods clients in the adult beverage, snack, medical devices, pharmaceutical,
    confectionery, nonalcoholic beverage, syrups and pet food.
  • Lighting Manufacturer- U.S. (2014-2018), Using the power of 3D and virtual reality, helped top
    household lighting manufacturer test new point of sale, new packaging and new layout design in a
    leading retail chain. Based on the recommendations, the manufacturer tested in few small stores
    and saw a double digit jump in sales within two months.

                                         DEFT CASANOVA 00130
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FORENSIC ENGINEERS AND CONSULTANTS




  • Pet Retailer- U.S. (2014-2018), A leading pet retailer wanted to display their products better within
    pet pharmacy. A standard PowerPoint or sales pitch would not have shown the end vision to the
    client and would have made it complicated and taken a big effort to explain. To overcome this, a
    dynamic animation with audio and titles was created that conveyed the message very clearly and
    explained the reasoning behind the proposed changes.

• Product Liability
  • Forklift Injury- Product liability/design defect case involving an injury sustained while operating a
    stand up forklift inside a factory. 3D was used extensively to keep the cost down to a minimum. Two
    forklifts were scanned using FARO. Accident site was surveyed, and the scene was re-created
    virtually in 3D for further analysis. The same forklift model was then processed and passed over to
    a biomechanical engineer to do further injury analysis.


• Human Factors
  • Line of Site Animation- For a case involving a pedestrian who got hit by a locomotive. Accident site
    survey data which included busy road intersection and train tracks, was used to create virtual
    accident site in 3D. FARO was used to scan the interior cabin of the subject locomotive and merged
    it with the scaled 3D model of the locomotive. Based on the scientific data from expert, inspection
    photographs, depositions and witness statements, pedestrian and locomotive were animated and
    generated operator and pedestrian points of view. The animated visuals showed exactly what the
    individuals saw including the blind spot allowing viewers to experience and understand the
    perspective of both parties involved in the accident.

• Biomechanics
  • Arkansas Children's Hospital- (2012), Teamed with biomechanical engineer to convert simulation
    of ATV operation into animation for ATV Safety Summit.
  • Vehicle Analysis- U.S. (2005-2014), Generated numerous CAD models for engineers evaluating
    infant and car seat, automobile interior cabin area (driver/passenger) and exterior using FARO.


• Property
  • Road Damage- (2012), Developed 3D visuals for a case involving damage to access road, due to
    excessive excavation at the base of a hillside. Due to the evolving nature of the hillside, 3D visuals
    played an important role in understanding the extent of damage in relation to time and helped put
    a visual timeline together. Used satellite images, old photos before the excavation, a series of
    construction photos, inspection photos, CAD survey data, and construction drawings among other
    materials were used to create accurate, scaled 3D model and 2D graphics of the site.




                                       DEFT CASANOVA 00131
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FORENSIC ENGINEERS AND CONSULTANTS




Forensic Engagements
• Visual Media
  • Texas (2018). Developed animation and illustrations, prepares visuals based on drone-gathered
    site inspection data, created a visual storyboard and enhances videos.
  • Animations/visualizations- Developed animation and illustrations to support forensic investigations
    of events involving heavy trucks, trains, motor vehicle, line of sight, UTV and ATV accidents and
    earth moving equipment as well as energy, oil and gas projects.


Professional Experience
• Rimkus Consulting Group, Inc.                                                        2018- Present
  • Director, Visual Media and Technology Practice
    Responsible for producing state-of-the-art visuals based on scientific analysis. Specializing in 3D
    and FARO forensic documentation, creates hundreds of forensic animations and visualizations of
    events. Also performs video enhancements.

• Kantar Consulting                                                                            2014-2018
  • Creative Team Lead
    Managed and led the creative VR team split between two continents. Directing team in executing
    all creative efforts: animation, virtual reality, store survey and virtual environment builds. This team
    created projects from ground up with state-of-the-art 3D software e.g. Autodesk 3ds max, Adobe,
    Unity and proprietary software as the delivery platform. Successfully executed and coordinated
    projects with multiple teams working across multiple time zones. Responsibilities included
    managing timelines, deliverables, quality and communication. Achieved organization's ambitious
    growth forecast for online research projects.

       Identify and successfully link customer's creative animation, videos and virtual reality needs to
       overall client's strategy by working in conjunction with outside creative agencies and partners,
       resulting in 100% success rate and return clients. Manage multiple projects running in parallel with
       accountability of work prioritization for the creative team and resource allocation. Recognize and
       address areas of improvement and operational growth, in line with business needs. Successful
       implementation of recommendations which resulted in strengthening regional and international
       virtual creative teams in US, UK and India.

• The Engineering Institute                                                               2005-2014
  • Sr. Visualization Specialist/Forensic Animator
    Developed animation and video editing pipelines by introducing new and refining old tools, resulting
    in superior deliveries. Created scaled and accurate 3D environments and models under tight
    deadlines. Introduced FARO scanner which replaced hand drawings, reducing margin of error.
    Executed more than 200 forensic visualization projects and testified as a 3D expert.

                                          DEFT CASANOVA 00132
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    FORENSIC ENGINEERS AND CONSULTANTS




• Brockman Productions                                                                      2002
  • Animator
    3D Engineering I Forensic Animator. Awarded Outstanding Service Award for work excellence.


Education and Certifications
•     Computer Animation, B.A.: Collins College (2005)
•     Computer Animation, A.A.: Collins College (2002)
•     Political Science & Public Administration, B.A.: Pan jab University (2001)
•     Autodesk Maya Certified Professional (2013)




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:m    ~ CONSULTING GROUP, INC.

FORENSIC ENGINEERS AND CONSULTANTS




Chris Cuellar, A.A.S.

                                                                                             '
Graphic Artist
Visual Media and Technology




Background
                                                                               Contact Information
Mr. Cuellar received an Associate of Applied Science Degree in                          (713) 621-3550
Computer Animation. He excels in many aspects of 3D computer                        cacuel ler@rim kus.com
animation such as, modeling , character rigging/animation, particle
effects and advanced lighting. He is proficient in compositing, 2D                 Eight Greenway Plaza ,
motion graphics, video editing, as well as illustration in various media                         Suite 500
and design layouts.                                                                   Houston, TX 7704 6

Mr. Cuellar has experience in creating animations for events such as
vehicle accident reconstruction, personal       injury, fire. weather,
equipment failure, construction, and refinery accidents. He has created trial graphics such as large format
posters, illustrations for reports and power point presentations .          He has also v ideotaped or
photographed live events, tests and site inspections.


Mr. Cuellar is certified in the use of the FARO 3D Laser Scanner and processing of sca n data. He has
experience in scanning large outdoor areas, interior of buildings, vehicles and small objects. He has
produced animations that combine 3D computer animation and laser scan data




                                         DEFT CASANOVA 001 34
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FORENSIC ENGINEERS AND CONSULTANTS




Professional Engagements
• Animations
  • Baylor Neurological Center- Houston, TX (2002), Produced an educational animation for children.
  • Corpus Christi Water Department- Corpus Christi, TX (2002), designed and animated a 30 logo
    for a TV commercial.
  • Baseball Sports Medical Institute- Houston, TX (2001), created animation and visual effects for a
    TV commercial.
  • The News ofTexas- San Antonio, TX (2000), created graphics for news broadcast.
  • Visual Candy, Houston, TX (1999), Provided post-production and animation assistance on a live
    production for Compaq computers.

Forensic Engagements
• Animations (2005- Present)
  • Accident Reconstruction - Low speed vehicle occupant animations to show injury causation,
    commercial and consumer multi vehicle accidents, show perception reaction times of drivers.
  • Criminal Cases- Police shootings, manslaughter, blunt injury, child abuse cases, show consistency
    of injuries with depositions and physical evidence.
  • Oil and Gas- Model machinery, oil rigs, drilling equipment, show mechanics of use or failure of
    system or parts.
  • Environmental- Wind versus hail damage, flood damages, fire spread, fire cause and origin, plant
    explosions.
  • Construction- Show as built versus as designed plans, animate roof failures, retaining wall collapse,
    show worker injury accidents on site during construction.
  • Personal Injury - Slip and fall animations, forklift accidents, fall protection equipment failure or
    improper use, electrocution accidents involving, power lines, transformers, and electrical facilities.

Professional Experience
• Rimkus Consulting Group, Inc.                                                           2005- Present
  • Graphic Artist- Visual Media and Technology
    Create 30 animations and video graphics for litigation support encompassing a multitude of fields
    from accident reconstruction, personal injury, product failure, fire, etc. Composite and edit both 30
    animations and video. 30 camera matching and tracking to incorporate 30 animations into live video
    or photos. Responsibilities also include creating multimedia presentations for investigations and
    expert reports, creating trial graphics such as scale drawings, diagrams and charts. Other
    responsibilities include the use of the FARO Laser Scanner and Scene software. Scan accident sites
    and vehicles. Process scans for site preservation, analysis, and visualization. Create animations
    based on 30 scan data. Added and animated bi-peds, humanoids, and vehicles to 30 scan data to
    show how accident or incident occurred. Video analysis and enhancement. Vehicle and pedestrian
    speed analysis from security video or dash cam videos utilizing photogrammetry and reverse
    projection techniques.
                                       DEFT CASANOVA 00135
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!!ii   . CONSULTING GROUP , I NC.

FORENSIC ENGINEERS AND CONSULTANTS




• RGB Solutions                                                                      2002-2005
  • Contractor/Animator

• Baylor College of Medicine                                                                2002
  • Contractor, Animator/Graphic Artist

• The Corpus Christi Water Department                                                       2002
  • Contractor, Animator/Graphic Artist

• Visual Candy                                                                              2001
  • Contractor, Animator/Graphic ArtisWFX

• Crush Interactive                                                                         2001
  • Contractor/Modeler

• The News ofTexas                                                                          2000
  • Graphic Artist

• Visual Candy                                                                              1999
  • Contractor/Animator/Graphic ArtisWFX

• Kno-lt Inc.                                                                               1999
  • Internship/Animator

Education and Certifications
• Computer Animation, A.A.S.: The Art Institute of Houston (2000)

Continuing Education
• FXPHD: Production Rendering with Mental Ray; Digital Color Theory; After Effects Motion Graphics
  II, 2010; Advanced Environmental Modelling; Visual Effects Techniques with 3DSMax; Premiere Pro
  for the Filmmaker, 2011
• Other: FARO Laser Scanner, FARO Technologies, 2013




                                      DEFT CASANOVA 00136
                                              3
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                                                                     Page 1
              IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                     SAN ANTONIO DIVISION
PATRICIA SLACK, INDIVIDUALLY )
AND AS THE SURVIVING MOTHER )
OF CHARLES ROUNDTREE, JR.,   )
BERNICE ROUNDTREE AS THE     )
REPRESENTATIVE OF THE ESTATE )
OF CHARLES ROUNDTREE, JR. AND)
ALL STATUTORY BENEFICIARIES, )
TAYLOR SINGLETON, AND        )
DAVANTE SNOWDEN              )
    PLAINTIFFS,              )
                             )
VS.                          )CIVIL ACTION NO.5:18-CV-1117
                             )
THE CITY OF SAN ANTONIO,     )
TEXAS AND STEVE CASANOVA     )
    DEFENDANTS               )
***********************************************************
          ORAL AND VIDEOCONFERENCE DEPOSITION OF
                     TAYLOR SINGLETON
                     FEBRUARY 9, 2021
                   (REPORTED REMOTELY)
***********************************************************
           TAYLOR SINGLETON, produced as a witness at the
instance of the Defendants, and duly sworn, was taken in the
above-styled and numbered cause on the 9th of February,
2021, from 10:17 a.m. to 2:20 p.m., by Christine M. Sitzes,
CSR, reported by machine stenography, in the City of San
Antonio, County of Bexar, State of Texas, pursuant to the
pursuant to FRCP 30, the First Emergency Order Regarding the
COVID-19 State of Disaster, and/or the provisions stated on
the record or attached therein.



                                                                   Exhibit
       Federal Court Reporters of San Antonio, Inc.                      E
                       210-340-6464
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2    FOR THE PLAINTIFFS, WASHINGTON LAW FIRM, PC:
     MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
3    325 North St. Paul, Suite 3950
     Dallas, Texas 75201
4
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
5    ZECH:
     MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
6    2517 North Main Avenue
     San Antonio, Texas 78212
7
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
8    ZECH:
     MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
9    2517 North Main Avenue
     San Antonio, Texas 78212
10
     FOR DEFENDANT CITY OF SAN ANTONIO, OFFICE OF CITY OF SAN
11   ANTONIO:
     MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
12   100 West Houston Street, 18th Floor
     San Antonio, Texas 78205
13
14   ALSO IN ATTENDANCE:
15   MS. BERNICE ROUNDTREE(VIA VIDEOCONFERENCE)
16   MS. PATRICIA SLACK(VIA VIDEOCONFERENCE)
17   MS. SHERYL WOOD(VIA VIDEOCONFERENCE)
18   ALEJANDRA CASAS, VIDEOGRAPHER/TECH(VIA VIDEOCONFERENCE)
19   CHRISTINE M. SITZES, COURT REPORTER(VIA VIDEOCONFERENCE)
20
21
22
23                                  ******
24
25


            Federal Court Reporters of San Antonio, Inc.
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                                                                         Page 20
1         A.     No.     It's -- the name of it is -- I think it's --
2    I don't want to give you the wrong name.           It's
3    Dr. Bocanegra's office.       He's the main doctor in there.
4         Q.     And Dr. Clarissa is also a doctor in
5    Dr. Bocanegra's office?
6         A.     Yes, a PCA, whatever that is.
7         Q.     Oh, I see, a physician's assistant?
8         A.     Yeah.
9         Q.     Can you tell me your relationship to Mr. Snowden
10   or, as you called him, Snow at the time of this incident?
11        A.     That was a friend.
12        Q.     So he's not related to you in any way?
13        A.     No.     No.
14        Q.     Okay.     How about with Mr. Roundtree?
15        A.     We were friends.
16        Q.     Were you related?      I'm sorry.     I think I talked
17   over you.    I apologize.     I asked if you were related?
18        A.     He's a friend as well.
19        Q.     So there's no family relationship with
20   Mr. Roundtree?
21        A.     No.
22        Q.     Okay.     That evening on October 17 of 2018, you
23   traveled to a house at -- located at 217 Roberts Street in
24   San Antonio.      Is that right?
25        A.     Yes.


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1            Q.     Other than at the very top where it has an SAPD
2    case number?         Do you see that at the top right-hand corner?
3            A.     Yes.
4            Q.     That's not your handwriting; is it?
5            A.     No.
6            Q.     Okay.     But the rest of it is?
7            A.     Yes.
8            Q.     Okay.     Can we go to the bottom of the page,
9    please.        And you see there's some information that is
10   redacted again, your phone number, you see that, place of
11   employment.          Apparently it says N/A.     Do you know why -- why
12   did you write N/A there?
13           A.     At that moment, I probably wasn't employed.          I was
14   going to school.
15           Q.     Okay.     And so let's go to page two of Exhibit
16   Number 2.        And the date and time at the top of this page
17   says October 17, 2018, 0400 hours.             Do you know if that's
18   the date and time you gave this statement?
19           A.     That date is correct.     I'm not sure this -- the
20   time.        Because I was in handcuffs the whole time.        I was in
21   handcuffs from the time the officers took me out the house
22   to the homicide unit.          I was in handcuffs.
23           Q.     Do you have any other basis to believe that this
24   statement was given at any other time?
25           A.     I'm not sure.     I don't recall.


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1         A.    Yes.
2         Q.    Then a couple of sentences later, you state at
3    some point I saw a cop stop in front of the house.              Then the
4    cop drove off.
5         A.    Yes.
6         Q.    Explain the background to that statement.
7         A.    Well, that's a area that's always profiled.              So
8    police officer stopped in front of the house, shined a light
9    through that front window and he drove off.            Then we
10   finished socializing.
11        Q.    And were you inside the house when that happened?
12        A.    Yes.
13        Q.    And were you in that living room?           In the front
14   living room?
15        A.    Yes.    Yes.
16        Q.    Could you see out the window when the police
17   officer drove by?
18        A.    Barely.     He -- the only reason I knew he was
19   outside 'cause he shined a light into the house into that
20   front window.
21        Q.    But how would you know it was a cop?
22        A.    Who else has a light like that to shine through
23   somebody's living room window and a police car?
24        Q.    Did you see the police car?
25        A.    Yes.


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1            Q.   And you could see the police car through the
2    window?
3            A.   Yes.
4            Q.   And were you sitting or standing when you saw
5    that?
6            A.   I got up to look out the window.         We all looked
7    out the window.
8            Q.   And who is all of us?      Are you talking about you
9    and who else?
10           A.   Me, Devante and Chop.
11           Q.   All three of you went to the window, looked out
12   the window and you saw a police car?
13           A.   Yes.
14           Q.   And a police officer shining a light through your
15   window?
16           A.   Yes.
17           Q.   And did you all talk about that?         What did you say
18   to Devante and Mr. Roundtree?
19           A.   We closed the blinds back and we sat down and we
20   finished talking.
21           Q.   Well, what I'm interested in knowing is was there
22   any discussion by any of the three of you as to why a cop
23   car was passing by?
24           A.   That's an area that's profiled.         The week before
25   that, I was profiled again and pulled over and just


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1                          MR. BERNAL:   Let me just finish this --
2    these last couple of questions and then we can take a
3    break.
4                          MR. WASHINGTON:   Patrick --
5            Q.       (MR. BERNAL) You didn't know whether the
6    officer was white or Hispanic.          Correct?
7            A.     He could have been purple.     I don't know what
8    color he was.         I assumed he was Hispanic.
9                          That's what I got -- I got harassed by the
10   day before the last week was Hispanic.           That doesn't even
11   -- that's irrelevant.         I still got shot at.
12           Q.       (MR. BERNAL) And so what about the beanie part?
13   How -- how did you know at the time you signed this
14   statement that he was wearing a beanie?
15           A.     Because after he shot, the gun moved, the
16   flashlight, everything moved out the way, you see a beanie
17   sitting on top of his head.           You can't see him.    You can't
18   see nothing.
19           Q.     So at one point you did -- were you able to see
20   that he was wearing a beanie?
21           A.     Yes.   The first shot that he fired went past my
22   head.        It hit Devante in the back and it went past my head.
23   It went through the wall.           That's -- after that, that's when
24   I ducked.
25                         MR. BERNAL:   Okay.   Let's go ahead and take


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1            Q.   Okay.   So when the shots were fired, how many did
2    you hear?
3            A.   I heard a couple of them.
4            Q.   And what did you hear the person at the door say
5    before the shots were fired, if anything?
6            A.   He said don't move, don't move.         Then he started
7    shooting through the living room.
8            Q.   And could you tell who he was shooting at?
9            A.   I thought he was shooting at all of us.           If I
10   would have moved I probably would be dead too right now.
11           Q.   So you thought that person was shooting at you for
12   any particular reason?
13           A.   He was shooting at me.      It doesn't matter where he
14   shot, he was shooting at me.        I had a bullet hole next to my
15   head.
16           Q.   Did you give that person any reason to pull a gun
17   and shoot towards you?
18           A.   I didn't give him a reason to open that door.
19           Q.   Object to nonresponsiveness.        Can you answer the
20   question.     Did you give that person a reason to pull a gun
21   --
22           A.   No.
23           Q.   -- to shoot at you?
24           A.   None of us gave him a reason to just open the door
25   and shoot at us.     There could have been kids in that living


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1         A.     Yes.
2         Q.     And it looks like he's changed clothes.            Do you
3    see that?
4                        MR. WASHINGTON:    Objection, form.
5         A.     He changed his jacket.       He took the jacket off to
6    put over Chop's bullet hole.
7         Q.      (MR. BERNAL) Okay.       And when did that happen?
8         A.     When we realized Chop was shot, we needed towels
9    and stuff.    So we couldn't find no towels.          Because I asked
10   Michelle for some towels, Devante took his jacket off to put
11   it onto Chop.
12        Q.     Okay.     Thank you.   You can take that photograph
13   off now.
14                       Ms. Singleton, in your interrogatories, if
15   we can bring those up again, Exhibit Number 10.             If you
16   can go to Interrogatory Number 21.
17                       So we had asked in that interrogatory
18   whether you had been treated by any physician for any
19   condition, illness or injury caused by this incident.                And
20   in your answer, you can see it below, under the answer,
21   the last line, it says plaintiff has been treated by
22   Dr. Uche, and I don't know how to pronounce his last name,
23   due to the incident in question.         Do you see that?
24        A.     Yes.
25        Q.     Is that the doctor you had testified and


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1    identified earlier?
2         A.     Yes.
3         Q.     Okay.    Let's call him Dr. Uche 'cause that's
4    easier to pronounce.      I think that's what you called him.
5    Correct?
6         A.     Yes.    That's who -- that was my -- the person that
7    I seeked out counseling to.        But my doctor is the one that
8    treated -- that prescribed me the medicine.
9         Q.     Sure.    So Dr. Uche was a counselor?
10        A.     Yes.
11        Q.     And did he office with Dr. Bocanegra?
12        A.     No.
13        Q.     Where is his office?
14        A.     It's off of I-10 and Huebner.
15        Q.     In San Antonio?
16        A.     Yes.
17        Q.     And did you see him for any of the mental anguish
18   or conditions that you were experiencing after this
19   incident?
20        A.     Yes.
21        Q.     And what did he treat you for?
22        A.     He's somebody that I go and talk to about my --
23   about my condition and how I can -- basically, how he can
24   help me with my feelings and with my anger and depression.
25        Q.     And do you know what kind of doctor he is?


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1           A.    He's a counselor.     He's mental health.        He's a --
2    well, I don't -- I don't want to give the wrong name.               He's
3    -- I know he's a counselor, though.
4           Q.    Do you know if he's a medical doctor?
5           A.    I believe so.     His thing say Dr. Uche.
6           Q.    Okay.     How many times did you see him?
7           A.    I seen him quite a few times.        I used to see him
8    once a week.
9           Q.    How many weeks did you see him?
10          A.    I don't recall.
11          Q.    Did you see him for over a year?
12          A.    No, I didn't have.
13          Q.    Do you remember when you started to treat with
14   Dr. Uche?
15          A.    No, I don't recall.       I didn't see him that many
16   times.      Like I said before, I had to go to work and I had to
17   deal with my son and everything like that.            I'm a single
18   mom.
19          Q.    Sure.     I understand.   Let's go to Interrogatory
20   Number 17.     That's where you identified medication?
21          A.    Uh-huh.
22          Q.    And you listed Dr. Bocanegra and Clarissa Cuellar?
23          A.    Uh-huh.
24          Q.    And I think you testified earlier that she was a
25   physician's assistant?


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1         A.    Yes.
2         Q.    And was Dr. Bocanegra your regular physician?
3         A.    Clarissa is -- Clarissa is.          She works within
4    Dr. Bocanegra's office.
5         Q.    But you would only see the physician's assistant,
6    Ms. Cuellar?
7         A.    Yes.    'Cause that's who prescribed the medicine.
8    She's on my medicine bottles.
9         Q.    Okay.     Now, you mentioned in your interrogatory
10   responses that you had a car accident in June of 2018
11   involving an uninsured motorist?
12        A.    Yes.
13        Q.    And were you injured in that accident?
14        A.    Yes.
15        Q.    Did you claim any mental anguish associated with
16   the injuries that you sustained in that accident?
17        A.    No.
18        Q.    Can you tell me what -- how bad was that accident.
19   I'm sorry.    Are you talking?      I don't mean to interrupt you.
20   I can't hear at all.
21        A.    I got hit by a 18-wheeler.
22        Q.    I see.    So it says here -- let's go to
23   Interrogatory Number 11, please.
24                      THE VIDEOGRAPHER:     I'm sorry, what number?
25                      MR. BERNAL:    11.


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1         A.    Yes.
2         Q.    Okay.     I got you.    Okay.    When is the last time
3    that you had a counseling session with Dr. Uche?
4         A.    It's been a while due to COVID.           I had got COVID
5    as well so I hadn't been nowhere.
6         Q.    Do you remember when your last appointment with
7    him would have been?
8         A.    Probably in the summer, 2020.          I'm not -- it was
9    before I got COVID though.        So it probably had to have been
10   in June maybe.     I'm not sure.      I see another -- I talk to
11   another psychologist or psychiatrist, whatever they're
12   called.
13        Q.    And who is that?
14        A.    I believe her name is Myra Brown.
15        Q.    Okay.     Is it Myrna Dartson?
16        A.    Oh, okay.     Yeah, that's her name.
17        Q.    Okay.     We'll get to her in a minute.         When is the
18   last time that you saw the physician's assistant at
19   Dr. Bocanegra's office for medication?
20        A.    I was seeing her before I moved to Dallas because
21   I needed more blood pressure pills.
22        Q.    And so you -- you list two medications in your
23   interrogatory answers, Escitalopram.
24        A.    Uh-huh.     That's for anxiety and depression.
25        Q.    And Travadone(verbatim).


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1         A.     That's for depression.       To sleep, I had insomnia
2    after.    I couldn't sleep for weeks.        I couldn't sleep.       I
3    was having nightmares and stuff.
4         Q.     Tell me how this incident -- you can take the
5    interrogatory responses down, I believe.           I don't need that.
6    Tell me how this incident has affected you personally.
7         A.     I'm a very paranoid person now.          I'm still
8    depressed.    My -- I have bad anxiety.         I have nightmares.       I
9    can see -- like I can see -- I can still see Chop in my head
10   from that night.
11                     I still -- like I'm terrified of guns and
12   stuff like that, loud noises.         And it makes me think about
13   my son.    My son's five years old right now and I don't
14   ever want this to happen to him.
15                     I wouldn't wish this on nobody.          I don't
16   want this to happen to anybody.         And that's something that
17   I'll have to live with.       And I try to prepare my son for
18   things like this so it doesn't happen to him.             I'm not the
19   same -- the same mother I used to be before.
20        Q.     How -- how have you changed as a mom?
21        A.     I'm depressed.     So if you're depressed, you can't
22   go out and do things.       You can't go do activities you want
23   to go do 'cause you're depressed.
24        Q.     Activities such as what?
25        A.     Going and being a mom.       Going to take my son to go


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1    do things.       Being that joyful person I used to be.
2                         You can't be joyful if you're sitting here
3    thinking about something that happened in 2018.             You're
4    just not -- you're living in a nightmare.            You still live
5    with it because it can happen again.
6                         It still happens today.     It didn't just
7    happen to me.        It's happened to a lot of people in this
8    world.       And it's just -- it's not -- it's not fair.
9                         Like I live -- I live, I feel bad because
10   that day I didn't -- I almost died but I didn't die.               But
11   somebody else lost their son.         You get what I'm saying?
12                        And I got to go home to my son but their
13   son couldn't go to home to them.         That's not -- that's not
14   fair.        And then he dies and there's nothing I could do to
15   even save him or help him.
16           Q.     And when you would counsel with Dr. Uche, would he
17   help you through these issues that you're talking about?
18           A.     I mean, you can try to help somebody by talking to
19   them but I feel like just talking to somebody to tell them
20   how to get around something, that's something that -- that's
21   gonna take years to accomplish.         You can say oh, well, you
22   know, you can try to do this to not think about it and just
23   use -- that's hard not to think about 'cause I almost died.
24                        I almost died that night.     The same bullet
25   that hit Devante went past me.         It went past me.       It went


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1    through the wall to the neighbor's house.            Like that
2    bullet kept going.
3                        Or what if my son was in that living room
4    that morning?       I mean, that -- yeah, that morning with me
5    to go pick up somebody and my son got shot just because
6    the officer just was over jealous(verbatim), just reckless
7    shooting.     That's wrong.     That's not right.
8                        So it's hard to just live and not think
9    about that.     'Cause I live with guilt.        Devante lives with
10   guilt.    I live with guilt every day and I didn't even do
11   anything.     None of us did anything.
12        Q.     Have you stayed in touch with Mr. Snowden since
13   this incident?
14        A.     I was in touch with him but I haven't talked to
15   him lately, though.       No.
16        Q.     When's the last time you talked to him?
17        A.     In October 2020.
18        Q.     Okay.     Do you know that he's there in Dallas?
19        A.     No, I'm not sure where he is, where his
20   whereabouts are.      He has --
21        Q.     You haven't visited him in Dallas?
22        A.     He has psychological issues he's going through
23   right now 'cause he lives like -- like this is his fault.
24   So, I mean, you walk around with a body on you, you would
25   kinda understand that too.        It's not fair.


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1    that.        It'll make us comfortable but the end of day, we
2    still need justice.
3                          Y'all -- I mean, police officers go around
4    here killing people and then they don't -- they just don't
5    go to jail.        If I did that, if I came to your house,
6    opened your door and said what's up and then shot at
7    y'all, I would be in jail right now.
8            Q.     No, I understand your position in this case and
9    I'm sorry I have to object to responsiveness of the
10   question.
11           A.     I'm asking the jury to determine what -- what's
12   considered for me or for us.
13           Q.     I understand.    Are there any other ways this
14   incident has affected you that we haven't talked about
15   already?
16           A.     Just, I mean, I didn't die that day but y'all took
17   somebody else's life and I felt like I died with him that
18   day.
19           Q.     Is that part of your depression?
20           A.     Yes.   Watching somebody die that you can't save.
21   Watching somebody die, sitting there -- you sitting there
22   talking to them and then five seconds later, they're dead.
23   Yes.
24           Q.     And has that caused you any nightmares or
25   hallucinations?


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1    training requirements for a city to be -- and an officer to
2    be licensed as a peace officer in the state of Texas?
3                      MR. WASHINGTON:      Objection, form.
4         A.     No, I'm not a police officer.         I didn't go to law
5    school.     I just know that when a police officer comes
6    through a door, a police officer is supposed to knock on the
7    door, not open the door or kick the door open.             And they're
8    not supposed to be sicking their gun through no -- no
9    burglar bar doors to shoots inside nobody's house.
10                     And they're -- number one, they're supposed
11   to be identifying themselves, not saying what's up.              How
12   do I know who you are if you say "what's up"?
13        Q.       (MR. LEWIS) Okay.     And is that just based your
14   research, you know, anything you can tell me about?
15        A.     That's based -- that's based on what happened to
16   us today.     Basically, when a police officer has ever knocked
17   on anybody's door, and your door, too or wherever, they say
18   knock, knock, knock, hey, this is SAPD or this is, you know,
19   detectives or whatever.       They say that they're the police.
20                     They don't just push the door open and be
21   like what's up.     He did -- he failed to identify himself.
22   The City did not discipline Casanova for -- for anything
23   that he did, none of his wrong.
24                     Like it's been video.       There's footage
25   across the United States and YouTube showing this man


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1                         MR. WASHINGTON:     That's why I just said
2    that.
3                         MR. LEWIS:     Okay.    All right.   Can you guys
4    hear me?
5                         THE WITNESS:     Yes.
6            Q.    (MR. LEWIS) Okay.       Did -- at what point did you
7    see the door open?       Did you -- did you see it first or did
8    you hear a knock?
9            A.   It was no knock.       Even in y'all's video footage
10   from the body cams, there was no knock.
11                        When he -- when he tried to open the first
12   door, he didn't knock.        When he opened the second door, he
13   kicked it open with his shoe and that showed on the
14   second -- on the -- on the second body cam footage.              He
15   pushed the door open.        And there was nobody behind the
16   door.
17                        There was three individuals in the house.
18   You guys took two individuals to homicide and y'all
19   dropped the other Hispanic lady off and y'all took -- go
20   to jail -- I mean, y'all took him to the hospital and
21   y'all -- and De -- I mean, and Chop was dead.
22           Q.   Okay.     My question -- and I object to
23   nonresponsive.       Did you hear the knock or did you first see
24   the door open?
25           A.   He did not knock.        And he didn't knock on that


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                                                                       Page 133 j
 1                IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
 2                        SAN ANTONIO DIVISION
 3   PATRICIA SLACK, INDIVIDUALLY)
     AND AS THE SURVIVING MOTHER )
 4   OF CHARLES ROUNDTREE, JR.,   )
     BERNICE ROUNDTREE AS THE     )
 5   REPRESENTATIVE OF THE ESTATE)
     OF CHARLES ROUNDTREE, JR. AND)
 6   ALL STATUTORY BENEFICIARIES, }
     TAYLOR SINGLETON, AND        )
 7   DAVANTE SNOWDEN              )
         PLAINTIFFS,              )
 8                                       )
     vs.                                 )CIVIL ACTION NO.5:18-CV-1117
 9                                       )
     THE CITY OF SAN ANTONIO,            )
10   TEXAS AND STEVE CASANOVA            )
         DEFENDANTS                      )
11   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
                         REPORTER'S CERTIFICATE
12                ORAL AND VIDEOTAPED DEPOSITION OF
                           TAYLOR SINGLETON
13                         FEBRUARY 9, 2021
                          (REPORTED REMOTELY)
14   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
15   I, Christine M. Sitzes, Certified Shorthand Reporter, hereby
16   certify to the following:
17               That the witness,TAYLOR SINGLETON, was duly sworn
18   by the officer and that the transcript of the oral
19   deposition is a true record of the testimony given by the                  I!
20   witness;
21               That examination and signature of the witness to
22   the deposition transcript was waived pursuant to Federal
23   Rule 30(e)l;                                                                i
24               That the amount of time used by each party at the
25   Deposition is as follows:


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                             February 9, 2021
                                                                                   i

                                                                       Page 134
 1      Mr. Bernal - 2 hours 34 minutes           and                             I
 2      Mr. Lewis - O hours 31 minutes and                                         j
 3      Mr. Washington - O hours O minutes;
 4              That pursuant to information given to the
 5   deposition officer at the time said testimony was taken, the
 6   following includes counsel for all parties of record:
 7   FOR THE PLAINTIFFS:
         MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
 8       WASHINGTON LAW FIRM, PC
         325 North St. Paul, Suite 3950
 9       Dallas, Texas 75201
10   FOR DEFENDANT STEVE CASANOVA:
         MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
11       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue
12       San Antonio, Texas 78212                                                  1

                                                                                   i
13   FOR DEFENDANT STEVE CASANOVA:
         MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
14       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue                                                    l
15       San Antonio, Texas 78212
16   FOR DEFENDANT CITY OF SAN ANTONIO:
         MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
17       OFFICE OF CITY OF SAN ANTONIO, LITIGATION DIVISION
         100 West Houston Street, 18th Floor
18       San Antonio, Texas 78205
19              I further certify that I am neither counsel for,
20   related to, nor employed by any of the parties to the
21   action in which this proceeding was taken, and further
                                                                                  11
22   that I am not financially or otherwise interested in the
23   outcome of this action.
24              Further certification requirements pursuant to
25   Rules of Civil Procedure will be certified to after they


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                             February 9, 2021

                                                                                                                        Page 135
1    have occurred.
                                                                                                                                                                        i
2                Certified to by me this 26th of February, 2021.
3                                         /s/Christine M. Sitzes                                                                                                        i
                                          Christine M. Sitzes                                                                                                           i
4                                         TX CSR#8756, Expires 2/28/22                                                                                                  1


                                          Firm Registration No. 79
 5                                        Federal Court Reporters of
                                          San Antonio
 6                                        10100 Reunion Place, Suite 660
                                          San Antonio, Texas 78216-4119
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                                                                        Page 136
1                 FURTHER CERTIFICATION UNDER RULE 30 FRCP:
 2                  The original deposition was delivered to Mr.
3    Bernal in accordance with Rule 30(e) of the FRCP on
 4   N\r:1120.\
 5                  That $ I zH3 · oo     is the deposition officer's
 6   charges to Mr. Bernal for preparing the original deposition
 7   transcript and any copies of exhibits;
 8                   That the deposition transcript was delivered in
 9   accordance with Rule 30(e) and (f) (1) of the FRCP, and that
10   a copy of this certificate was served on all parties shown
11   herein and filed with the Clerk.
12                   Certified to by me on this              day of
13   _M~~~Q=c~8..____ , 2021.
14                                         /s/Christine M. Sitzes
                                           Christine M. Sitzes,
15                                         TX CSR#8756
                                           Expiration: 2/28/22
16                                         Firm Registration No. 79
                                           Federal Court Reporters of
17                                         San Antonio
                                           10100 Reunion Place
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San Antomo Police Department
STATEMENT INFORMATION SUPPLEMENT                                                                                                        Case Number:
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Under the Texas Penal Code, a person commits Aggravated Perjury, a Third Degree Felony, if, with intent to
deceive and with knowledge of the statements meaning: (1) he makes a false statement under oath, or swears to the
truth of a false statement previously made. (2) If the statement is required or authorized by law to be made under
oath, and the statement is made during, or in connection with an official proceeding, and is material.

   Name
   Nombre:

   Home Address
   Direccion de Residencia:

   Business Address
   Direccion de Empleo:

      Place of Employment
      Lugar de Empleo:
                                                                                                                          Tttulo de Empleo :

                                                                                                                          Bu~iness Phone Number
                                                                                                                                                       -
      Home Phone Number                                                                                                   Telefono de Empleo:
      Telefono de Res1denc1a:
                                                                                                                          Date of Birth
      Race                                                                                                                Fecha de Nacimiento:
      Raza
                                                                                                                          Driver's License
      Social Secunt; Number                                                                                               Numero de Licensia:
      Numero de Segura Social; _ _ _ _ _ _ _ _ _ _ _ __

      Job Title
      Married Yes                                      No                                              Name ol Spou~e
      Casado: Si
                                      □                No                                              Nombn: de E~po~o O Espo~a: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Nearest Relative other than Spouse:
      Pariente Mas Cercano (Exclu ivo de Esposo O Esposa):

      Name
      Nombrc:

      Home Address
      Direccion de Residencia:

     Home Phone Number                                                                                                    Business Phone Number
     Telefono de Residenc1a:                                                                                              Telefono de Empleo:

      Place of Employment
      Lugar de Empleo:



     Comments (Any remarks observations which are pertinent to the case):




                                                                                                                                                           SAPD Form 66-8L Rev 104-04)




                                                                                                                                                            COSA002132
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STATE OF TEXAS§                                             Case Number: SAPD18220885
COUNTY OF BEXAk §                                           Date and Time: 10/17/2018 0400
                                                            Taken by : DET. R. Hines #2358


Page 1 of 1
BEFORE ME, the undersigned authority in and for the State and County aforesaid, on this day personally
appeared Taylor Singleton, who being by me duly sworn upon his/her oath deposes and says:

My name is Taylor Singleton. I am currently a student at Central Texas College online. I graduated from
Ace Academy in San Antonio. I can read, write, speak, and understand the English language.

Earlier in the day I had been with "Snow". I think his name is Deante or DeV ante. He is a Black male. He
wears his hear in a fade and he has a dark complexion. When I had last talked to him he asked to come by
Hence's house to pick him up. I went to Hence's house to pick up "Snow". I know Hence through his
granddaughter Rochelle. When I got to Hence's house I was there with Snow. I believe that Hence and the
Hispanic lady were in the bedroom sleeping. About 10 minutes after I got there "Chop" got to the house.
"Chop" is a mixed male. He is Black and Hispanic. He has a medium complexion. He is about 5' 4" tall.
At some point I saw a cop stop in front of the house then the cop drove off. I saw the front door of the
house start to open and I saw a flashlight shining in the door. "Snow" got up and asked who was at the
door. Snow walked towards the door. The person at the door started saying in a strong voice "don't move,
don't move". I assumed that it was a police officer but I could not see him. The person at the door never
identified themselves as police. Chop was sitting to the right of me while this was going on. The police
officer pushed the door open and "Snow" turned away from him. The officer started shooting. When the
officer was shooting I just curled up and put my head down. "Chop" was still sitting to the right of me
and he was shot in the chest. "Chop" got up from the chair and he collapsed. "Snow" went to "Chop" and
I could see a hole in "Chop" in the middle of his chest. "Chop" was trying to breath. After the cop stopped
shooting he ran away from the house. The officer I saw shooting looked Hispanic and he was wearing a
beanie. Detective Hines asked me if anyone in the house had any guns. I didn't see anyone with any guns
and I don't know why the officer started shooting.

Everything I have told Detective Hines is true. I have not been promised anything for giving this
statement. This is the end of my statement.




                                                         .-.--
                                             Signature     t .,(")t2,e;:V\,
Sworn to and subscribed before me, Randal Hines, TCLEOSE#lll099 , a peace officer in the State
of Texas and pursuant to No. 602.002, Texas Government Code, on this _17 th day of _October,
A.D., 2018.


                                            ~eom&r



                                                                                         COSA002133
     Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 194 of 305



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the§
surviving mother of CHARLES            §
ROUNDTREE, JR., BERNICE                §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and§
all Statutory Beneficiaries, TAYLOR    §
SINGLETON, and DAVANTE SNOWDEN §
      l'laint~s,                       §
                                       §               CIVIL ACTION NO.
vs.                                    §               5:18-CV-1117-JKP-ESC
                                       §
THE CITY OF SAN ANTONIO, TEXAS         §
AND STEVE CASANOVA                     §
      Defendants.                      §


                                  DECLARATION OF ALBERT A. ORTIZ


STATE OF TEXAS                      §
                                    §
COUNTY OF BEXAR                     §

        Before me, the undersigned notary, on this day personally appeared Albert Ortiz, a person
whose identity is known to me. After being by me duly cautioned to tell the truth, subject to the
penalties for peijury, he did affirm and testify as follows:

                 "My name is Albert Ortiz. I am over the age of eighteen (18) years, am of
         sound mind, and am fully capable of making this affidavit. I am personally
         familiar with facts recited below, which are true and correct.

                  I have been retained as an expert witness in the above referenced lawsuit. I
         served as a police officer in the San Antonio Police Department (SAPD) for over
         33 years. I held every rank in the Department before retiring as the Chief of
         Police in April of2006. During my tenure, I was assigned to the Homicide Unit as
         a first line supervisor (sergeant) and later as the commander (lieutenant) of the
         unit for five years. I hold a bachelor's degree in Applied Arts and Sciences from
         Southwest Texas State University and a master's degree in Criminal Justice from
         now Texas State University. I previously taught Criminal Justice at San Antonio
         College. Throughout my career I received continuing education and training at the
         San Antonio Police Academy. I also attended a substantial number of additional


                                             Exhibit                                    Page I
                                                 F
Declaration of Albert A . Ortiz
     Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 195 of 305



        training classes and conferences related to criminal justice and police
        administration outside the department.

                My experience, education, and training in the law enforcement field; and
        specifically my experience, education and training related to police procedures are
        set forth in my CV, attached hereto as Exhibit F-1. I base my opinions expressed
        in this affidavit on review of the materials, documents and information
        enumerated in Exhibit F-2 herein.

                According to the written statement and body worn camera (BWC)
        recording of SAPD Officer Steve Casanova, while on patrol, Officer Casanova
        was approached by a citizen, Maria Herrera, who reported that a few minutes
        earlier she and her husband, Esteban Preciado, had parked in front of 218 Roberts
        to deliver some food to a resident. She said she was approached by a tall, skinny,
        black male, 20 to 25 years of age, wearing a grey sweater. She was unsure of his
        hair length but after conferring with her husband, she said he had no hair. She said
        the man was very upset because they had parked in front of his house. The male
        walked to the driver's side door and punched Mr. Preciado in the face. Officer
        Casanova's BWC recording shows Mr. Preciado's injury. Ms. Herrera identified
        the house into which the assailant fled after the assault as 217 Roberts Street. 1

                SAPD Policies and Procedures dictate how a SAPD investigating officer
        should attempt to ascertain whether an alleged assault incident reported is actually
        a violation of the law. It is the duty of the reporting officer to obtain both sides of
        the story and gather facts and identifYing information of participants, suspects
        and/or witnesses to the alleged assault. A police officer for SAPD, while on duty
        and acting in the course and scope of his employment, is engaged in the discharge
        of discretionary duties as a licensed and certified peace officer for the State of
        Texas. Part and parcel of the officer's discretionary duties is to determine how
        best to investigate allegations of possible crimes. It was Officer Casanova's
        sworn duty to investigate the alleged assault of the victim in order to establish
        whether probable cause existed to believe a penal code violation occurred and
        who committed it. [Exhibit F -3, SAPD Procedure 701.06 (A.) Officers/UEDI's
        General Crime Scene Duties and the Exhibit F -4, Texas Code of Criminal
        Procedure Chapter 2, Article 2.13 Duties and Powers (of peace officers).

               For this investigation and within his discretionary authority, Officer
        Casanova decided to comply with the aforementioned procedure [701.06 (A.)] by
        approaching the residence and talking to the occupants in an effort to gather facts
        and identify witnesses, suspects, and anyone else who might have information
        about the alleged assault? In the law enforcement profession this information
        gathering strategy is commonly referred to as a "knock and talk". Police officers
        have the same right as any citizen to open an unlocked gate, walk down a pathway

1
 See Officer Casanova's BWC, attached hereto as Exhibit F-6 (T06:06:43- T06:12:19Z).
2
  Officers Casanova and Panah referenced the "knock and talk" investigation in their BWCs, [F-6, Casanova
(T06:19:35Z- T06:20:28Z); and F-7, Panah (T06:08:42Z-T06:09:21Z).

Declaration of Albert A. Ortiz                                                            Page2
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        up to the front door, knock, and attempt to talk to the occupants of the house. A
        "knock and talk" is a consensual encounter between police officers and citizens,
        as opposed to serving an arrest or search warrant that does not require the consent
        of the occupant. There is no announcement requirement for a "knock and talk".
        Service of a warrant, on the other hand, requires an announcement [SAPD
        Procedure 504.09 (B.) (1.) Execution of Search Warrants].

                Prior to going to 217 Roberts Street, Officer Casanova assigned two
        officers to watch the rear of the house in case the suspect was indeed present and
        attempted escape. Officer Casanova and two back-up officers went to the front of
        the residence. Multiple officers can be utilized in a "walk and talk" investigation.
        These are reasonable and proper discretionary decisions by an investigating
        officer. At no time did Officer Casanova tell any of his back-up officers that his
        goal or intentions were to enter the residence, nor did he direct them to do so.

               In my opinion, any prudent officer in the same or similar circumstances as
        Officer Casanova could believe his discretionary duties included to determine
        how best to investigate allegations of an assault. It is also my opinion that any
        prudent officer in the same or similar circumstances could reasonably believe that
        a "knock and talk" strategy was a proper option and could have acted in the same
        or similar manner. [Exhibit F-3, SAPD Procedure 701.06 (A.); and Exhibit F-4,
        Texas Code of Criminal Procedure, Chapter 2, Article 2.13 Duties and
        Powers (of peace officers].

                SAPD officers, including Officer Casanova, receive training on use of
        force in various forms including classroom (academic) instruction, practical
        application (hands-on), practical problems, and on-the-job training. Procedure
        501.05 (C)-Use of Force, contains a matrix which provides officers with
        guidelines to help them decide the amount and level of force appropriate to
        accomplish a legitimate police objective in different situations they may
        encounter. The goal is to use the lowest level of force necessary to overcome the
        resistance or force offered by a person being detained by the officer. The matrix,
        sometimes referred to as a use of force continuum, is taught in the same basic
        manner to police officers throughout the nation.

                It would be impossible for any police department manual to address every
        situation an officer may encounter. Although each situation is different and an
        officer may have to immediately resort to a higher level of force without first
        employing lower levels, generally speaking, the matrix consists of:

                 a) Officer's Presence;
                 b) Verbal Communications/Instructions;
                 c) Open/Empty Handed Control Techniques;
                 d) Physical Force;
                 e) Intermediate Weapons; and
                 f) Deadly Force.


Declaration of Albert A. Ortiz                                                        Page3
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                    As stated in Officer Casanova's written statement, [Exhibit F-5,
           [Casanova's written statement, Bate Stamp Nos. COSA 002126- 002128], and
           my observation of Officer Casanova's BWC video, Officer Casanova's flashlight
           was pointed downward when the door opened. As seen and heard on Casanova's
           BWC video, he received a routine greeting, "What's up", from Snowden and
           Officer Casanova returned the greeting in a similar casual manner by stating,
           "What's up, man?" [Exhibit F-6, Casanova's BWC (T06:22:16Z -
           T06:2218Z)]. Through the open door, the living room light can be seen casting
           the shadows of Casanova and the outer iron door onto the floor of the porch.
           [Exhibit F-7, Panah's BWC (T06:22:15Z-T06:22:20Z). Officer Casanova was
           wearing his full regulation SAPD uniform, with badge, name plate, and SAPD
           patch on his arm and on the front of his beanie. A reasonable assumption by the
           officer is that his presence and uniform paraphernalia is visible to occupants
           inside the residence. Plaintiff Singleton noted in her written statement and in her
           deposition testimony that the officer she saw shooting looked Hispanic, and she
           could see the beanie he was wearing. [Exhibit F-8, Singleton 10/17/18 written
           statement, COSA 002132 - 002133 3;          Exhibit F-9, Singleton's Deposition
           page 41, lines 10-14; page 50, lines 2 - 15]. Singleton testified in her deposition
           that before the shots were fired, she heard the person at the door say, "don't
           move" twice. [Exhibit F-9, pg. 62, lines 1-7] Moreover, Singleton testified in
           her deposition, that she and Snowden could see police vehicles outside the house
           before Officer Casanova knocked on the door. [Exhibit F-9, page 35, lines 2-25;
           page 36, lines 1-16]. Further, given the facts that Snowden admitted he had an
           altercation when he pushed a Mexican man prior to the shooting incident [Exhibit
           10, Snowden's recorded statement (15:34:58 -15:37:54); Exhibit 11, Detective
           Perez's documented recorded statement, COSA 001788-001710 ], and
           according to Ms. Herrera, her husband was assaulted by an assailant that ran into
           217 Roberts Street [Exhibit F-6, Casanova's BWC (T06:06:43- T06:12:19Z)],
           it is likely Snowden and others knew there was police presence on Roberts Street
           just before Officer Casanova knocked on the door.

                   The initial contact with Mr. Snowden and the other occupants of the house
           was non-confrontational. The overhead light inside the living room of the
           residence lit up the position in which Casanova was standing. It would have been
           logical to believe he was visible to the occupants inside. His presence in full
           uniform additionally served to instruct others of his presence as a law
           enforcement officer. Based on the lighting and his uniformed presence, it is my
           opinion any prudent officer in the same or similar circumstances as Officer
           Casanova could believe his identity and authority as a peace officer should be
           readily apparent and could have acted in the same or similar manner. As
           previously discussed in this report, Officer Casanova's decision to employ a
           "knock and talk" strategy was part of his discretionary duties. In my opinion, any
           officer in the same or similar circumstances as Officer Casanova could believe a
           requirement or duty to make a verbal announcement of his presence prior to or
3
    Included as Exhibit No.2 in Singleton's Deposition.

Declaration of Albert A. Ortiz                                                          Page4
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        after knocking on the door did not exist and could have acted in the same or
        similar manner.

                As Officer Casanova's written report indicates, he properly assessed the
        three individuals in the room once the door opened, and as shown in his BWC
        video, and concluded one of the males sitting on the sofa in front of him, later
        determined to be Davante Snowden, matched the complainant's general
        description of the assailant. [Exhibit F-5, COSA (001785-001787@ 001786);
        Exhibit F-6 Casanova's BWC (T06:22:18Z- T06:22:20Z)].

                The room in which Mr. Snowden was sitting was very small and put him
        and Officer Casanova in close proximity to each other. According to Casanova's
        statement and BWC video, when Snowden suddenly stood up in an aggressive
        manner stepping toward Officer Casanova saying: "Who the fuck is this", he
        reached for a gun in his waistband [Exhibit F -5, COSA (001785-001787 @
        001786); Exhibit F-6 Casanova's BWC (T06:22:18Z - T06:22:20Z)].
        Snowden's actions escalated the level of force toward Officer Casanova. Until
        this point, Officer Casanova had not removed his holstered weapon. [Exhibit F -7,
        (T06:21:42Z - T06:22:12Z - T06:22:14Z)] Officer Casanova then properly
        proceeded with the use of force matrix's second level of force, namely, a verbal
        command to Snowden to show his hands. [Exhibit F-6, Casanova's BWC (
        T06:20:20Z- T06:22:22Z)]. Snowden's immediate close-range threat presented
        a clear and present danger of serious bodily injury, including death, to Officer
        Casanova as well as to his fellow officer located behind him. Because of these
        quickly changing, life-threatening developments, Casanova could not progress
        through the intermediate steps in the use of force matrix. He had to make a split-
        second decision. It is my opinion that any officer in the same or similar
        circumstances as Officer Casanova could believe the use of deadly force was
        immediately necessary and could have acted in the same or similar manner. In
        such a situation, only Snowden was the intended target as he solely presented the
        risk of serious bodily injury toward Officer Casanova and his fellow officers.

               The following documents and videos referenced in this affidavit are
        included in the totality of documents I reviewed as listed in Exhibit F -2 to
        formulate my opinions.

               F-1:      Ortiz CV

               F-2:      List of materials, documents and information reviewed

               F -3:     San Antonio Police Department Procedures;
                         701.06 (A.) - Crime Scene Duties;
                         504.09 (B.)(1.)- Execution of Search Warrants;
                         501.05 (C) - Use of Force

               F-4:       Texas Code of Criminal Procedure, Chapter 2, Article 2.13.


Declaration of Albert A. Ortiz                                                         Page5
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               F-5:      Steve Casanova's statement [COSA 002126-002128]

               F-6:      Video recording entitled,
                         SAPD18220885 - 00132324- CASANOVA           STEVE-
                         (bodycam) taken on October 17, 2018

               F-7:       Video recording entitled,
                          "SAPD18220885_00137518_PANAH_JAMES_A-file 1 (bodycam)
                         taken on October 17, 2018

               F-8:      Taylor Singleton's 10117118 Statement [COSA 002132- 002133]

               F-9:      Singleton's deposition testimony excerpts, Page 35, 41, 62 and 50.

               F-10:      Video recording ofDavante Snowden's statement, Parts 1 and 2

               F-11:     Written recorded statement by Detective Ruben Perez
                         [COSA 001788-001710]


             The aforementioned opinions and observation are true and correct to a
        reasonable degree of professional certainty.


        I declare under penalty of perjury that the foregoing is true and correct.


        Executed in Bexar County, Texas, on this the 27th day of May 2021.




Declaration of Albert A. Ortiz                                                         Page 6
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                                  Albert Ortiz Consulting, LLC
                                            3926 River Falls
                                        San Antonio, Texas 78259
                                            C (210) 380-7839
                                      e-mail dcao2000@yahoo.com

EMPLOYMENT:
   2006-Present   Albert Ortiz Consulting, LLC
                  Consulting and Expert Witness Services in Premise Liability and Police Liability/Employment
                  Issues
    2002-2006     Chief of Police, San Antonio Police Department
                  • Responsible for the administration of 250+ million dollar budget and management of
                      2700 employees
    2000-2002     Assistant Chief of Police, Administration Bureau Commander
                  • Supervise two deputy chiefs and two captains
                  • Responsible for a 237 million dollar budget
                  • Direct the Resource Management Division which includes: Accounting and Personnel
                       Unit; Research and Planning Unit; Crime Analysis Unit Management Accountability
                       Program (MAP); Training Academy; and Recruiting Detail
                  • Manage the Professional Standards Section which includes: Internal Affairs Unit;
                       Accreditation Detail; and Staff Inspection Detail
                  • Oversee the Support Services Division which includes: Community Services Section;
                       Communications Unit; Records Unit; Victims Advocacy Section; Psychological Services;
                       Vehicle Storage Unit; and Property and Evidence Room Detail
    1999-2000     Deputy Chief, Chief of Staff
                  • Managed the day-to-day operations of the department
                  • Coordinated all police operations
                  • Supervised all personnel reporting to the Chief of Police
    1994-1999     Deputy Chief, Criminal Investigations Division Commander
                  • Supervised three captains
                  • Directed all Major Crime Investigations including: Homicide; Sex Crimes; Robbery;
                       Forgery; Narcotics; Vice; Traffic Investigations; Night Criminal Investigations Unit;
                       Vehicle Crimes; Repeat Offenders Program; Evidence Unit; and Youth Crimes
                  • Administered a 30.9 million dollar budget
    1994-1994     Captain, Property Crimes Commander
                  • Supervised three Lieutenants
                  • Directed the Burglary Unit; Theft Unit; Forgery Detail; and Auto Theft Unit
    1992-1994     Lieutenant, Intelligence Unit Commander
                  • Supervised one sergeant
                  • Planned and directed Organized Crime Investigations
                  • Directed Criminal investigations of Public Officials and Police Officers
                  • Coordinated dignitary protection plans with various federal agencies for visiting heads of
                       state
    1987-1992     Lieutenant, Homicide Unit Commander
                  • Supervised three sergeants
                  • Directed the investigations of the Homicide Detail; the Sex Crimes Detail; Aggravated
                       Assaults and Assaults Detail
                  • Created and Commanded the Officer Involved Shooting Team which investigated all
                       shootings involving SAPD officers
                  • Prepared and administered a 5 million dollar budget
    1985-1987     Lieutenant, Special Operations (Gang/Directed Patrol)Unit Commander
                  • Supervised two sergeants and a uniformed complement of sixteen officers who engaged
                       in directed and saturation patrol
                  • Created and commanded the unit for the purpose of addressing gang and drug-related
                       activity, as well as unique crime problems that were beyond the capabilities of the regular
                       patrol officers
                  • Planned, coordinated, and directed the operations of the unit
                                                                                                         Exhibit
    1984-1985     Sergeant, Sex Crimes Detail
                  • Supervised 12 detectives

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                                                                                                      F-1
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                     • Identified training needs for the detail
                     • Trained incoming personnel
                     • Coordinated investigation with outside agencies
                     • Handled complaints against officers and recommended disciplinary actions
     1983-1984       Sergeant, Night Vice Unit
                     • Supervised 15 detectives
                     • Planned and executed covert operations
                     • Identified training needs for the detail
                     • Trained incoming personnel
                     • Coordinated investigations with outside agencies
                     • Handled complaints against officers and recommended disciplinary actions
     1983-1983     Sergeant, Patrol Supervisor
                     • Supervised 15 Patrolmen
                     • Handled complaints against officers and recommended disciplinary actions
     1980-1983       Detective, Vice Unit (Undercover Operative)
                     • Investigated prostitution, gambling, pornography, and liquor law violations
                     • Provided direct support for other operational units
     1972-1980       Patrolman
                     • Field Training Officer
                     • Special Weapons and Tactics (SWAT) Team

OTHER EMPLOYMENT:
   2000-2002 Professor, Criminal Justice Department, San Antonio College
   1972-1980 United States Army Reserves (Staff Sergeant)

EDUCATION:
     Texas State University, Master’s in Criminal Justice
     Southwest Texas State University, Bachelor of Applied Arts and Sciences (Major: Criminal Justice)
     San Antonio College, Associates in Public Administration
     South San Antonio High School

AWARDS/HONORS/CERTIFICATES:
     Master Peace Officer Certification
    Crime Prevention Specialist
     B’Nai B’Rith- “Officer of the Year” Award
     Alamo Area Rape Crisis Center- “Distinguished Community Service” Award
     Texas Department of Human Services-“Contributions to Child Abuse Issues” Award
     Alamo Area Rape Crisis Center- “Outstanding Voluntary Service” Award
     Texas Department of Regulatory and Protective Services-Served on the original Child Death Review Panel
     for Bexar County
     Created & Commanded the Officer Involved Shooting Team
     Created & Commanded the Special Operations (Gang/Directed Patrol) Unit
     Served on the Board of Directors and Instrumental in the Planning and Development of the Alamo
     Children’s Advocacy Center
     Pinnacle of Achievement Award – Bexar Family Support Conference (Mental Health Issues)
     Crisis Intervention Program Award – Center for Health Care Services
     Leadership Award – San Antonio Hispanic Police Officers Organization
     Equality in Law Enforcement Award – League of United Latin American Cities (LULAC)

MEMBERSHIPS:
     FBI NA- Federal Bureau of Investigation National Academy Associates
     HAPCOA- Hispanic American Police Command Officers Association
     The One Hundred Club of San Antonio

SKILLS:
      Read, Write, and Speak Spanish Fluently
      Computer Literate in Microsoft Applications and Web Navigation
      Recognized as an Expert at the State and Federal Court Level in the Field of Criminal Investigations and
      Police Procedures; Recognized as a Security Expert in State Court

PERSONAL: Married to Elizabeth Ortiz; One son, Daniel; Step-daughters Stacy and Lesley

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    My opinions on this case are based on my education, knowledge, training, and
experience, as well as a review of the following:

   1)  Plaintiffs' First Amended Original Complaint;
   2)  Plaintiff's Third Amended Complaint;
   3)  Body Worn Camera (BWC) of Steve Casanova & J. Panah;
   4)  Crime Scene Photographs;
   5)  SAPD General Manual (COSA00000l-000723);
   6)  Officer S. Casanova's Academy File (COSA000724-001348);
   7)  Casanova's Personnel Files (COSA001349-COSA001746);
       a) Field File (COSA001349-COSA001374),
       b) Internal Affairs 201 File (COSA001375-COSA001451),
       c) Use of Force Reports (COSA001452-COSA001488),
       d) Division File (COSA 001489-COSA001505),
       e) Applicant Processing File (COSA001506-COSA1738), and,
       f) Work Permits COSA00l 739-COSA00l 746);
   8) Internal Affairs File (Right Side) (COSA001747-COSA002188);
   9) Internal Affairs File (Left Side) (COSA002189-COSA002192);
   10) Radio Transmissions# 1 COSA002193);
   11) Radio Transmissions# 2 (COSA002194);
   12) 9 1 1 Calls (COSA002195-COSA2198);
   13) Crime Scene Video by Crime Scene Investigator (CSD C. Crain (COSA002199);
   14)Body Worn Cameras of Officers S. Casanova, J. Panah & A. Garza
       (COSA003000-COSA00302);
   15) Crime Scene Photos by CSI A. Salvatierra (COSA003003-COSA003435);
   16) Photos by CSI M. Machado (COSA003436-COSA003451);
   17) BWC of J. Carmona (COSA003452);
   18)BWC of J. Lopez (COSA003453);
   19) BWC of J. Quintanilla (COSA003454);
   20) BWC of E. Holguin (COSA003455);
   21) BWC of Converse Police Officers (COSA003456-COSA3459);
   22) Revised Radio Transmissions (COSA003460);
   23) BWC ofM. Schanlaub (COSA003461);
   24) BWC of E. Holland (COSA003462):
   25) BWC of A. Dominguez (COSA003463);
   26) M. Winn Interview at Bexar County Detention Center (COSA003464);
   27) Photographs ofD. Snowden by CSI Sweeney (COSA3465-COSA003496);
   28) Photographs by CSI C. Boone (COSA003497-COSA003571);
   29)Interview ofD. Snowden (COSA003572);
   30) Criminal Charge and Disposition Report (COSA003573-COSA003979);
   31)9 1 I Calls (COSA003980-COSA003983);
   32) Radio Transmissions Revised (COSA003984);
   33) Radio Transmission# 1 (Unrevised) (COSA003985);
   34) Radio Transmission# 2 (COSA003986);
                                                                          Exhibit
                                                                            F-2
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   35) Interview ofD. Snowden (COSA003987);
   36) BWC of Officer E. Holguin (COSA003988);
   37) BWC of Officer J. Lopez (COSA3989);
   38) BWC ofBWC of J. Quintanilla (COSA3990);
   39)BWC of Sgt. M. Schanlaub (COSA003991);
   40) BWC of J. Carmona (COSA003992);
   41) BWC ofE. Holland (COSA 003993);
   42) BWC of A. Dominguez (COSA003994);
   43) Interview of M. Winn at Bexar County Detention Center (COSA003995);
   44) Photographs of D. Snowden (COSA003996-COSA004027);
   45) Photographs of Officers at 315 South Santa Rosa Street (COSA004028-
        COSA004 l 02);
   46) Photographs of Found Bullet at 215 Roberts Street (COSA004103-COSA4 l 48);
   4 7) BWC of Converse Police Officers (COSA004119-COSA004122);
   48) Crime Scene Video dated October 22, 2018 (COSA004123);
   49) Crime Scene Photographs (COSA 004124-COSA004456);
   50) Standard Operating Procedures:
        a) Homicide Unit 2018 (COSA004457-COSA004604),
        b) Internal Affairs (COSA 004605-004685)), and,
        c) Integrity Detail (COSA004686-COSA004702);
   5l)BWC of Officers S. Casanova, J. Panah and A. Garza (COSA004703-
        COSA004 705);
   52) D. Snowden's Criminal Trial Transcript;
   53) Bexar County Medical Examiner's Autopsy and Ballistics Report;
   54) Crime Scene Search Report (CSSR) by J. Rodriguez;
   55) CSSR by N. Berrios;
   56) CSSR by P. Sweeney;
   57) CSSR by A. Salvatierra;
   58) CSSR by M. Machado;
   59) CSSR by S. Boone;
   60) CSSR by T. Lozano;
   61) CSSR by C. L. Crain;
   62) Deposition Transcripts of: W. McManus, S. Casanova, R. Perez, A. Garza, R.
        Hines, K. Landrum and R. Luza; and,
   63) Expert Report of J. Peters;

    The aforementioned are the types of documents, recordings, data and facts upon
which experts in law enforcement practices and procedures rely to form opinions on the
subject matter of this lawsuit.

     The incident made the basis of this lawsuit occurred on October 17, 2018, at about
1:00 o'clock in the morning, at 217 Roberts Street, in San Antonio, Texas. SAPD
officers investigating a report of an assault with bodily injury were directed to this
residence by the victim's wife, who was also a witness to the assault. She reported to the




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                   Office with Primary                                                           Effective Date:   March 11, 2017
                                                  CTA
                       Responsibility:                                                     Prior Revision Date:    January 31, 2017
            Office(s) with Secondary
                                                  PSC, PNC, TSC, SSD, MCC                    Number of Pages:      11
                    Responsibilities:
                                                   SAPD Form #62-UOF
   Forms Referenced in Procedure:                                                          Related Procedures:     303, 309, 408, 512, 601, 605, 908
                                                   SAPD Form #62


.01 INTRODUCTION

     This procedure provides officers with guidelines on the use of non-deadly and deadly force. This procedure also
     explains the process officers shall follow for reporting use of force incidents.

.02 POLICY

     A. The San Antonio Police Department requires its officers to exhibit a sense of prudent judgment derived from
        departmental training, acquired knowledge, skills, and ability in the exercise or application of any level of force.

     B. Officers shall use only the level of force necessary to accomplish a lawful police objective. Any time force is used,
        the officer shall apply a level of force reasonable for the situation.

     C. The San Antonio Police Department requires all officers to document use of force incidents on SAPD Form #62-
        UOF, Use of Force Report, in accordance with this procedure. The Department also requires supervisors to respond
        to the scene of use of force incidents and to review all Use of Force Reports, to ensure the application of force
        conforms to established guidelines and departmental policy and procedures.

.03 DISCUSSION

     A. The sanctity of human life and individual liberties are immeasurable elements of modern society which vests police
        officers with the responsibility for the preservation and protection of its paramount values. In the pursuit of this
        responsibility, officers maintain the understanding that protection of property and apprehension of criminal
        offenders is subservient to the protection of life, including their own.

     B. In the course of discharging their duty, police officers are often confronted with situations requiring some degree of
        force to be exercised in order to effectively maintain public order and safety. This may be achieved on an ascending
        scale of the officer’s presence, verbal communications, open/empty hands control, physical force, intermediate
        weapon and deadly force, according to and proportional with the circumstances of the situation. The application of
        force must be conducted in a manner reasonable and commensurate to achieving a level of control that cannot
        otherwise be obtained through the use of other alternatives.

     C. Although the use of a reasonable amount of force is authorized in appropriate circumstances, such as those involving
        the protection of the officer or others from bodily harm, officers must be aware unnecessary or excessive force
        violates Federal Statues, the Texas Penal Code and departmental policy.

.04 TERMINOLOGY (For specific use within this procedure, see Glossary)

     Active Resistance                                        Anti Felon Identification (AFID)         Approved Weapon
     Brandishing/Displaying Firearm                           Deadly Force                             Drive Stun Mode
     Electronic Control Devices (ECD)                         Force                                    Injury
     Intermediate Weapon                                      Lateral Vascular Neck Restraint          Non-deadly Force
     Officer’s Presence                                       Oleoresin Capsicum (OC)                  Open/Empty Hands Control
     Passive Resistance                                       Physical Force                           Probe Mode
     Reasonable Force                                         Takedowns                                Verbal Communications                      Exhibit
                                                                                                                                                      F-3
     Weapon                                                   Use of Force Review Board (New)


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Lateral Vascular Neck Restraint (LVNR) - The lateral vascular neck restraint (LVNR), commonly known as a sleeper
hold, or carotid chokehold, is a general term for a grappling hold that critically reduces or prevents either air (choking) or
blood (strangling) from passing through the neck of an opponent. The restriction may be of one or both and depends on the
hold used and the reaction of the victim.

.05 APPLICATION OF FORCE

     A. With the exception of an officer’s presence or verbal communications, the use of any type of force is not justified in
        response to verbal provocation alone.

     B. Police officers finding it necessary to use force to achieve a lawful police objective shall use a reasonable amount of
        force to affect the objective. However, nothing in this procedure is interpreted to mean an officer must prolong any
        combat or struggle in order to satisfy any element of escalation rather than resort to a reasonable method that
        resolves the situation in the safest and most expedient fashion.

     C. The use of force by an officer can be viewed as a matrix of force options used in response to a subject’s actions and
        behavior. The force matrix illustrates the relationship between a subject’s actions and the officer’s response. As
        force options move from lesser to greater levels, the risk of injury to the suspects and/or officers increase. The
        matrix is designed to assist officers in understanding how force can escalate.


                                                OFFICER’S PERCEPTION OF SUSPECT’S ACTIONS
                                                                                                                                    Imminent Serious
           OFFICER’S                               Compliant                                                 Imminent Assault
                                                                 Passive Resistant        Active Resistant                               Bodily
           RESPONSE                              (Cooperative)                                                (Bodily Injury)
                                                                                                                                      Injury/Death

      Officer’s Presence
                                                                                                                                        
 Verbal Communications
                                                                                                                                        
     Open/Empty Hands
          Control                                                                                                                        
         Physical Force
                                                                                                                                          
    Intermediate Weapon
                                                                                                                                          
          Deadly Force
                                                                                                                                            
     D. An officer should consider the following factors when assessing the need to use force:

            1.     Is the suspect submitting peacefully or resisting?

            2.     Is the suspect armed?

            3.     What is the nature of the crime?

            4.     Does the suspect have a previous arrest record or history showing violence?

            5.     Number of suspects involved?

            6.     How much support from other officers is available?


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    E. A weapon is not displayed or brandished as a threat unless its potential use in the situation would be reasonable, or if
       the circumstances clearly call for the use of a weapon to control a dangerous situation, or in accordance with
       Chapter 9 of the Texas Penal Code.

      F.      De-escalation of force:

             1.     When employing necessary force, which is greater than an officer’s presence, and this level of force is being
                    employed to achieve a lawful police objective, officers shall de-escalate their use of force options when a
                    subject’s actions indicate that the initial use of force has achieved an acceptable level of compliance by a
                    subject.

                    a.     If circumstances allow, Officers should attempt to de-escalate tense situations through “advisements,
                           warnings, verbal persuasion, and other tactics” to reduce the need for force.

             2.     The de-escalation of force principle requires an officer to decrease the scope, or intensity of physical force
                    being employed against a subject only when the resisting or non-compliant subject clearly demonstrates that
                    he or she has decreased the level of resistance against an officer who is attempting to achieve a lawful police
                    objective.

             3.     The de-escalation of force can be viewed as a direct relationship between a subject’s resistance level to an
                    officer’s use of force level. As a subject decreases his or her level of resistance, the responding officer also
                    decreases the level of force required to gain compliance.

       G.        Any officer present and observing another officer using force that is clearly beyond that which is reasonable under
                 the circumstances shall, when in a position to do so, safely intercede to prevent the use of such excessive force.
                 Officers shall immediately report these observations to a supervisor.

.06 USE OF NON-DEADLY FORCE

    A. When attempting to affect an arrest, officers should use verbal communications prior to the use of non-deadly force,
       if possible.

    B. If verbal communication has been exhausted or proven ineffective, officers are authorized to use open/empty hands
       control.

    C. If an open/empty hands control has been exhausted or proven ineffective, officers are authorized to use physical
       force.

    D. If physical force has proven ineffective or is not a reasonable option based upon the circumstances, officers are
       authorized to use an intermediate weapon to affect an arrest. Officers using intermediate weapons must be
       authorized to carry such weapons in accordance with GM Procedure 309, Weapons.

    E. Officers may resort to the use of an approved intermediate weapon when:

            1.     Lesser methods have failed;

            2.     In self-defense or defense of a third person;

            3.     Subduing or controlling a violent subject;

            4.     Subduing an actively resisting actor; or

            5.     Physical force has proven ineffective or is not a reasonable option based upon the circumstances.


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    F.     Oleoresin Capsicum (OC) Spray/Gel and/or Electronic Control Device (ECD)

           1.     Only officers who have successfully completed a training course and are certified in the use of OC spray/gel
                  and/or an ECD are authorized to carry and use OC spray/gel and/or ECD as an intermediate weapon.
                  Additionally, only officers who have also successfully completed a 40 hour Crisis Intervention Training course
                  are authorized to carry an ECD.

           2.     Officers shall only carry and use department-issued OC spray/gel and/or ECDs.

           3.     Officers shall carry the OC spray/gel and /or ECD in an authorized carrier.

           4.     OC spray/gel and/or ECD shall not be brandished, displayed, or pointed at a subject in an intimidating manner
                  unless an officer is attempting to prevent further escalation of force.

           5.     Officers using OC Spray/Gel and/or ECD:

                  a.     Oleoresin Capsicum Spray/Gel

                         (1) As with any other type of force, officers will end application of OC Spray/Gel when the subject
                             discontinues resistance or aggression. OC Spray Spray/Gel is irritating to the eyes, nose, and skin.
                             Any time OC Spray/Gel is used to control or subdue an actively resisting or violent subject, the officer
                             will ensure the subject is decontaminated as soon as possible, to reduce the discomfort caused by the
                             OC Spray/Gel. Decontamination consists of the application of water to the subject’s eyes and face.

                         (2) Decontaminate prisoners exposed to OC Spray/Gel before being transported to the Detention Center.
                             Prisoners exposed to OC spray/gel, will be observed by an officer for 45 minutes to ensure the prisoner
                             does not require medical attention. If, in the officer’s opinion, the prisoner appears to be in severe
                             pain, discomfort, or exhibits unusual symptoms such as unconsciousness, profuse sweating, chest pain
                             or slow, shallow breathing, the officer shall immediately request EMS to the scene.

                         (3) The decontamination process and amount of time the prisoner was observed will be documented in the
                             officer’s report and on the SAPD Form #62-UOF, Use of Force Report.

                  b.     Electronic Control Devices (ECD) will be used in accordance with GM Procedure 512, Electronic Control
                         Devices.

.07 USE OF DEADLY FORCE

    A. This section applies to all forms of deadly force, regardless of the type of instrument or weapon used.

    B. The use of deadly force is authorized only to protect an officer or another person from what is reasonably believed
       to be an immediate threat of death or serious bodily injury.

           1.     An officer with an honest and sincere personal belief his life or the life of another person is in imminent danger
                  is justified in using deadly force to preserve that life.

           2.     Justification for the use of deadly force is determined by the facts known or perceived by the officer at the time
                  the deadly force is employed.

    C. The use of deadly force against one who is fleeing from custody, or who is fleeing immediately after committing an
       offense, is prohibited unless the officer has probable cause to believe the suspect poses an imminent threat of death
       or serious bodily injury to the officer or a third party.

    D. A lateral vascular neck restraint (LVNR) shall not be used unless deadly force is authorized.

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      E. Approved firearms are intended to be used as defensive instruments to prevent an assailant from completing a
         potentially deadly act. A firearm is discharged with the intent to stop a course of conduct.

      F.    Firearms are not discharged under the following circumstances:

            1.     As a warning shot;

            2.     When it appears likely a non-participant may be injured; or

            3.     At or from a moving vehicle, except as the ultimate measure of self-defense or defense of another. Officers
                   should employ all reasonable means available to move to an area of safety if the vehicle becomes a threat,
                   including retreating from the threat, if practical.

.08    SHOULDER WEAPON DEPLOYMENT

       A.     If physical force and the use of intermediate weapons have proven ineffective or are not reasonable options based
              upon the circumstances, officers authorized to deploy and use a department-approved shoulder weapon may do so
              to neutralize a threat that poses an imminent danger of serious bodily injury or death to any person.

       B. Officers shall only utilize a shoulder weapon consistent with the training received and in accordance with all GM
          Procedures and Standard Operating Procedures (SOPs).

       C. A shoulder weapon is intended to augment primary and approved handguns under circumstances where a hand
          held weapon is not sufficient to neutralize a perceived threat that may result in serious bodily injury or death.

               1. A shoulder weapon may be used or deployed at a scene where it is requested by an officer or supervisor who is
                  in a position to articulate the need for such support; and

               2. Supervisors will ensure compliance with section .12 of this procedure.

      D.      The decision to deploy or use a shoulder weapon will be dependent upon the actions of the subject, the threat
              facing the officer, and the totality of circumstances surrounding an incident.

       E.     As with any other type of force, officers will end the use of a shoulder weapon when the subject discontinues
              resistance, aggression, or when the threat has been sufficiently neutralized and a shoulder weapon is no longer
              necessary to affect a police response.

       F.     Shoulder weapons should not be brandished, displayed, or pointed at a subject in an intimidating manner unless an
              officer is attempting to prevent further escalation of force or finds it necessary to discharge the weapon to
              neutralize a threat of serious bodily injury or death to any person.

      G.      More than one officer may deploy a shoulder weapon at a scene as dictated by the circumstances, keeping in mind
              the location of other officers, other persons, and other variables involved in the situation.

      H.      As soon as practical, an officer will immediately notify the Communications Unit of a shoulder weapon discharge
              and advise on whether there are any hits or injuries.

        I. Improper handling or inappropriate uses of a shoulder weapon may result in disciplinary action.

.09 MEDICAL TREATMENT

      A. Prisoners, who are injured as a result of an officer’s use of force, either physical, non-deadly, or deadly force, are
         provided immediate medical treatment in accordance with GM Procedure 601, Prisoners.


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    B. Officers having prisoners who have been exposed to oleoresin capsicum (OC) Spray/Gel and/or ECD utilization,
       shall comply with Subsection .06 F of this procedure.

.10 USE OF FORCE REPORT RESPONSIBILITIES

    A. Officers shall complete SAPD Form #62-UOF, Use of Force Report, under the following circumstances:

           1.     Any force used by an officer greater than an open/empty hands control technique, as listed in Subsection .05C
                  of this procedure;

           2.     Any force used by an officer that causes injury to an individual, which requires medical treatment;

           3.     Any force used by an officer that causes death to an individual;

           4.     Discharging a firearm at an individual to accomplish a lawful police objective;

           5.     The use of an intermediate weapon by an officer; and

           6.     When a police canine bites an individual.

    B. When a prisoner offers resistance during an arrest and the officer does not use more than an open/empty hands
       control, the officer will check the appropriate box on the booking slip. The information gathered on the suspect’s
       resistance will be used for statistical purposes.

    C. The discharging of a firearm in order to destroy an animal, in accordance with GM Procedure 605, Subsection .02F,
       does not require the completion of SAPD Form #62-UOF.

.11 OFFICER RESPONSIBILITIES

    A. Although an officer’s presence, verbal communication, open/empty hands control techniques, or the brandishing or
       displaying of a weapon does not require the completion of SAPD Form #62-UOF, Use of Force Report, the details
       must be documented in the officer’s report.

    B. Each officer using force during an incident which requires them to complete SAPD Form #62-UOF, Use of Force
       Report, in accordance with Section .09 of this procedure shall:

           1.     Notify the supervisor of the type of force used and whether the prisoner received any type of injury as a result
                  of the use of force.

           2.     Request the supervisor to respond to the scene.

                  a.     An officer may relocate the prisoner prior to the arrival of a supervisor due to a threat of violence or
                         exigent circumstances.

                  b.     If an officer does relocate from the scene, he shall notify the dispatcher and the responding supervisor.

           3.     Complete SAPD Form #62-UOF, Use of Force Report, documenting the specific type of force the officer used.

           4.     Complete a detailed, accurate offense/incident report describing the force used and the circumstances and facts
                  surrounding the use of force.

           5.     Complete SAPD Form #62, Injured Prisoners Report, for those injured prisoners who receive medical treatment
                  at a hospital.


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           6.     Attach a copy of the offense/incident report to the completed SAPD Form #62-UOF, Use of Force Report as
                  well as SAPD Form #62, Injured Prisoners Report and give it to the supervisory officer who was notified of the
                  use of force incident.

    C. SAPD Form #62-UOF, Use of Force Report shall be completed before the officer ends their tour of duty, or as
       otherwise outlined in this procedure.

.12 SUPERVISORS’ RESPONSIBILITIES

    A. Supervisory officers who are assigned to handle a use of force incident, which requires SAPD Form #62-UOF, Use
       of Force Report in accordance with Section .09 of this procedure shall:

           1.     Respond to the scene;

           2.     Contact the officer(s) involved in the use of force; and

           3.     Request a UEDI to photograph the person who had the force used against them. If a UEDI is unavailable a
                  Crime Scene Unit Investigator shall be requested. In their absence, the responding supervisor will take the
                  photos.

                  a.     The photographs shall include photos of any documented, visible or alleged injuries.

                  b.     The photographs shall take place as soon as practical after the incident.

                  c.     The photographs will be handled in accordance with GM Procedure 408, Digital Photography.

    B. If a supervisor from the section is not available to respond to the scene of a use of force incident the dispatcher will
       send any available supervisor.

    C. The supervisor shall evaluate the circumstances surrounding the use of force incident and:

           1.     Interview the prisoner, when available;

           2.     Determine and ensure the use of force incident meets the criteria, which requires completion of the Use of
                  Force Report;

           3.     Determine if departmental policies and procedures were followed;

           4.     Ensure proper medical treatment has been offered to the prisoner and, if oleoresin capsicum (OC) spray/gel was
                  used, the decontamination process is conducted;

           5.     When an ECD has been utilized and the subject received an electrical charge, the supervisor relieves the officer
                  of his ECD. The sergeant downloads the ECD’s internal information onto the ECD computer tracking system.
                  Afterward, the supervisor returns the ECD to the officer as soon as possible. The sergeant also issues the
                  officer replacement cartridges when applicable;

           6.     Ensure all officers who used force, in accordance with Subsection .09A of this procedure during the incident,
                  complete SAPD Form #62-UOF, Use of Force Report.

           7.     Ensure the officer documents the incident on SAPD Form #62-UOF, Use of Force Report, completely and
                  accurately, before being submitted for review and entry into Blue Team, in accordance with Section .12 (I).

           8.     Write a report detailing the incident and findings, which is to be included in the reports which are scanned and
                  attached in the Blue Team entry.


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    D. Procedural violations identified by the supervisor will be handled in accordance with GM Procedure 303,
       Disciplinary Procedures. Supervisors shall route line complaint disposition reports or formal preliminary complaint
       investigation reports utilizing Blue Team through the chain of command.

    E. If the officer(s) is unable to complete the SAPD Form #62-UOF, Use of Force Report, the supervisor shall prepare
       the report based on available information.

    F.     The supervisory officer receiving SAPD Form #62-UOF, Use of Force Report, shall complete the appropriate
           section of the report and route the original report to the unit/shift director for completion.

    G.      Supervisors responding to incidents where officers are working out of their regular assignment will perform the
           initial review/approval of the officer’s SAPD Form 62-UOF, Use of Force Report. The supervisor will then forward
           the original SAPD Form 62-UOF, Use of Force Report to the officer’s chain of command. The officer’s chain of
           command will be responsible for completing the Director’s section of the report and entry into Blue Team.

    H. Supervisors not responding to a use of force incident, as outlined in Subsection .11A of this procedure, shall
       document in a report the reason they did not respond. This report will be scanned and attached to the use of force
       Blue Team entry.

    I.            The unit/shift director receiving SAPD Form #62-UOF, Use of Force Report, shall review all reports pertaining
                  to the incident to ensure completeness and accuracy, that all department policies and procedures were followed
                  based on information available and shall;

                  1.     Enter all related information on the use of force incident into the online Use of Force Database (known as
                         Blue Team) in a timely manner and electronically add copies of all pertinent documentation, to include, but
                         not limited to, copies of all Offense reports/Supplement reports, Use of Force Reports, and Taser
                         downloads. Each report shall be scanned and attached to the Blue Team entry as individual reports and not
                         as one continuous report, regardless of the type.

                  2.     Complete and sign the appropriate section of the report and place the original SAPD Form #62-UOF, Use
                         of Force Report in the officer’s Field File.

                  3.     Utilizing Blue Team, the supervisor shall then route the incident through the chain of command. Reference
                         Section .15 (A) Flow Charts.

    J.     The station/section commander receiving an electronic Use of Force Report entry in Blue Team, shall review it and
           all reports pertaining to the incident to ensure all department policies and procedures were followed based on
           information available. The station/section commander shall then complete the appropriate section and electronically
           forward the Blue Team entry to Internal Affairs. (Taser Use of Force incidents are forwarded to the appropriate
           Division Commander as per GM Procedure 512, Electronic Control Devices).

    K. As a result of a use of force incident in which multiple officers from different patrol shifts/units are required to fill
       out SAPD Form #62-UOF, Use of Force Report, and only one supervisor is required to enter the incident into Blue
       Team. Reference Section .15 (B) Flow Charts.

                  1.     The involved officer(s) shall, immediately following the incident, fill out SAPD Form #62-UOF, Use of
                         Force Report, and leave the original with the assigned supervisor who made the scene.

                  2.     The assigned supervisor who made the scene, and his Unit Director, will fill out the appropriate sections of
                         the SAPD Form #62-UOF, Use of Force Reports of all officers involved in the use of force incident,
                         regardless of unit assignment, prior to being scanned and attached in Blue Team. It is the responsibility of
                         the assigned supervisor to ensure all signed original SAPD Form 62-UOF, Use of Force Reports, are
                         delivered to the supervisor of the officer who has report responsibility.


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                  3.     The use of force entry into Blue Team shall be generated by the supervisor of the officer who is assigned
                         report responsibility for the incident. The SAPD Form #62-UOF, Use of Force Report(s) from the other
                         officer(s) shall be scanned, attached and included in the entry. The supervisor will then route the incident in
                         Blue Team through his chain of command and carbon copy the station/section commander(s) of the
                         officer’s from the different units/shifts.

                  4.     After the entry into Blue Team is completed, all original use of force report(s) will be routed to the
                         respective officer’s unit of assignment for placement into the officer’s Field File, in accordance with this
                         section.

    L. The Use of Force Review Board will include a Deputy Chief as a chairperson and two members from the rank of
       Captain. The members will be empanelled for six months (January - June and July – December), following the same
       schedule as the Complaint and Administrative Review Board.

.13 USE OF FORCE ANALYSIS

    A. The Use of Force Reports will be analyzed annually by the Internal Affairs Unit and the data will be used to prepare
       the Formal Cases and Line Complaints Report for the Chief of Police.

    B. The Chief’s Use of Force Review Board will meet monthly and review the monthly reports generated by Blue Team.
       The board will provide oversight for policy and procedural deficiencies, as well as for training and tactical
       anomalies. The board chairperson will update the Chief of Police on a monthly basis.

.14 POST EVENT PROCEDURES

    A. The Internal Affairs Unit will review the Blue Team Use of Force entry to ensure:

           1.     The type of force documented meets the criteria required for the completion of SAPD Form #62-UOF, Use of
                  Force Report;

           2.     Whether departmental policies and procedures were followed; and

           3.     The SAPD Form #62-UOF, Use of Force Report, was properly entered into the Use of Force database (Blue
                  Team).

    A. All corrections and/or clarifications will be handled through the Blue Team Program.

    B. The supervisory officer receiving a notification/request for clarification of details or corrections shall ensure the
       corrections/clarifications are completed within five calendar days and resubmitted via Blue Team to the Internal
       Affairs Unit.

    C. Officers involved in the use of deadly force shall be placed on administrative duty or administrative leave in
       accordance with GM Procedure 908, Mandatory Reassignment.




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.15 FLOW CHARTS

    A.




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    B.




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                   Office with Primary                                                               Effective Date:   November 01, 2012
                                                  CTA                                                                  July 31, 2010
                       Responsibility:                                                         Prior Revision Date:
            Office(s) with Secondary
                                                  PSC, PNC, TSC, FTC, IDC, SSO                   Number of Pages:      7
                    Responsibilities:
                                                  SAPD Form #OP-2003
  Forms Referenced in Procedure:                  SAPD Form #8-PWC                             Related Procedures:     601, 606
                                                  SAPD Form #8-WIC

.01 INTRODUCTION

     A. The purpose of this procedure is to establish departmental guidelines under which officers of the San Antonio Police
        Department follow in the delivery and execution of search warrants.

     B. The duties to search, definitions, requisites, issuance, scope, authority, and execution of search warrants are outlined
        in Chapter 18 of the Texas Code of Criminal Procedure.

     C. An officer to whom a valid search warrant has been issued executes that warrant in the manner provided by law, by
        guidelines established in this procedure, and by adhering to each respective unit’s standard operating procedures
        (SOP).

.02 GENERAL PROCEDURES

     A. Any search warrant that appears to be in proper form is presumed to be valid. Any warrant which does not appear to
        be in proper form is not executed and is returned to the magistrate who issued it. This includes any warrant
        containing significant errors in identifying the place to be searched or the property to be seized.

     B. A warrant is never altered in any manner.

     C. An officer never represents to any person that a search warrant has been issued in a particular case, knowing such is
        not true, in order to obtain consent to search.

     D. During normal duty hours, the Officer-in-Charge or Warrant Execution Supervisor assigned to units that do not
        routinely execute search warrants (i.e., Patrol and Traffic) must notify the Investigations Division Unit which has
        investigative responsibility for the offense listed in the search warrant, so any active investigations are not
        compromised.

     E. When executing search warrants after normal business hours, the Officer-in-Charge or Warrant Execution
        Supervisor assigned to units that do not routinely execute search warrants (i.e., Patrol and Traffic) must contact a
        Supervisor from the Tactical Response Unit, Repeat Offenders Program, Narcotics Unit, or Night Detectives for
        guidance and assistance.

     F.     The Officer-in-Charge or Warrant Execution Supervisor must notify the Deconfliction Unit (207-2495) prior to
            execution of the search warrant. If a location of interest is listed with the Deconfliction Unit, the Officer-in-Charge
            or Warrant Execution Supervisor shall contact the officer who placed the location into deconfliction for resolution.
            Any conflicts not resolved shall be elevated to the Supervisor in charge of the unit who placed the location into
            deconfliction and the Warrant Execution Supervisor for resolution.

     G. When planning to execute a high risk search warrant, or where there is a probability forced entry will be needed to
        gain entry, each member involved in the execution of a search warrant wears body armor.

     H. Prior to the execution of any search warrant:

            1.     Officers will check the Arrest Warrant Database on SAMWEB, http://samweb/warrantForm.asp prior to
                   execution of the warrant for updated notes on the suspect.


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            2.     Officers will utilize SAPD Form #8-PWC, Police Arrest/Search Warrant Checklist, for Felony Search Warrants
                   or any crimes of violence.

            3.     The Arrest/Warrant Checklist will determine whether the warrant should be executed by the officer or if a
                   specialized unit or units should be called.

     I.     After executing any warrants:

            1.     Officers will UPDATE the Arrest Warrant Database on SAMWEB http://samweb/warrantForm.asp adding any
                   pertinent information available.

.03 DECONFLICTION

     A. The South Texas HIDTA Investigative Support Center (managed by SAPD) has been designated as the hub for de-
        confliction services by the South Texas HIDTA Executive Board. As such, it is the single point of contact for the
        entire South Texas Region.

     B. Plainclothes officers will deconflict through HIDTA on Arrest and Search Warrants.

            1.     Prior to executing a planned felony arrest or search warrant, the Officer-In-Charge will contact the South Texas
                   HIDTA Investigative Support Center at 207-2495 and provide all necessary information for the de-confliction
                   process to take place.

                   a.     Information to be provided will include:

                          (1) a physical address,

                          (2) block number or intersection.

                   b.     Information on the suspect named in the arrest warrant will include:

                          (1) first and last name,

                          (2) DOB,

                          (3) race/sex,

                          (4) and when available, secondary identifiers such as a social security number, driver’s license number,
                              FBI number, etc.

            2.     This information shall be provided as soon as available, practical, and possible, with as much forewarning as
                   possible.

            3.     A minimum two (2) hour advanced notice to the Deconfliction Center is required for optimum conflict
                   resolution.

.04 TERMINOLOGY (For specific use within this procedure, see Glossary)

            Curtilage                                 Entry Team                  Evidence Officer (fix to GM in glossary)
            Exigent Circumstances                     Officer-In-Charge           Search Team
            Security Team                             Verification Officer        Warrant Execution Supervisor

.05 TIME OF SEARCH


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     A. A search warrant is executed in accordance with Code of Criminal Procedure Article 18.07. This article defines the
        time allowed for the execution of a search warrant , exclusive of the day of its issuance and the day of its execution,
        is:

            1.     Fifteen (15) whole days if the warrant is issued solely to search for and seize specimens from a specific person
                   for DNA analysis and comparison, including blood and saliva samples; or

            2.     Three (3) whole days if the warrant is issued for a purpose other than described by Subdivision (1).

     B. Within the above period allowed for execution, the time of the actual execution is determined based on the following
        considerations:

            1.     The execution should occur when the property to be seized is believed to be present;

            2.     The execution should occur when the least resistance is expected, or when resistance can best be controlled;

            3.     Other such considerations of safety, success, and convenience as may be applicable; and

            4.     There are no time limits on the continuous search of a location once actual entry has been made.

.06 SCOPE OF SEARCH

     A. A search warrant is executed at, and the search made of, only the place or places described in the warrant.

            1.     The search may extend to all buildings or structures within the curtilage of the described place where the items
                   sought may be kept.

            2.     A warrant describing the place to be searched as a limited portion of larger premises may not be extended to
                   other, unnamed portions.

            3.     Vehicles located upon multi-unit dwelling premises (i.e., apartment complexes) are not searched unless
                   specifically named in the warrant.

     B. The search is limited to discovering those items named in the warrant, and examining those places or things, which
        could contain or conceal the items described in the warrant.

     C. Items discovered during a lawful search, but not named in the search warrant may be seized if:

            1.     They were found in a place reasonably within the scope of the search; and

            2.     There is probable cause to believe they are stolen, or are evidence or instruments of a crime.

     D. Persons named in the search warrant are searched and any person(s) the officer(s) develop reasonable suspicion to
        believe is armed are frisked. The officer(s) may search persons found on the premises to prevent the disposal or
        concealment of any instruments, articles, or things particularly described in the warrant, if there is probable cause
        the person(s) may have such items upon his person. In determining whether probable cause exists officer(s)
        consider:

            1.     The nature and physical characteristics of the item sought;

            2.     The ease with which the item may be disposed of, if so concealed;

            3.     The fact, if true, the item has not been located upon the premises; and


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            4.     The relationship of the person to the premises, including ownership, residence, frequenter, and to those in
                   control of the premises.

.07 RESPONSIBILITIES

     A. Warrant Execution Supervisors:

            1.     Assigns a “Verification Officer” when applicable in accordance with this procedure;

            2.     Reviews and approves all search warrants, SAPD Form #OP-2003, Operational Plan, SAPD Form #8-PWC,
                   and SAPD Form #8-WIC, Warrant Intel Checklist, prior to execution of the search warrant;

            3.     Ensures location has been properly identified, adequate manpower and equipment are available, and all
                   provisions of this procedure are being followed for the proper and safe execution of the warrant;

            4.     Ensures adequate steps are taken to provide for the safety and security of the officers involved, items being
                   sought, and any persons who may be at the scene of the execution of the warrant;

            5.     Ensures uniformed officer(s) are present at the location named in the search warrant;

            6.     Except during periods of extenuating circumstances, accompanies officers in the execution of the warrant; and

            7.     Ensures the dispatcher is notified before and after the execution of the warrant.

     B. Officer-in-Charge:

            1.     Conducts warrant research in accordance with SAPD Form #8-WIC;

            2.     Physically views the location to be searched in order that a precise address and description can be obtained, or
                   ensures the warrant verification officer involved with the warrant physically views the location;

            3.     Completes SAPD Form #8-PWC and submits it and all documentation to the Warrant Execution Supervisor for
                   evaluation prior to execution of the search warrant;

            4.     If the Warrant Execution Supervisor will not be present when the warrant is executed, he ensures adequate steps
                   are taken to provide for the safety and security of the officers involved, items being sought, and any persons
                   who may be at the scene of the execution of the warrant;

            5.     If the Warrant Execution Supervisor will not be present when the warrant is executed, he develops a written
                   plan for execution of the search warrant to ensure the location has been properly identified, adequate manpower
                   and equipment is available, and all provisions of this procedure are being followed;

            6.     Assigns officers to the "Entry Team," "Security Team," and "Search Team";

            7.     Ensures all officers involved are aware of their assigned duties and responsibilities;

            8.     Ensures the warrant is carried to the scene and is exhibited to the person, if any, in charge of the premises;

            9.     If the Warrant Execution Supervisor will not be present when the search warrant is executed, he notifies the
                   supervisor before and after executing the warrant; and

            10. The duties of the Officer-in-Charge do not supersede those of the Warrant Execution Supervisor, when that
                Supervisor is present.

     C. Verification Officer
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            1.     When planning to execute a search warrant, a single officer (other than the Officer-in-Charge) will be assigned
                   by the Warrant Execution Supervisor as the Verification Officer.

            2.     The Verification Officer is responsible for positively identifying the correct location where the warrant will be
                   executed and for directing the entry team to the correct location. The Verification Officer will confirm the
                   address or warrant location description named in the warrant and warrant affidavit is the same as the address or
                   location description where the warrant will be executed.

            3.     The name of the Verification Officer will be listed on the SAPD Form #OP-2003 and on SAPD Form #8-PWC.

            4.     The Verification Officer will accompany the entry team or an officer assigned to the entry team to positively
                   identify and point out the correct location described in the search warrant. It is not necessary for the Verification
                   Officer to accompany the entry team into the warrant location when the entry is made.

.08 PLANNED FORCED ENTRY

     A. In planning a forced entry, the supervisor of the unit executing the warrant reviews SAPD Form #8-PWC. This
        form is designed to determine the degree of probability of death or serious bodily injury.

     B. When the Warrant Execution Supervisor determines a high probability of death or serious bodily injury exists, the
        Supervisor or his designee shall contact a Special Weapons and Tactics Unit Supervisor to determine the necessity
        for inclusion of Special Weapons and Tactics Unit members in the execution of the warrant.

     C. In all planned forced entries, the Warrant Execution Supervisor ensures enough officers are present to adequately
        protect the safety and security of all persons involved.

            1.     This includes the presence of uniform officers to identify the group as members of the Department.

            2.     In normal circumstances, uniformed officers enter the premises with nonuniformed officers.

.09 SEARCH PROCEDURE

     A. Persons other than peace officers, police legal advisors, and members of the District Attorney's Office are not
        allowed to accompany officers in the execution of a search warrant, unless approved in advance through the Office
        of the Chief of Police.

     B. Entry into the premises is accomplished by the least forceful means possible under the circumstances.

            1.     When entering private premises, officers knock, announce their identity, and demand admittance. They then
                   wait to be admitted and explain their purpose if so requested.

                   a.     This announcement and demand are not required when the officer in charge can articulate particular exigent
                          circumstances that exist that create a reasonable suspicion that to announce and demand would be futile or
                          would jeopardize:

                          (1) The safety and security of the officers or nearby citizens; or

                          (2) The items sought.

                   b.     The officer in charge should articulate in the affidavit these specific exigent circumstances if they exist at
                          the time the affidavit is prepared, requesting specific authorization in the warrant for a no-knock entry.

                   c.     In such cases, officers enter the premises by the most efficient means possible, while inflicting as little
                          damage as possible to the premises. This may include breaking any door or window, but only if such is
                          necessary.
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     C. Whenever possible, upon entering a building or other premises, uniformed officers are on site and in plain view to
        assist in locating and controlling the movements of all persons.


            1.     Necessary force may be used to secure the premises.

            2.     An officer explains fully the reason for the officers' presence, the nature of the items sought, and displays the
                   warrant.

            3.     As soon as the building has been secured, any officers who are no longer needed leave the area.

     D. When the premises have been secured, a searching team conducts the search. The searching team is composed of as
        few officers as is practical and may include members of the security team.

            1.     Damage to the premises is minimized. Any structural damage or modification is carefully considered before
                   being inflicted.

            2.     The search is confined to places where the items sought could be concealed.

            3.     Two (2) officers should be assigned to search a single room or area, if possible.

            4.     A record is kept during the course of the search as to which areas have been examined, by whom, the nature of
                   any item seized, and where it was found.

            5.     All items seized are turned over to the evidence officer, along with the record of the search. That officer makes
                   a property receipt for all items seized for the person from whose possession or control they were taken and
                   completes the return of the warrant by attaching an inventory of the items seized and delivering it to the
                   magistrate. The inventory list may be used in lieu of the property receipt.

            6.     All items seized are handled in accordance with GM Procedure 606.

            7.     The officer in charge submits a written report following the execution of the warrant regardless of whether or
                   not the search proved fruitful. The original is routed to the Records Section and a copy is routed to the unit
                   commander. This report includes:

                   a.     Damage to premise in gaining entry, if any;

                   b.     Use of force in overcoming resistance, if any;

                   c.     Articles seized (including, those not described in the warrant);

                   d.     How the damaged premise was secured upon departure; and

                   e.     A list of all officers executing the search warrant.

     E. Before leaving the scene after executing a search warrant, a designated officer ensures the premises are adequately
        secure as well as possible, either by leaving them in the hands of a responsible person or by locking all doors,
        windows, etc.

     F.     A second search is not permitted under the same warrant once officers have left the premises.




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.10 ARRESTS DURING SEARCH

     A. In cases of combined warrants commanding both arrest and search or where officers suspect there may be arrest
        warrants outstanding, they may require persons on the premises to identify themselves in order to determine whether
        any of those persons are named in the arrest warrant. Persons on the premises may be required to identify
        themselves if they are witnesses to the search or arrest.

     B. Should any contraband or other item be found during the search, the presence of which yields probable cause to
        believe an offense has been committed, the officers may arrest any or all of those persons on the premises for whom
        probable cause to arrest exists.

     C. Should any person resist or interfere with the lawful actions of the officers during the execution of the search
        warrant, that person may be arrested and charged with the offense committed.

     D. There is no requirement in the law that persons on the premises at the time of the search identify themselves unless
        there is reasonable suspicion of some involvement in criminal activity or the person is a witness.

     E. Arrests are made in accordance with GM Procedure 601, Prisoners.

.11 TRAINING

     A. When executing a planned “high risk” forced entry, prior to assignment as an entry team, security team or search
        team member, the officer, detective and supervisor will be provided training for the specific duties assigned while
        executing the search warrant. The training will be documented and will include, at a minimum, the following
        courses of instruction:

            1.     Intelligence gathering;

            2.     Building entries;

            3.     Room clearing;

            4.     Weapons handling;

            5.     Breaching techniques;

            6.     Shield handling techniques; and

            7.     Evidence handling procedures.

     B. At a minimum, training shall be conducted on a quarterly basis to maintain proficiency in the above listed skills.

     C. The Unit Director will be responsible for maintaining a record of all training.




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                  Office with Primary                                                               Effective Date:   July 18, 2014
                                                 IDC                                                                  May 04, 2012
                      Responsibility:                                                         Prior Revision Date:
           Office(s) with Secondary
                                                 PSC, PNC, TSC, FTC                             Number of Pages:      12
                   Responsibilities:
                                                 SAPD Form #45-F9
  Forms Referenced in Procedure:                 SAPD Form #2010                             Related Procedures:      307, 606, 708
                                                 SAPD Form #4130


.01 INTRODUCTION

     A. This procedure outlines the duties of members who respond to the scene of a crime or assist in the initial
        investigation of a crime.

     B. This procedure is intended to provide guidelines to help preserve the integrity of the crime scene itself and all
        physical evidence at or near the scene.

     C. This procedure does not prescribe the procedures or methods to be used in the highly specialized area of collection
        of physical evidence by UEDIs/Crime Scene Unit Investigators, nor does it prescribe follow-up investigation
        procedures.

.02 TERMINOLOGY (For specific use within this procedure, see Glossary)

     Digital Evidence                                  Digital Storage Device          Handheld Digital Device             Life Threatening Incident
     Major Crime                                       Master Video Recording          Physical Evidence                   Video Recording Origin

.03 PHYSICAL EVIDENCE

     A. The scene of any crime is physical evidence in itself. However, the best physical evidence is normally found at or
        near the site of the most critical action taken by the criminal against the property or victim.

     B. In order for physical evidence to be effectively used by the Investigator and the prosecutor, its presence must be
        recognized by the officers at or near the crime scene.

     C. Physical evidence must be properly preserved, recorded, and collected for it to be of use in discovering the facts of a
        crime.

     D. The first officer to arrive at the scene of a crime automatically assumes the responsibility of securing the crime scene
        area from unauthorized intrusions to protect any physical evidence.

.04 DIMENSIONS OF A CRIME SCENE

     A. No set of definite rules can be applied to defining the dimensions of the scene of a crime.

     B. While it is entirely possible the dimensions of a crime scene will be large, there are usually priority areas readily
        apparent to the trained officer/UEDI or Crime Scene Unit Investigator which should be given immediate protection.

.05 COMMAND / SUPERVISORY OFFICERS' CRIME SCENE RESPONSIBILITIES

     A. Command Officers

            1.     While the ranking command officer at the scene of any call is in overall charge, he may delegate supervision to
                   the assigned sergeant and acts as an overseer. He intervenes only when he observes serious breaches of
                   established procedure.

            2.     Make periodic checks of major crime scenes to ensure proper procedures are being followed.
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            3.     Exceptions are calls which involve an officer of this department in any major incident.                      Under such
                   circumstances the ranking command officer shall be in charge of the scene.

     B. Supervisory Officers

            1.     Patrol Division supervisory officers are in charge of supervising all lower ranking officers at any major crime
                   scene, including follow-up detectives and Crime Scene Unit Investigators in the absence of an Investigations
                   Division supervisory officer. If the scene involves a major crime, evidence processing shall be handled in
                   accordance with section .06, B., 1., c.

            2.     When an Investigations Division supervisory officer is present at a crime scene, he supervises the activities of
                   the follow-up detectives, UEDIs, and Crime Scene Unit Investigators assigned to the case.

            3.     In the absence of an Investigations Division supervisory officer, the Crime Scene Unit Supervisor is in charge of
                   the UEDI/Crime Scene Unit Investigators.

            4.     Patrol Division supervisory officers proceed to any major crime scene or any crime scene where supervisory
                   presence is requested and assess the crime scene to determine:

                   a.     Whether there are sufficient officers at the scene. Request additional officers, if necessary;

                   b.     The dimensions of the crime scene and the best method of protecting the scene;

                   c.     Whether the proper quadrant has been established and the officers assigned are working it properly;

                   d.     Whether the proper information regarding the actor has been broadcast to officers working the quadrant;

                   e.     Whether the dispatcher has notified the Bexar County Medical Examiner's Office in cases involving deaths;
                          and

                   f.     Whether the Investigations Division detectives are needed at the scene, and if so, ensures proper adherence
                          to GM Procedure 708, Follow-Up Units, is followed.

            5.     Assign officers to specific duties required to correctly protect and process the crime scene.

            6.     Provide for the transportation of complainants and witnesses, if necessary.

            7.     Determine when and/or if the news media may be briefed and admitted to the scene in accordance with GM
                   Procedure 307, Public and Media Information.

            8.     Remain at the scene as long as necessary to ensure proper protection of the scene and supervises subordinates in
                   the performance of their assigned functions.

            9.     Ensure all officers prepare the necessary reports.

            10. Prepare a supplemental report describing any actions taken and the names and assigned duties of officers
                present at the crime scene.

.06 OFFICERS/ UEDIs’ GENERAL CRIME SCENE DUTIES

     A. Officer(s) Assigned to Crime Scene

            1.     Proceed to the crime scene and observe all conditions and events on the way to and on arrival at the crime
                   scene.

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           2.     Note any remarks made by the complainant, witness, or actor upon arrival at the crime scene.

           3.     Pursue and apprehend the actor if the actor is still at the scene, visibly fleeing the scene, or in the general area of
                  the scene.

                  a.     Interview and/or interrogate the actor or suspect; or

                  b.     If the crime will be investigated by a follow-up unit, the follow-up unit personnel will interview and/or
                         interrogate the actor or suspect.

           4.     Use caution when entering the crime scene so as not to destroy physical evidence.

           5.     Request EMS for any injured or sick persons.

           6.     Ascertain the actual type of crime committed.

                  a.     If an emergency exists, the amount of time lapse involved and whether additional officers are needed to aid
                         the injured and secure the scene; or

                  b.     If an emergency does not exist, advise responding officers to slow down in responding to the scene of the
                         crime.

           7.     If possible, obtain a description of the actor, the means, and direction of flight, and whether or not the actor is
                  armed. This information is relayed to the dispatcher.

           8.     Secure and protect the crime scene and any physical evidence by preventing unauthorized persons from entering
                  the crime scene area. Officers should pay particular attention to items which may contain DNA evidence.

           9.     Request a UEDI/Crime Scene Unit Investigator to process the crime scene for physical evidence.

           10. Locate, identify, and interview the complainant and witnesses:

                  a.     Officers should utilize SAPD Form #2010, Neighborhood Canvas Form, on any preliminary criminal
                         investigation where witnesses are likely to be present, or at the direction of a supervisor or follow-up unit
                         personnel.

                  b.     All SAPD Forms #2010 are forwarded to the appropriate follow-up unit.

                  c.     If the crime will be investigated by a follow-up unit, contact the follow-up unit personnel to see if they
                         need to also interview the complainant and witnesses.

           11. Prepare the proper reports which describe the offense, including:

                         a.     Any vehicles, persons, or suspicious activities possibly related to the offense which was observed on
                                the way to the scene;

                         b.     Time of arrival at the scene of the crime;

                         c.     The name of all officers present, should supervisory officers not make the scene; and

                         d.     Initial observations by the officer, including any res gestae statements made by the actor or dying
                                declarations made by the complainant.

           12. Continue protection of the crime scene and all physical evidence to maintain its integrity. Avoid handling items
               of physical evidence unless it is absolutely necessary to prevent its loss, destruction, or contamination.

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           13. When an officer must handle evidence to protect it from loss, destruction, contamination, or for the victim to
               receive proper medical treatment, the officer takes custody of the evidence, and:

                  a.     Handles the item in the least intrusive manner to avoid destroying the item, fingerprints, or other trace
                         evidence that may be on the item;

                  b.     Marks the exact location where the evidence was found and points this out to the UEDI/Crime Scene Unit
                         Investigator;

                  c.     Protects the item from loss or unnecessary handling; and

                  d.     Marks the item for later identification and turns it over to the UEDI/Crime Scene Unit Investigator, if one is
                         assigned to the call, or places the item in the Property Room as evidence. Care must be exercised to avoid
                         destruction of latent fingerprints or trace evidence on the item when marking it.

           14. When an officer must handle a firearm as evidence at a crime scene either prior to the arrival of UEDI/Crime
               Scene Unit Investigators or because they are not available, the officer:

                  a.     Assumes custody of the firearm when it is obvious the firearm must be removed to protect it from loss,
                         destruction, or contamination;

                  b.     Handles the firearm in the least intrusive manner to avoid destroying the item, fingerprints, or other trace
                         evidence that may be on the firearm (i.e., does not rotate the cylinder, does not unload firearm);

                  c.     As soon as practical, secures the firearm by placing it in the locked trunk of the officer's police vehicle;

                  d.     Records the exact location of recovery, condition of the firearm, and marks it with his initials;

                  e.     Places the firearm in the Property Room in accordance with GM Procedure 606, Impounding Property, or
                         turns the firearm over to UEDIs/Crime Scene Unit Investigators upon their arrival and relates the location
                         where it was found; and

                  f.     Details his possession of the evidence in a written report.

           15. All officers assigned to, dispatched to, or assisting at or near any crime scene where a felony apprehension has
               been made will prepare the necessary supplemental reports documenting the reason for responding and actions
               taken in regard to the call. A copy of the report will be forwarded to the respective follow-up unit.

    B. UEDI/Crime Scene Unit Investigator Assigned to Crime Scene:

           1.     Upon arrival, immediately surveys the crime scene to determine:

                  a.     The type of crime committed;

                  b.     Whether additional equipment or personnel are needed to assist in processing the crime scene and request
                         same from the dispatcher; and

                  c.     At a major crime scene, UEDIs must receive approval and direction from the Crime Scene Unit Supervisor
                         or the follow up unit investigator assigned to the crime scene prior to processing the scene.

           2.     Establishes the perimeter of the crime using crime scene barrier tape, if necessary;

           3.     Processes the crime scene for evidence (i.e., collects latent fingerprints, photographs, sketches, DNA evidence,
                  etc.);

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            4.     Collects and preserves all physical evidence at the crime scene and places the physical evidence in the Property
                   Room;

            5.     Prepares the necessary supplemental reports of all actions taken, including the names of any officers who
                   assisted.

     C. Follow-Up Unit Detective Assigned to Crime Scene:

            1.     Proceeds to the crime scene when notified to do so;

            2.     Obtains initial information from the officer responsible for preparing the offense report;

            3.     Assesses the crime scene to determine if their presence in the crime scene area is necessary and:

                   a.     When it is necessary to enter, uses caution to avoid contamination of the crime scene area; and

                   b.     Avoids handling, contaminating, or altering the crime scene. When it becomes necessary to move any
                          objects before the UEDI/Crime Scene Unit Investigator arrives, the follow-up unit detective records the
                          exact location and condition in the detective’s report, properly marks the item, and turns it over to the
                          UEDI/Crime Scene Unit Investigator for processing upon arrival.

            4.     Identifies and interviews witnesses outside the immediate crime scene area;

            5.     Makes arrangements for witnesses to give their statements and advises a Patrol Division Sergeant when
                   transportation is necessary.

            6.     Prepares the proper supplemental report describing the detective’s actions.

.07 OFFICERS/UEDIs SPECIFIC CRIME SCENE RESPONSIBILITIES

     A. Homicide and/or violent crime scenes

            1.     In every instance, officers/UEDIs call for emergency medical assistance.

            2.     Personnel authorized to enter a homicide or violent crime scene includes:

                   a.     First officer/UEDI to arrive;

                   b.     Emergency medical personnel;

                   c.     Assigned Patrol Division Sergeant;

                   d.     Additional officers/UEDIs necessary to secure and protect the crime scene;

                   e.     Assigned Crime Scene Unit Investigator(s), including the Crime Scene Unit supervisor;

                   f.     Assigned follow-up unit personnel; and

                   g.     Investigators from the Bexar County Medical Examiner's Office.

            3.     A Patrol Division Supervisor will assign a Patrol Officer to complete SAPD Form 4130, “Crime Scene
                   Personnel Log,” to document all personnel entering the crime scene. SAPD Form 4130 will be forwarded to the
                   Homicide Unit prior to the end of the assigned Patrol Officer’s tour of duty. Upon receiving SAPD Form 4130,
                   Homicide Unit personnel will ensure that it is included in the investigative file.


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           4.     Once the crime scene has been deemed secure:

                  a.     Any personnel entering an indoor crime scene will wear protective shoe coverings and gloves;

                  b.     Any personnel entering an outdoor crime scene will wear gloves. The use of any additional equipment,
                         such as shoe covers, will be determined by an Investigations Division Supervisor.

           5.     The Follow-Up Unit Supervisor or his designee, will be responsible for the direction and coordination of the
                  investigation.

           6.     When the victim is obviously dead, the body may not be moved without authorization from the Bexar County
                  Medical Examiner or a Medical Examiner Investigator, except:

                  a.     In emergency circumstances; or

                  b.     In cases of unreasonable delay after repeated attempts to contact Medical Examiner's Office personnel have
                         failed.

           7.     Before moving the victim’s body, the officers/UEDIs shall:

                  a.     Make note of the original position of the victim; and

                  b.     Request the Crime Scene Unit Investigator photograph and take necessary measurements of the crime
                         scene.

           8.     Upon discovery of a "mysterious" homicide or one in which no witnesses or suspects are apparent, or where it
                  appears a solution to the crime may rest heavily on the development of physical evidence to identify a criminal
                  actor or actors, the only officers authorized to enter a crime scene are those specifically charged with processing
                  the area for physical evidence. After the scene has been processed, other officers may be allowed to enter.

           9.     Officers make note of any physical evidence which may be accidentally moved by medical personnel and
                  ensure medical personnel do not contaminate the crime scene by discarding any of their supplies or equipment
                  in the area.

           10. Officers/UEDIs relate to the Crime Scene Unit Investigator, the follow-up unit detective, and any supervisory
               personnel, the following:

                  a.     Any changes in the victim's position; and

                  b.     Any physical evidence the officer found necessary to pick up, the location where it was found, and any
                         other alterations of the crime scene area.

    B. Crime Scenes Where Video Recordings Are Made:

           1.     VHS Recording Devices and Digital Recording Devices

                  a.     Officers(s) Assigned

                         (1) Locate the video recording origin and take custody of the VHS tape and pull the tab on the side of the
                             VHS tape so the tape cannot be recorded over. If the origin is a digital recording device officers should
                             have some form of digital video copy (CD, DVD, Floppy Disk, Flash drive, etc.) made by the
                             employees, manager, or owner. This digital video copy becomes the master video recording.

                         (2) If the video recording origin is locked, or a digital video copy cannot be made, contact the person in
                             charge of the location.
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                                (i)        If entry into the video recording origin is refused, a supervisor is notified.

                                (ii)       If a digital video copy cannot be made, the officer will have the person in charge of the location
                                           contact the company where the digital video equipment was purchased or whoever they have the
                                           service/security contract with and have them respond to make a copy.

                                (iii)      A reasonable amount of time should be allowed as long as the investigation is not prolonged or
                                           hindered.

                                (iv)       If the officer is refused custody of the VHS tape a supervisor is notified.

                                (v)        If a digital video copy cannot be made, the officer will document the name and phone numbers
                                           of the company and/or the name and phone numbers of the company that services the DVR
                                           equipment. A supervisor then is notified.

                                (vi)       The officers shall document in their report all supervisors and follow-up unit detective’s names
                                           contacted and the decisions made.

                         (3) Officers/UEDIs should not view or make copies of the master video recording without approval from
                             the follow-up unit investigator or supervisor. Viewing of a master video recording should only be
                             conducted by the follow-up unit personnel assigned to the crime or personnel from the Technical
                             Investigations Detail unless viewing of the master video recording is needed for immediate
                             information on the crime and can be done in a manner which does not present a risk to the master
                             video recording value as evidence, with approval from the follow-up unit.

                         (4) Maintains custody and control of the master video recording, unless the master video recording is
                             released to a Crime Scene Unit Investigator or Technical Investigations Detail detective at a life-
                             threatening incident or is requested by a member of the follow-up unit. Officers will document in their
                             report the disposition of the video evidence.

                         (5) Upon completion of his crime scene duties, the officer delivers the master video recording and a copy
                             of his report to the video tape receptacle located in the Headquarters Building Central Mail Room. If
                             the master video recording was released to a Crime Scene Investigator or a member of the follow-up
                             unit, the officer shall attach a copy of his report to the master video recording before releasing the
                             master video recording.

                  b.     Crime Scene Unit Investigator Assigned

                         (1) Takes custody of the master video recording if the crime is a life-threatening incident;

                         (2) Releases the master video recording to a member of the follow-up unit, if requested; or

                         (3) Returns the master video recording along with a copy of his report and the officer’s report to the video
                             tape receptacle located in the Headquarters Building Central Mail Room.

                         (4) If the digital video copy cannot be made, the Crime Scene Unit Investigator shall take custody of all
                             digital video equipment including the monitor when requested by a supervisor and place it in the
                             Property Room. They shall also route a copy of their report to the follow-up unit and Technical
                             Investigations Detail supervisors.

                  c.     Follow-Up Unit Detective(s) Assigned

                         (1) Views or takes custody of a master video recording of a crime involving a life threatening incident.

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                         (2) The follow-up unit detective should view the master video recording to verify the incident was
                             properly recorded. If the master video recording is made from a digital recording device the video
                             should be viewed on another computer if available to verify the incident was properly recorded and
                             downloaded. If the follow-up unit detective views the master video recording, he should document the
                             camera number(s) and six (6) digit time (hours: minutes: seconds) of the incident.

                         (3) If the follow-up unit detective takes custody of a master video recording, he delivers the master video
                             recording, with copies of reports from the assigned officer/UEDI and Crime Scene Unit Investigator,
                             along with a copy of his report, to the video tape receptacle located in the Headquarters Building
                             Central Mail Room

                          (4) If a digital video copy cannot be made by those at the location, the detective assigned will obtain and
                              document the name and phone numbers of the company where the equipment was purchased along
                              with the company which services the equipment and contact them for assistance in downloading the
                              video evidence.

                         (5) If a copy of the digital video evidence cannot be made after the detective assigned has contacted the
                             company where the equipment was purchased along with the company which services the equipment,
                             the detective assigned will contact the Technical Investigations Detail during normal business hours
                             with the names and phone numbers of those individuals the detective has contacted along with the
                             results of their efforts. If a copy of the digital video evidence cannot be made regarding a high profile
                             or life threatening incident or where there is a risk the video evidence will be lost the detective
                             assigned will obtain and document the name and phone numbers of the company where the equipment
                             was purchased and the company which services the equipment and contact them to have them come
                             out and download the video evidence. If these efforts fail then the detective assigned shall contact a
                             supervisor.

                  d.     Supervisory Officer Assigned

                         (1) Some video recording origins are locked to prevent suspects and employees from tampering with the
                             video recording. When requested, the supervisor determines whether forced entry into the video
                             recording origin is necessary to recover a master video recording.

                         (2) When custody of the video evidence is refused, the supervisor will notify the follow-up unit to let them
                             determine if they want to do an immediate search warrant or wait to obtain the video evidence at a later
                             date.

                         (3) When advised a master video recording cannot be made the supervisor determines if the offense is
                             severe enough to notify the Technical Investigations Detail Detectives, after business hours, to respond
                             to the scene and make a digital video. Examples of this would be a Police involved shooting or Capital
                             Murder investigation where video holds a key role in the investigation. The supervisor will have the
                             Communication Unit call the Technical Investigations Detail Detectives so they can respond and
                             attempt to make a digital video copy of the incident.

    C. Robbery of Business Crime Scenes:

           1.     Officers/UEDI dispatched on robbery calls approach the location of the call as if the suspect is still at the scene.
                  In the event the actor has fled, obtain and provide the dispatcher a description of the suspect, means and
                  direction of flight, weapon used, time lapse, and any other pertinent information.

           2.     Protect the crime scene by:

                  a.     Safeguarding all entrances and exits possibly used by the actor and allow no unauthorized person near areas
                         where the robbery may have been; and


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                  b.     Isolating the areas where the actual robbery took place (i.e., teller's window in a bank or a check-out
                         counter in a convenience store.)

           3.     Show the UEDI/Crime Scene Unit Investigator areas on the premises where the actor was observed and may
                  have touched something.

    D. Burglary Crime Scenes:

           1.     A UEDI/Crime Scene Unit Investigator is dispatched on all confirmed burglary calls.

           2.     It is the responsibility of the investigating officer to request a UEDI/Crime Scene Unit Investigator or if a call
                  turns out to be a burglary after being dispatched as some other offense.

           3.     The owner or authorized representative should be present and give effective consent for the processing of the
                  burglary scene.

                  a.     In the event the owner or authorized representative is not available to give consent, the UEDI/Crime Scene
                         Unit Investigator should conduct a latent print investigation following these guidelines:

                         (1) Point of entry; and

                         (2) Point of exit.

                  b.     When the owner or authorized representative cannot be located, a supervisory officer may authorize the
                         processing of the burglary scene when the need exists.

           4.     A UEDI/Crime Scene Unit Investigator is canceled under the following circumstances:

                  a.     The investigating officer at the scene determines the offense of burglary has not been committed and a
                         UEDI/Crime Scene Unit Investigator is not required for any other purpose;

                  b.     A supervisor at the scene determines it is impossible to lift prints or obtain other evidence; or

                  c.     The owner, after being told of the purpose of the UEDI/Crime Scene Unit Investigator, advises the
                         investigating officer he does not wish for the premises to be printed.

           5.     All instances in which a UEDI/Crime Scene Unit Investigator is canceled are documented by the investigating
                  officer in the text of his report.

           6.     When the UEDI/Crime Scene Unit Investigator is needed and requested, the assigned officer sees the scene is
                  safeguarded by:

                  a.     Informing the complainant he should not handle any object or printable surface the perpetrator may have
                         touched until such time as the UEDI/Crime Scene Unit Investigator can examine it; and

                  b.     Protecting objects or surfaces which may contain fingerprints from the weather or conditions which may
                         destroy the fingerprints before the UEDI/Crime Scene Unit Investigator arrives.

           7.     When a safe has been entered, the officer secures the immediate area surrounding the safe, the entry, and the
                  exit point of the perpetrator, and notifies the appropriate follow-up investigators, as they may need to come to
                  the scene.

    E. Burglary of Vehicle Crime Scenes:

           1.     Burglarized vehicles are processed for latent fingerprints when:
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                  a.     An arrest has been made;

                  b.     There is a suspect in the case and a possibility exists for developing latent prints in the interior of the
                         vehicle;

                  c.     The theft involves the loss of objects of great monetary value; or

                  d.     The complainant requests the vehicle to be printed.

           2.     The owner or authorized representative should be present to give effective consent for the processing of the
                  vehicle.

                  a.     The owner or authorized representative may refuse to allow the vehicle to be fingerprinted.

                  b.     When the owner or authorized representative cannot be located, a supervisory officer may authorize the
                         processing of the vehicle when the need exists.

           3.     A UEDI/Crime Scene Unit Investigator is not sent on cases reported to an expediter unless the owner of the
                  vehicle requests fingerprints to be taken.

    F.     Recovered Stolen Vehicle Scenes:

           1.     A UEDI/Crime Scene Unit Investigator is dispatched to print recovered stolen vehicles at the scene, unless the
                  owner of the vehicle specifically requests the vehicle not be printed.

           2.     If a UEDI/Crime Scene Unit Investigator is unavailable to be dispatched prior to the vehicle being impounded, a
                  UEDI/Crime Scene Unit Investigator, when available, is dispatched to the Vehicle Storage Unit to print the
                  vehicle.

           3.     The UEDI/Crime Scene Unit Investigator makes every effort to conduct the processing of the vehicle at the
                  scene of recovery, unless the following prohibitive circumstances exist:

                  a.     Inclement weather;

                  b.     Inadequate lighting; or

                  c.     The seriousness of the offense requires the Crime Scene Unit Investigator to move the vehicle to the
                         evidence stall for a thorough processing of the vehicle.

    G. Forged Check Scenes:

           1.     Officers are dispatched and shall handle forgeries in progress (i.e., actor at scene, possibility of apprehension, or
                  in custody, etc.) as follows:

                  a.     Officer makes the scene and takes appropriate action;

                  b.     Notifies the Forgery Detail;

                  c.     Handles the report; and

                  d.     If the Forgery Detail is closed or the Night CID Unit is not available, the officer handles the arrest and any
                         necessary reports.


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           2.     When a call for service is received by the Communications Unit for a forgery not in progress, the
                  Communications Unit personnel shall inform the complainant of the following:

                  a.     Obtain SAPD Form #45-F9, Forged Check, at the Headquarters Building, any police substation, or at
                         www.sanantonio.gov/sapd ;

                  b.     A separate SAPD Form #45-F9 must be completed and attached to each check submitted; and

                  c.     Either mail in or return the forged check and attached SAPD Form #45-F9 to the Forgery Detail.

           3.     This subsection only pertains to forged checks and not credit card abuse, counterfeits, money orders, hot checks,
                  etc.

    H. Preservation of Firearms Evidence/Reporting Stolen Firearms:

           1.     When a firearm is recovered, found, or confiscated as evidence, the proper handling of the weapon is a priority
                  to preserve any evidentiary value. This type of recovery, finding, or confiscation would include, but not be
                  limited to, the following examples:

                  a.     A firearm is used or suspected of being used in any assault type of offense and is found at or near the scene
                         of the offense or found on a suspect;

                  b.     A firearm is found hidden in a vehicle, not in the possession of an individual, during a legal search of the
                         vehicle; and

                  c.     A firearm is found in a location which would tend to indicate it has been dumped, discarded, or lost by a
                         suspect involved in any assault offense.

           2.     When a firearm comes into the custody and control of an officer and the possibility exists the weapon has been
                  used in any type of violent offense or criminal activity, the officer immediately notifies his supervisor of the
                  circumstances of the recovery.

                  a.     If the supervisor determines the firearm is to be processed as evidence, a UEDI/Crime Scene Unit
                         Investigator is to respond to the scene to take immediate charge of the evidence.

                  b.     If the supervisor determines the firearm is of no evidentiary value or the evidentiary value has been lost, for
                         whatever reason, this decision shall be included in the text of the officer's report of the incident.

           3.     Whenever an officer recovers, finds, or confiscates a firearm as evidence, the firearm will be processed in
                  accordance with Subsection .06A14 of this procedure.

           4.     Whenever a firearm is reported stolen, an officer, in addition to completing the required report, shall
                  immediately report the stolen firearm(s) to the appropriate service area Service Agent by telephone for entry
                  into NCIC/TCIC. The report is submitted at the end of the tour of duty with the words “CALLED-IN” written
                  at the top of the report.

    I.     Preservation of Digital Evidence

           1.     If it is anticipated digital evidence will be present at a crime scene and time permits (i.e. search warrant), a
                  Technical Investigations Detail Detective should be contacted prior to entry. A Technical Investigations Detail
                  Detective should be present during the execution of search warrants where digital storage devices are
                  anticipated (with prior approval from the Technical Investigations Detail Supervisor).

           2.     Officers encountering digital storage devices should use caution so as not to damage or destroy the digital
                  evidence. Officers should not manipulate switches, buttons, keyboards or any other input devices on digital
General Manual Procedures – Section 700 Investigative Procedures           Page 11 of 12                            Effective Date: July 18, 2014


                                                                                                               COSA 000525
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                                              San Antonio Police Department
                                                                   GENERAL MANUAL
                                                            Procedure 701 – Crime Scene Duties

                  storage devices unless instructed to do so by a computer forensic detective. If switches, buttons, keyboards or
                  other input devices are manipulated, this shall be documented in a written report. A copy of this report should
                  accompany the computer to the property room or computer forensic lab.

           3.     If a digital storage device is located and it is determined to be related to a criminal offense, the Technical
                  Investigations Detail should be contacted. The Technical Investigations Detail Supervisor will determine if a
                  Detective should respond to the scene.

           4.     If a Technical Investigations Detail Detective does not respond, a Crime Scene Investigator will collect the
                  digital storage device(s). A Technical Investigations Detail Detective may direct an officer or follow-up
                  detective to collect the digital storage device. The digital storage device(s) may be placed in the property room
                  or taken to the computer forensic lab for forensic analysis.




General Manual Procedures – Section 700 Investigative Procedures           Page 12 of 12                       Effective Date: July 18, 2014


                                                                                                          COSA 000526
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      Art. 2.13. DUTIES AND POWERS. (a) It is the duty of every
peace officer to preserve the peace within the officer's
jurisdiction. To effect this purpose, the officer shall use all
lawful means.
      (b) The officer shall:
           (1) in every case authorized by the provisions of this
Code, interfere without warrant to prevent or suppress crime;
           (2) execute all lawful process issued to the officer
by any magistrate or court;
           (3) give notice to some magistrate of all offenses
committed within the officer's jurisdiction, where the officer
has good reason to believe there has been a violation of the
penal law; and
           (4) arrest offenders without warrant in every case
where the officer is authorized by law, in order that they may
be taken before the proper magistrate or court and be tried.
      (c) It is the duty of every officer to take possession of a
child under Article 63.009(g).
      (d)   Subject to Subsection (e), in the course of
investigating an alleged criminal offense, a peace officer may
inquire as to the nationality or immigration status of a victim
of or witness to the offense only if the officer determines that
the inquiry is necessary to:
           (1) investigate the offense; or
           (2) provide the victim or witness with information
about federal visas designed to protect individuals providing
assistance to law enforcement.
      (e) Subsection (d) does not prevent a peace officer from:
           (1) conducting a separate investigation of any other
alleged criminal offense; or
           (2) inquiring as to the nationality or immigration
status of a victim of or witness to a criminal offense if the
officer has probable cause to believe that the victim or witness
has engaged in specific conduct constituting a separate criminal
offense.

                                                                    Exhibit
                                                                     F-4
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      (f) On a request made by that office, a peace officer
shall execute an emergency detention order issued by the Texas
Civil Commitment Office under Section 841.0837, Health and
Safety Code.

Acts 1965, 59th Leg., vol. 2, p. 317, ch. 722.



Amended by Acts 1999, 76th Leg., ch. 685, Sec. 1, eff. Sept. 1,
1999; Subsec. (c) amended by Acts 2003, 78th Leg., ch. 1276,
Sec. 5.0005, eff. Sept. 1, 2003.
Added by Acts 2017, 85th Leg., R.S., Ch. 4, Sec. 6.01, eff.
September 1, 2017.
Amended by:
      Acts 2017, 85th Leg., R.S., Ch. 4 (S.B. 4), Sec. 6.01, eff.
September 1, 2017.
      Acts 2017, 85th Leg., R.S., Ch. 34 (S.B. 1576), Sec. 3,
eff. September 1, 2017.
      Acts 2019, 86th Leg., R.S., Ch. 467 (H.B. 4170), Sec.
21.001(2), eff. September 1, 2019.
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STATE OF TEXAS§                                                         Case Number: SAPD18220885
COUNTY OF BEXAR§                                                        Date and Time: 10/17/2018 0530 hrs
                                                                        Taken by: DET. R. Perez. #2298
Page 1 of3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:

My name is Steve Casanova and I am a patrol officer with the San Antonio Police Department. My badge number is #0099. I
have not been given or promised anything in return for my statement. I have been with the San Antonio Police Department for
approximately 5 years. I have worked the streets the entire time. I am currently assigned to Central Dogwatch.

I am here today to talk about what happened earlier this morning. I came to work last night for my shift at 2230 hours. My
shift was from 2230 to 0630 hours. I work in full SAPD uniform and was a one man unit. From the time I came to work at
2230 hours to the time of this incident, I was answering calls for service as I would do on any other day. At approximately
2330 hours, Officer J. Panah #0907 and I decided to go patrol the projects looking for activity.

I had seen a dark colored car with unknown people on Roberts Street. I know Roberts Street as a street known for drug activity.
I then saw a female with pink pants crossing Roberts and head towards the house where this incident occurred. She was lit up
by the headlights of this dark colored car. I then drove the block to see what they were doing down there. I let Officer Panah
know what I had just seen.

I then parked at Hamilton and Albert streets. As I was parked a vehicle pulled up and parked next to me. A female exited the
vehicle and approached me. The female stated she was the wife of the victim of an assault. At this time I realized that this
vehicle was the same vehicle I'd just seen parked on Roberts Street. The female told me that a male had just assaulted her
husband. Her husband was driving their vehicle and was sitting in it as she was the only person that had gotten out. She
explained that while she was making a sale of soup on Roberts Street a black male had came out from across the street and had
began cussing at them. The black male then approached the driver's side of the car and opened the door and punched her
husband in the face three or four times. The husband had a busted lip. The black male had been yelling at her 'why are you
parked in front of my aunt's house and don't ever park here again'. The wife of the victim explained to him that she was just
making a sale and that she was sorry. She was telling them that she wasn't from there and that they were going to be leaving.
The wife told me the husband did not want to file a report because he was nervous because he didn't have his papers. (I took
this to mean he was an illegal immigrant). Basically she was telling me that he didn't want anything to do with the Police but
she was the one who'd initiated contact with me because she didn't feel it was right what had happened and she wanted to press
charges.

At that point I gathered both their information and I explained that I would try and make contact with someone at the house.
told her that if I didn't make contact with them I would still come back to her and file a report for her. Officer Panah and I
assigned ourselves. Officer Panah I believe then sent out messages on the computer to other officers letting them know what
we'd be doing. I believe that the reason he did this was because of our knowledge of past drug activity at that particular house.

Once all the officers arrived, I gave them a rundown of what had occurred. I then coordinated where everyone should position
themselves in case somebody tried to run. Officer Panah Officer Garza and I then approached 217 Roberts in our vehicles. We
parked one property down. We all walked up to the house and I opened up the gate on the chain link fence. I saw an unknown
black male eating food on the porch. I asked him if he lived there and he told me no. I asked him who lived there and he said
he didn't know. In my opinion, he was being cooperative and I recognized him once he lifted up his hat. I recognized him as a


                                                      Signature~~$
Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
~~::~ant to Chapter 602.002 of the Texas Governm~ ent Code on this the 17th day of October, A.D.,


                                                  ®             ~~zfr
                                                            R. er z, 298
                                                            Detective, San Antonio Police Department


                                             "EXHIBIT F-5"
                                                                                                             COSA002126
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STATE OF TEXAS§                                                           Case Number: SAPD18220885
COUNTY OF BEXAR§                                                          Date and Time: 10/17/2018 0530 hrs
                                                                          Taken by : DET. R. Perez. #2298
Page 2 of3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:

male I know as "John"; a male that frequents drug houses in the area. I went to knock on the door. When I walked up to the
porch, I approached the door on the left; I initially tried to open the screen door but it was tied shut so I moved on to the door
on the right. I see a steel security door; I knocked on the interior wooden door and it just swung open. I did not forcefully
knock; it was light tap. I was surprised the door opened as easily as it did. I see a black male sitting directly in front of me; a
female in pink pants to his right, they were both sitting on the couch. To her right there was another black male. I did not
recognize either of the black males however I did recognize the female in the pink pants as the female I had seen crossing the
street a short time earlier.

The male sitting directly in front of me matched the description of the individual that assaulted the ladies husband. I was
focused on him. As the door had swung open, this male had jumped up and had started walking towards me when I immediately
noticed his right hand holding something in his waistband. He's saying who the fuck are you; I'm thinking at this time he
knows it's the cops.

As he's noticing me he's simultaneously moving to his right and I noticed it was a gun in his waistband and as I start to yell
show me your hands, he was starting to pull the gun out of his waistband. Beliving that the suspect was pulling his gun to try
and shoot and kill me, I drew my weapon and fired two rounds. I yelled to the guys shots fired as I'm falling back to a position
of cover back into the street. At that moment, both my partners had moved to cover. As I was falling back to the vehicles I got
on the police radio and said shots fired. I also noticed the pit bull come out of nowhere and was being very aggressive towards
us.

By this time Officer Macias was moving through the empty lot. He noticed the black male known as John standing by the side
of the house; this would be the empty lot side. Officer Macias told John to crawl towards us. As he's crawling towards us, we
were trying to get him to safety and in doing so, the pit bull actually attacked John. Officer Panah, in protecting all of us, fired
one shot killing the pit bull. At that point, they took John off to safety. I fall back from the front of the house to my patrol
vehicle to get better cover. Officer Garza deployed his AR rifle and provided cover for me. I then deployed my AR rifle and
we set up a perimeter at the location. I did this because there were still subjects located inside the residence. At this point we
didn't know the status of the suspect that I had seen with a gun.

I got on the radio and gave a description of the people I had seen inside of the house; I also made it clear who had the firearm
on them. We sat and waited. Street crimes officers arrived to provide additional cover. One of the Officers got on the PA and
started giving commands to the people inside the location. He was letting them know to come out of the house with their hands
up. I could hear the people inside the house saying I'm corning out but call EMS. I called for EMS; shortly after that I saw
shadows of people coming out of the house. I believe four people came out. I could hear them being detained and being
secured in patrol vehicles. As soon as we thought everyone was safely out of the house, street crimes got a group of officers
together and they made entry. They went inside to clear the house.

Sgt. Limon then told me to stay back because I had been involved in the shooting. Besides Officer Panah and I, no other
Officers fired their weapons. I stood by until I was transported to the Public Safety Headquarters to provide my statement.


                                                       Signature &c:=;g::
Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
pursuant to Chapter 602.002 of the Texas Government Code on this the 17th day of October, A.D.,
2018.                                                          ~
                                                 @                              #         2Z7P
                                                           /1i:e;:#2298
                                                              Detective, San Antonio Police Department



                                                                                                                COSA002127
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STATE OF TEXAS§                                                         Case Number: SAPD18220885
COUNTY OF BEXAR§                                                        Date and Time: 10/17/2018 0530 hrs
                                                                        Taken by : DET. R. Perez. #2298
Page 3 of3
                               BEFORE ME, the undersigned authority in and for the State and County
aforesaid, on this day personally appeared Steve Casanova who being by me duly sworn upon his/her oath
deposes and says:


I have read this statement and everything is true and correct to the best of my knowledge.




Sworn to and subscribed before me, R. Perez, #2298, a Peace Officer in the State of Texas and
pursuant to Chapter 602.002 of the Texas Government Code on this the 17th day of October, A.D.,
                                                                  ~
                                                                                  -/f2z ?r
2018.
                                                    GV
                                                             ~
                                                             Detective, San Antonio Police Department



                                                                                                COSA002128
                 Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 239 of 305


San Antomo Police Department
STATEMENT INFORMATION SUPPLEMENT                                                                                                        Case Number:
,on: lh1.; ml 1rmJt1on ts -.rm.th LI nfid~ni1JI J nt..l nnl) for polk~ and Di-.1ri1.:t :\Uom~y's oflkl." lilL•s/r.:conh


Under the Texas Penal Code, a person commits Aggravated Perjury, a Third Degree Felony, if, with intent to
deceive and with knowledge of the statements meaning: (1) he makes a false statement under oath, or swears to the
truth of a false statement previously made. (2) If the statement is required or authorized by law to be made under
oath, and the statement is made during, or in connection with an official proceeding, and is material.

   Name
   Nombre:

   Home Address
   Direccion de Residencia:

   Business Address
   Direccion de Empleo:

      Place of Employment
      Lugar de Empleo:
                                                                                                                          Tttulo de Empleo :

                                                                                                                          Bu~iness Phone Number
                                                                                                                                                       -
      Home Phone Number                                                                                                   Telefono de Empleo:
      Telefono de Res1denc1a:
                                                                                                                          Date of Birth
      Race                                                                                                                Fecha de Nacimiento:
      Raza
                                                                                                                          Driver's License
      Social Secunt; Number                                                                                               Numero de Licensia:
      Numero de Segura Social; _ _ _ _ _ _ _ _ _ _ _ __

      Job Title
      Married Yes                                      No                                              Name ol Spou~e
      Casado: Si
                                      □                No                                              Nombn: de E~po~o O Espo~a: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Nearest Relative other than Spouse:
      Pariente Mas Cercano (Exclu ivo de Esposo O Esposa):

      Name
      Nombrc:

      Home Address
      Direccion de Residencia:

     Home Phone Number                                                                                                    Business Phone Number
     Telefono de Residenc1a:                                                                                              Telefono de Empleo:

      Place of Employment
      Lugar de Empleo:



     Comments (Any remarks observations which are pertinent to the case):




                                                                                                                                                           SAPD Form 66-8L Rev 104-04)




                                                                                         "EXHIBIT F-8"
                                                                                                                                                            COSA002132
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STATE OF TEXAS§                                             Case Number: SAPD18220885
COUNTY OF BEXAk §                                           Date and Time: 10/17/2018 0400
                                                            Taken by : DET. R. Hines #2358


Page 1 of 1
BEFORE ME, the undersigned authority in and for the State and County aforesaid, on this day personally
appeared Taylor Singleton, who being by me duly sworn upon his/her oath deposes and says:

My name is Taylor Singleton. I am currently a student at Central Texas College online. I graduated from
Ace Academy in San Antonio. I can read, write, speak, and understand the English language.

Earlier in the day I had been with "Snow". I think his name is Deante or DeV ante. He is a Black male. He
wears his hear in a fade and he has a dark complexion. When I had last talked to him he asked to come by
Hence's house to pick him up. I went to Hence's house to pick up "Snow". I know Hence through his
granddaughter Rochelle. When I got to Hence's house I was there with Snow. I believe that Hence and the
Hispanic lady were in the bedroom sleeping. About 10 minutes after I got there "Chop" got to the house.
"Chop" is a mixed male. He is Black and Hispanic. He has a medium complexion. He is about 5' 4" tall.
At some point I saw a cop stop in front of the house then the cop drove off. I saw the front door of the
house start to open and I saw a flashlight shining in the door. "Snow" got up and asked who was at the
door. Snow walked towards the door. The person at the door started saying in a strong voice "don't move,
don't move". I assumed that it was a police officer but I could not see him. The person at the door never
identified themselves as police. Chop was sitting to the right of me while this was going on. The police
officer pushed the door open and "Snow" turned away from him. The officer started shooting. When the
officer was shooting I just curled up and put my head down. "Chop" was still sitting to the right of me
and he was shot in the chest. "Chop" got up from the chair and he collapsed. "Snow" went to "Chop" and
I could see a hole in "Chop" in the middle of his chest. "Chop" was trying to breath. After the cop stopped
shooting he ran away from the house. The officer I saw shooting looked Hispanic and he was wearing a
beanie. Detective Hines asked me if anyone in the house had any guns. I didn't see anyone with any guns
and I don't know why the officer started shooting.

Everything I have told Detective Hines is true. I have not been promised anything for giving this
statement. This is the end of my statement.




                                                         .-.--
                                             Signature     t .,(")t2,e;:V\,
Sworn to and subscribed before me, Randal Hines, TCLEOSE#lll099 , a peace officer in the State
of Texas and pursuant to No. 602.002, Texas Government Code, on this _17 th day of _October,
A.D., 2018.


                                            ~eom&r



                                                                                         COSA002133
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                        February 9, 2021

                                                                     Page 1
              IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                     SAN ANTONIO DIVISION
PATRICIA SLACK, INDIVIDUALLY )
AND AS THE SURVIVING MOTHER )
OF CHARLES ROUNDTREE, JR.,   )
BERNICE ROUNDTREE AS THE     )
REPRESENTATIVE OF THE ESTATE )
OF CHARLES ROUNDTREE, JR. AND)
ALL STATUTORY BENEFICIARIES, )
TAYLOR SINGLETON, AND        )
DAVANTE SNOWDEN              )
    PLAINTIFFS,              )
                             )
VS.                          )CIVIL ACTION NO.5:18-CV-1117
                             )
THE CITY OF SAN ANTONIO,     )
TEXAS AND STEVE CASANOVA     )
    DEFENDANTS               )
***********************************************************
          ORAL AND VIDEOCONFERENCE DEPOSITION OF
                     TAYLOR SINGLETON
                     FEBRUARY 9, 2021
                   (REPORTED REMOTELY)
***********************************************************
           TAYLOR SINGLETON, produced as a witness at the
instance of the Defendants, and duly sworn, was taken in the
above-styled and numbered cause on the 9th of February,
2021, from 10:17 a.m. to 2:20 p.m., by Christine M. Sitzes,
CSR, reported by machine stenography, in the City of San
Antonio, County of Bexar, State of Texas, pursuant to the
pursuant to FRCP 30, the First Emergency Order Regarding the
COVID-19 State of Disaster, and/or the provisions stated on
the record or attached therein.


                                                                    Exhibit

       Federal Court Reporters of San Antonio, Inc.
                                                                         F-9
                       210-340-6464
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1                         A P P E A R A N C E S
2    FOR THE PLAINTIFFS, WASHINGTON LAW FIRM, PC:
     MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
3    325 North St. Paul, Suite 3950
     Dallas, Texas 75201
4
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
5    ZECH:
     MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
6    2517 North Main Avenue
     San Antonio, Texas 78212
7
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
8    ZECH:
     MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
9    2517 North Main Avenue
     San Antonio, Texas 78212
10
     FOR DEFENDANT CITY OF SAN ANTONIO, OFFICE OF CITY OF SAN
11   ANTONIO:
     MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
12   100 West Houston Street, 18th Floor
     San Antonio, Texas 78205
13
14   ALSO IN ATTENDANCE:
15   MS. BERNICE ROUNDTREE(VIA VIDEOCONFERENCE)
16   MS. PATRICIA SLACK(VIA VIDEOCONFERENCE)
17   MS. SHERYL WOOD(VIA VIDEOCONFERENCE)
18   ALEJANDRA CASAS, VIDEOGRAPHER/TECH(VIA VIDEOCONFERENCE)
19   CHRISTINE M. SITZES, COURT REPORTER(VIA VIDEOCONFERENCE)
20
21
22
23                                  ******
24
25


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                                                                         Page 35
1         A.    Yes.
2         Q.    Then a couple of sentences later, you state at
3    some point I saw a cop stop in front of the house.              Then the
4    cop drove off.
5         A.    Yes.
6         Q.    Explain the background to that statement.
7         A.    Well, that's a area that's always profiled.              So
8    police officer stopped in front of the house, shined a light
9    through that front window and he drove off.            Then we
10   finished socializing.
11        Q.    And were you inside the house when that happened?
12        A.    Yes.
13        Q.    And were you in that living room?           In the front
14   living room?
15        A.    Yes.    Yes.
16        Q.    Could you see out the window when the police
17   officer drove by?
18        A.    Barely.     He -- the only reason I knew he was
19   outside 'cause he shined a light into the house into that
20   front window.
21        Q.    But how would you know it was a cop?
22        A.    Who else has a light like that to shine through
23   somebody's living room window and a police car?
24        Q.    Did you see the police car?
25        A.    Yes.


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                                                                         Page 36
1            Q.   And you could see the police car through the
2    window?
3            A.   Yes.
4            Q.   And were you sitting or standing when you saw
5    that?
6            A.   I got up to look out the window.         We all looked
7    out the window.
8            Q.   And who is all of us?      Are you talking about you
9    and who else?
10           A.   Me, Devante and Chop.
11           Q.   All three of you went to the window, looked out
12   the window and you saw a police car?
13           A.   Yes.
14           Q.   And a police officer shining a light through your
15   window?
16           A.   Yes.
17           Q.   And did you all talk about that?         What did you say
18   to Devante and Mr. Roundtree?
19           A.   We closed the blinds back and we sat down and we
20   finished talking.
21           Q.   Well, what I'm interested in knowing is was there
22   any discussion by any of the three of you as to why a cop
23   car was passing by?
24           A.   That's an area that's profiled.         The week before
25   that, I was profiled again and pulled over and just


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                                                                         Page 41
1    not?
2           A.   Yes.
3           Q.   Do you remember -- I know that was a, you know, a,
4    you know, a tragic evening and a lot happened.
5           A.   Yes.
6           Q.   But do you remember being able to read the
7    statement before you signed it that night?
8           A.   I don't recall.
9           Q.   Okay.
10          A.   This is my first time seeing the statement.
11          Q.   Okay.     And so at the bottom of the paragraph,
12   there's a sentence that says the officer I saw shooting
13   looked Hispanic and he was wearing a beanie?
14          A.   Yes.
15          Q.   So when the door opened, is that what you saw?
16   Describe to me what you saw.
17          A.   When the door came open, all I seen was a bright
18   light, just a bright flashlight.         We couldn't see what was
19   behind the flashlight.       We couldn't see nothing.
20                       So Devante got up off the couch.        And his
21   eye -- one of his eyes is messed up.          He asked the person
22   at the door who the fuck are you.          And the officer said --
23   at that time, I'm not knowing it's a officer.             The officer
24   said don't move, don't move.
25                       And I guess that's when he finally got a


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1    but that last answer was a little faint.
2            Q.    (MR. BERNAL) Yeah, Ms, Singleton, can you speak
3    up a little so we can hear you better.
4            A.   I don't know him.
5            Q.   No, I understand you don't know him.          What I'm
6    asking is, is that the officer that you described as
7    Hispanic wearing a beanie that was at the door at the time
8    of the shooting?
9            A.   I saw him briefly.
10           Q.   No, I understand that.      But is that what you saw?
11   Did you see that beanie?
12           A.   Yes.
13           Q.   Yes?
14           A.   Yes.    That's the only thing I seen was a beanie.
15           Q.   Okay.
16           A.   That's why Devante went to the door to ask who the
17   fuck are you 'cause nobody could see who it was.
18           Q.   Okay.    Let me ask the next question.        So you can
19   remove those exhibits from the screen.           So when the officer
20   went to the door and you saw the door open, did you hear him
21   knock on the door?
22           A.   He didn't knock on the door.        He pushed the door
23   open.
24           Q.   Okay.    And how do you know that?
25           A.   Because nobody else was in the living room but me,


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1            Q.   Okay.   So when the shots were fired, how many did
2    you hear?
3            A.   I heard a couple of them.
4            Q.   And what did you hear the person at the door say
5    before the shots were fired, if anything?
6            A.   He said don't move, don't move.         Then he started
7    shooting through the living room.
8            Q.   And could you tell who he was shooting at?
9            A.   I thought he was shooting at all of us.           If I
10   would have moved I probably would be dead too right now.
11           Q.   So you thought that person was shooting at you for
12   any particular reason?
13           A.   He was shooting at me.      It doesn't matter where he
14   shot, he was shooting at me.        I had a bullet hole next to my
15   head.
16           Q.   Did you give that person any reason to pull a gun
17   and shoot towards you?
18           A.   I didn't give him a reason to open that door.
19           Q.   Object to nonresponsiveness.        Can you answer the
20   question.     Did you give that person a reason to pull a gun
21   --
22           A.   No.
23           Q.   -- to shoot at you?
24           A.   None of us gave him a reason to just open the door
25   and shoot at us.     There could have been kids in that living


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                                                                       Page 133
 1                IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
 2                        SAN ANTONIO DIVISION
 3   PATRICIA SLACK, INDIVIDUALLY )
     AND AS THE SURVIVING MOTHER )
 4   OF CHARLES ROUNDTREE, JR.,   )
     BERNICE ROUNDTREE AS THE     )
 5   REPRESENTATIVE OF THE ESTATE )
     OF CHARLES ROUNDTREE, JR. AND)
 6   ALL STATUTORY BENEFICIARIES, }
     TAYLOR SINGLETON, AND        )
 7   DAVANTE SNOWDEN              )
         PLAINTIFFS,              )
 8                                       )
     VS.                                 )CIVIL ACTION N0.5:18-CV-1117
 9                                       )
     THE CITY OF SAN ANTONIO,            )
10   TEXAS AND STEVE CASANOVA            )
         DEFENDANTS                      )
11   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
                         REPORTER'S CERTIFICATE
12                ORAL AND VIDEOTAPED DEPOSITION OF
                           TAYLOR SINGLETON
13                         FEBRUARY 9, 2021
                          (REPORTED REMOTELY)
14   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
15   I, Christine M. Sitzes, Certified Shorthand Reporter, hereby
16   certify to the following:
17               That the witness,TAYLOR SINGLETON, was duly sworn
18   by the officer and that the transcript of the oral
19   deposition is a true record of the testimony given by the
20   witness;
21               That examination and signature of the witness to
22   the deposition transcript was waived pursuant to Federal
23   Rule 30(e)1;
24               That the amount of time used by each party at the
25   Deposition is as follows:

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                                                                       Page 134
 1      Mr. Bernal - 2 hours 34 minutes           and
                                                                                  l
 2      Mr. Lewis - 0 hours 31 minutes and                                        li
                                                                                   i
 3      Mr. Washington - 0 hours 0 minutes;
 4              That pursuant to information given to the
 5   deposition officer at the time said testimony was taken, the
 6   following includes counsel for all parties of record:
 7   FOR THE PLAINTIFFS:
         MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
 8       WASHINGTON LAW FIRM, PC                                                  !I
         325 North St. Paul, Suite 3950
 9       Dallas, Texas 75201
10   FOR DEFENDANT STEVE CASANOVA:
         MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
11       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue
12       San Antonio, Texas 78212
13   FOR DEFENDANT STEVE CASANOVA:
         MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
14       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue
15       San Antonio, Texas 78212
16   FOR DEFENDANT CITY OF SAN ANTONIO:
         MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
17       OFFICE OF CITY OF SAN ANTONIO, LITIGATION DIVISION
         100 West Houston Street, 18th Floor
18       San Antonio, Texas 78205
19              I further certify that I am neither counsel for,
20   related to, nor employed by any of the parties to the
21   action in which this proceeding was taken, and further
22   that I am not financially or otherwise interested in the
23   outcome of this action.
24              Further certification requirements pursuant to
25   Rules of Civil Procedure will be certified to after they


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                                                                        Page 135   li
1    have occurred.                                                                li
2                Certified to by me this 26th of February, 2021.
3                                         Is/Christine M. Sitzes
                                          Christine M. Sitzes
4                                         TX CSR#8756, Expires 2/28/22
                                          Firm Registration No. 79
 5                                        Federal Court Reporters of
                                          San Antonio
 6                                        10100 Reunion Place, Suite 660
                                          San Antonio, Texas 78216-4119            .!
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                                                                        Page 136
1               FURTHER CERTIFICATION UNDER RULE 30 FRCP:
 2                The original deposition was delivered to Mr.
3    Bernal in accordance with Rule 30(e) of the FRCP on
 4

 5                That $ I 7 y 3 . oo       is the deposition officer's
 6   charges to Mr. Bernal for preparing the original deposition
 7   transcript and any copies of exhibits;
 8                That the deposition transcript was delivered in
 9   accordance with Rule 30(e) and (f) (1) of the FRCP, and that
10   a copy of this certificate was served on all parties shown
11   herein and filed with the Clerk.
12                 Certified to by me on this                day of
13   --~~~~~Q~c~H~-----'   2021.
14                                           Is/Christine M. Sitzes
                                             Christine M. Sitzes,
15                                           TX CSR#8756
                                             Expiration: 2/28/22
16                                           Firm Registration No. 79
                                             Federal Court Reporters of
17                                           San Antonio
                                             10100 Reunion Place
18                                           Suite 660
                                             San Antonio, Texas 78216-4119
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 PROSECUTION GUIDE                                                  3. OFFENSE CLASSIFICATION
                                                                                                                           4. ASSIGNMENT NO:                  18220885
 PAGE50F50                                                        Felon in Poss of firearm                                 5. OFFENSE NO:                     520303
                                                                                                                           6. DATE REPORTED:                  10/17/18
 ROUTING: Homicide


 Casanova, Steve #0099
 Place of Occurrence-Street on· at or Number
 217 Roberts S.A., TX                                           2360                          10/17/2018 0106 hrs             12/26/2018 1700 hrs
Additional Detail of Offense·Progress of lnvestigation·Disposition of Evidence, Property, Etc:..


Patricia Slack (NOK) was notified of Charles Roundtree's (Ol)'s death by Det. L. Saiz #2474.


ARRESTED PERSON:                                                                                                       ***Ol's friend***
(AP)




                                                                                                                       *Recorded DVD statement obtained




On Wednesday, October 24th 2018, Davante Snowden (AP) was arrested on a felon in possession of firearm
warrant and was transported to the Homicide office for a formal statement; a summary of his interview:

1503 hours-Davante was put in room #3329. For his comfort, Officer Hebert put his handcuffs in front.

I walked in to the room and offered him water. He accepted the water. I exited the room and returned with a
bottle of water.

I introduced myself and then I then read Davante his Miranda warning using SAPD form 66-E and he said he
understood his rights. I filled out the SAPD form 66-8L form for him.

1515 hours-Davante said that Hence was not blood related; he calls Hence his "grandfather." Went on to say that
he breeds dogs and keeps them at Hence's and goes by every day. He said they were "chillin"; he said Charles
shut the door and they were chillin' some more then the door swung open and he heard the gunshots. He tried to
go for the hallway and into Hence's room. He closed the front door.
  UCR        UNFOUNDED (         )   CLEARED BY        (XX) CLEARED BY ( )             CLEARED BY EXCEPTION    (   )     CHANGE OF   (   )   PROGRESS OF (     )
  STATUS     REPORT                  ARREST                 JUVENILE ARREST            OF OTHER MEANS                    OFFENSE             INVESTIGATION

Officer Making Report (Badge No.)                       Approving Authority                             Unit Case No.                               Unit Assigned to Follow -up
  Detective R. Perez # 2298                              Sergeant W. McCourt# 3266                                                                  Homicide
   SAN ANTONIO                                                                                                                PROSECUTION GUIDE
POLICE DEPARTMENT                                                               TYPE ONLY                                      SAPD Form 3-L Rev. (9-90)


                                                                                   Exhibit                                                                         cv
                                                                                    F-11                                                       COSA001788
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 PROSECUTION GUIDE                                                 3. OFFENSE CLASSIFICATION
                                                                                                                              4. ASSIGNMENT NO:                  18220885
 PAGE60F50                                                        Felon in Poss of firearm                                    5. OFFENSE NO:                      520303
                                                                                                                              6. DATE REPORTED:                   10/17/18
 ROUTING: Homicide
                                                             SAN ANTONIO POLICE DEPARTMENT
 Last name of Complainant,First,Middle Initial
 Casanova, Steve #0099
 Place of Occurrence-Street on· at or Number                    Dist. Occurrence             Date & Time of Occurrence
 217 Roberts S.A., TX                                           2360                         10/1712018 0106 hrs
Additional Detail of Offense-Progress of Investigation-Disposition of Evidence, Property, Etc••


He said they tried to say we had "something." (Referring to Officer's saying he had a gun).

He said his girlfriend had dropped him off at Hence's house at approximately 5:00p.m. on Tuesday, October 16th
2018.

The night of the incident he was wearing black and white Nikes, a black jacket and khaki pants

1521 hours-Davante said that he and Charles are "blood cousins" through their fathers. He talked about Taylor
arriving and how he was going to sell a dog but the buyer never arrived.

Davante and Taylor are not related by blood; he said his mother helped raise her.

1525 hours-I asked him if he did anything significant that night and he said no.

1530-Davante talked about himself getting shot and then how Charles got shot as he was behind him. I asked him
about how long they'd been inside the house after the shooting; he said he felt it was about a minute, no more than
a minute and thirty seconds before they came back out.

1533 hours-Det. Saiz knocked on the door and gave me the copy of the firearms trace report. I asked him about an
assault that had occurred outside. He said a "Mexican" had gone into the yard and that he, Davante had pushed
him. He said the Mexican came into the yard and he pushed him. He said that was the only altercation that
happened.

1539 hours-"! did not have a gun that night."

1550 hours-I stepped out of the room.

1554 hours-I walked back in the room. I asked Davante if he would give me a buccal swab. He said he would not
do it without his lawyer. I then asked him if he was willing to take a polygraph exam and he said he needed to
contact his lawyer. I walked out of the room.

1559 hours-Det. Espinosa and I walked into the room and Det. Espinosa and Espinosa tried to explain to Davante
what he had told him. Davante

1605 hours-Davante was led out of the room.
  UCR        UNFOUNDED (         )   CLEARED BY       (XX) CLEARED BY ( )             CLEARED BY EXCEPTION         (   )    CHANGE OF   (   )   PROGRESS OF (     )
  STATUS     REPORT                  ARREST                JUVENILE ARREST            OF OTHER MEANS                        OFFENSE             INVESTIGATION

Officer Making Report (Badge No.)                      Approving Authority                                  Unit Case No.                              Unit Assigned to Follow ·up
  Detective R. Perez # 2298                              Sergeant W. McCourt# 3266                                                                     Homicide

   SAN ANTONIO                                                                                                                   PROSECUTION GUIDE
POLICE DEPARTMENT                                                              TYPE ONLY                                         SAPD Form 3-L Rev. (9-90)


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 PROSECUTION GUIDE                                                 3. OFFENSE CLASSIFICATION
                                                                                                                              4. ASSIGNMENT NO:                   18220885
 PAGE7 OF 50                                                      Felon in Poss of firearm                                    5. OFFENSE NO:                        520303
                                                                                                                              6. DATE REPORTED:                    10/17/18
 ROUTING: Homicide
                                                             SAN ANTONIO POLICE DEPARTMENT
 Last name of Complainant,First,Middle Initial                                                                                    Phone Number
 Casanova, Steve #0099
 Place of Occurrence-Street on· at or Number                    Dist. Occurrence             Date & Time of Occurrence           Date & Time of this Report
 217 Roberts S.A., TX                                           2360                         10/17/2018 0106 hrs                 12/26/2018 1700 hrs
Additional Detail of Offense·Progress of Investigation-Disposition of Evidence, Property, Etc••


1607 hours-video ends.

Davante never admitted to having a gun on him; also said he never went into the back room.




  UCR        UNFOUNDED (         )   CLEARED BY       (XX) CLEARED BY ( )             CLEARED BY EXCEPTION         (   )    CHANGE OF   ( )   PROGRESS OF (        )
  STATUS     REPORT                  ARREST                JUVENILE ARREST            OF OTHER MEANS                        OFFENSE           INVESTIGATION

Officer Making Report (Badge No.)                      Approving Authority                                  Unit Case No.                               Unit Assigned to Follow -up
  Detective R. Perez # 2298                              Sergeant W. McCourt# 3266                                                                      Homicide

   SAN ANTONIO                                                                                                                   PROSECUTION GUIDE
POLICE DEPARTMENT                                                              TYPE ONLY                                          SAPD Form 3-L Rev. (9-90)


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                                                                                                                                                  COSA001790
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                                                                     Page 1
              IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                     SAN ANTONIO DIVISION
PATRICIA SLACK, INDIVIDUALLY )
AND AS THE SURVIVING MOTHER )
OF CHARLES ROUNDTREE, JR.,   )
BERNICE ROUNDTREE AS THE     )
REPRESENTATIVE OF THE ESTATE )
OF CHARLES ROUNDTREE, JR. AND)
ALL STATUTORY BENEFICIARIES, )
TAYLOR SINGLETON, AND        )
DAVANTE SNOWDEN              )
    PLAINTIFFS,              )
                             )
VS.                          )CIVIL ACTION NO.5:18-CV-1117
                             )
THE CITY OF SAN ANTONIO,     )
TEXAS AND STEVE CASANOVA     )
    DEFENDANTS               )
***********************************************************
          ORAL AND VIDEOCONFERENCE DEPOSITION OF
                     DAVANTE SNOWDEN
                      MARCH 16, 2021
                   (REPORTED REMOTELY)
***********************************************************
           DAVANTE SNOWDEN, produced as a witness at the
instance of the Defendants, and duly sworn, was taken in the
above-styled and numbered cause on the 16th of March, 2021,
from 9:05 a.m. to 12:43 p.m., by Christine M. Sitzes, CSR,
reported by machine stenography, in the City of San Antonio,
County of Bexar, State of Texas, pursuant to the pursuant to
FRCP 30, the First Emergency Order Regarding the COVID-19
State of Disaster, and/or the provisions stated on the
record or attached therein.

                                                                   Exhibit
                                                                         G
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                                                                          Page 2
1                         A P P E A R A N C E S
2    FOR THE PLAINTIFFS, WASHINGTON LAW FIRM, PC:
     MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
3    325 North St. Paul, Suite 3950
     Dallas, Texas 75201
4
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
5    ZECH:
     MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
6    2517 North Main Avenue
     San Antonio, Texas 78212
7
     FOR DEFENDANT STEVE CASANOVA, DENTON NAVARRO ROCHA BERNAL &
8    ZECH:
     MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
9    2517 North Main Avenue
     San Antonio, Texas 78212
10
     FOR DEFENDANT CITY OF SAN ANTONIO, OFFICE OF CITY OF SAN
11   ANTONIO:
     MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
12   100 West Houston Street, 18th Floor
     San Antonio, Texas 78205
13
14   ALSO IN ATTENDANCE:
15   ALEJANDRA CASAS, VIDEOGRAPHER/TECH(VIA VIDEOCONFERENCE)
16   CHRISTINE M. SITZES, COURT REPORTER(VIA VIDEOCONFERENCE)
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20                                  ******
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                                                                         Page 66
1          A.    Yes, sir.
2          Q.    Let's show Exhibit Number 13, please.           When
3    Officer Casanova arrived at the house, there was a gentleman
4    sitting on the porch and this is his picture.             Can you see
5    it?
6          A.    Yes, sir.
7          Q.    Do you know who that is?
8          A.    No, I don't know who that is.
9          Q.    So when you arrived that night, this gentleman was
10   not sitting on the porch?
11         A.    No, sir.
12         Q.    Was he inside the house?
13         A.    No, sir.
14         Q.    Did you ever see him that night?
15         A.    No, sir.
16         Q.    Okay.     You can take that down now.       Let's put up
17   Exhibit 10, please.
18                       Mr. Snowden, I'm gonna represent to you
19   this is a photograph of you the night of the incident
20   after the shooting occurred and you were arrested.              Do you
21   see that?
22         A.    Yes, sir.
23         Q.    You recognize that those were the clothes that you
24   were wearing that night?
25         A.    Yes, sir, they was.


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                                                                         Page 67
1         Q.    And do you see that these two guys that are
2    looking at you are EMS people?
3         A.    Yes, sir.
4         Q.    Okay.    So it looks like you're wearing a white
5    T-shirt.   Right?
6         A.    Yes, sir.
7         Q.    And did you change clothes before then?
8         A.    No, sir.
9         Q.    Weren't you wearing some -- a dark colored?
10        A.    I was wearing a jacket.         I was wearing a jacket.
11   I took my jacket off to stop Charles -- try to stop Charles
12   Roundtree from bleeding to death.
13        Q.    Right.    So you had a dark jacket on?
14        A.    A black jacket.
15        Q.    I'm sorry.     What did you say?
16        A.    A black jacket.
17        Q.    Yes, a black jacket.        So you took that off before
18   they arrested you at the scene?
19        A.    No, I took it off -- I took it off to stop him
20   from bleeding.     That's the only reason I took it off.
21        Q.    I understand.      But you were wearing a black jacket
22   and underneath was a white T-shirt.          Right?
23        A.    Yes, sir.
24        Q.    And then you have these pants.          Is that khaki
25   colored or yellow pants?


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                                                                         Page 68
1            A.     Khaki.
2            Q.     Khaki colored?    Okay.   And you can see there's no
3    belt.        Right?    You don't have a belt?
4            A.     No, sir.
5            Q.     And this black line on your right pocket, that's a
6    zippered pocket.         Is it not?
7            A.     Yes, sir.
8            Q.     And it looks like it's open.      Is it zipped up or
9    is it open?
10           A.     Open.
11           Q.     Okay.     And those are the pants that you were
12   wearing at the time of the shooting.            Correct?
13           A.     Yes, sir.
14           Q.     And if we go down a little bit, we could see your
15   shoes and socks.         Is that what you were wearing at the time
16   of the shooting?
17           A.     Yes, sir.
18           Q.     Was there anything else that you took off other
19   than the black jacket when they arrested you at that time?
20           A.     No, that's the only thing I took off.
21           Q.     Okay.     And so at that time, did you realize that
22   you had been shot?
23           A.     Yes.    At this time of this picture, yes, sir.
24           Q.     And tell me again when did you first figure out
25   that you had been shot?


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                                      March 22, 2021

                                                                                          Page 147
 1                                  SAN ANTONIO DIVISION
 2   PATRICIA SLACK, INDIVIDUALLY )
     AND AS THE SURVIVING MOTHER )
 3   OF CHARLES ROUNDTREE, JR.,   )
     BERNICE ROUNDTREE AS THE     )
 4   REPRESENTATIVE OF THE ESTATE )
     OF CHARLES ROUNDTREE, JR. AND)
 5   ALL STATUTORY BENEFICIARIES, )
     TAYLOR SINGLETON, AND        )
 6   DAVANTE SNOWDEN              )
         PLAINTIFFS,              )
 7                                )
     VS.                          )CIVIL ACTION N0.5:18-CV-1117
 8                                                 )
     THE CITY OF SAN ANTONIO,                      )
 9   TEXAS AND STEVE CASANOVA                      )
         DEFENDANTS                                )
10   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
                             REPORTER'S CERTIFICATE
11                    ORAL AND VIDEOTAPED DEPOSITION OF
                               DAVANTE SNOWDEN
12                              MARCH 16, 2019
                              (REPORTED REMOTELY)
13   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
14   I, Christine M. Sitzes, Certified Shorthand Reporter, hereby
15   certify to the following:
16                  That the witness,DAVANTE SNOWDEN, was duly sworn
17   by the officer and that the transcript of the oral
18   deposition is a true record of the testimony given by the
19   witness;
20                  That the deposition transcript was submitted on
21   ~M~~~qAr~HL-__7~1~,--~~okkL\   to the witness or to the attorney for the
22   witness for examination, signature, and return to FEDERAL
23   COURT REPORTERS OF SAN ANTONI 0 by_--'(..\D.L.,q"'-'-''t-----41-'1"''---<..ZuCQ.L...ll_____ ;
24                  That the amount of time used by each party at the
25   Deposition is as follows:


               Federal Court Reporters of San Antonio, Inc.
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                               March 22, 2021

                                                                      Page 148
 1        Mr. Bernal - 2 hours 32 minutes         and
 2        Mr. Lewis - 0 hours 34 minutes and
 3        Mr. Washington - 0 hours 15 minutes;
 4               That pursuant to information given to the
 5   deposition officer at the time said testimony was taken, the
 6   following includes counsel for all parties of record:
 7   FOR THE PLAINTIFFS:
         MR. DARYL K. WASHINGTON(VIA VIDEOCONFERENCE)
 8       WASHINGTON LAW FIRM, PC
         325 North St. Paul, Suite 3950
 9       Dallas, Texas 75201
10   FOR DEFENDANT STEVE CASANOVA:
         MR. PATRICK C. BERNAL(VIA VIDEOCONFERENCE)
11       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue
12       San Antonio, Texas 78212
13   FOR DEFENDANT STEVE CASANOVA:
         MR. ADOLFO RUIZ(VIA VIDEOCONFERENCE)
14       DENTON NAVARRO ROCHA BERNAL & ZECH
         2517 North Main Avenue
15       San Antonio, Texas 78212
16   FOR DEFENDANT CITY OF SAN ANTONIO:
         MR. LOGAN LEWIS(VIA VIDEOCONFERENCE)
17       OFFICE OF CITY OF SAN ANTONIO, LITIGATION DIVISION
         100 West Houston Street, 18th Floor
18       San Antonio, Texas 78205
19               I further certify that I am neither counsel for,
20   related to, nor employed by any of the parties to the
21   action in which this proceeding was taken, and further
22   that I am not financially or otherwise interested in the
23   outcome of this action.
24               Further certification requirements pursuant to
25   Rules of Civil Procedure will be certified to after they


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                                                                       Page 149
 1   have occurred.
 2                Certified to by me this 22nd of March, 2021.
 3                                        /a/Christine M. Sitzes
                                          Christine M. Sitzes
 4                                        TX CSR#8756, Expires 2/28/22
                                          Firm Registration No. 79
 5                                        Federal Court Reporters of
                                          San Antonio
 6                                        10100 Reunion Place, Suite 660
                                          San Antonio, Texas 78216-4119
 7

 8

 9

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24
25             FURTHER CERTIFICATION UNDER RULE 30 FRCP:


             Federal Court Reporters of San Antonio, Inc.
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                                                            March 22, 2021

                                                                             ~              Page 150
 1                           The original deposition                     wa~         returned to
 2   the deposition officer in accordance with Rule 30(e) of the
 3   FRCP on            _,(.1"'.'>:.JJ"CIJ"----'1."-1._,_l"'o~c\;

 4                            If returned, the attached Changes and Signature
 5   page contains any changes and the reasons therefore;
 6                           If returned, the original deposition was delivered
 7   to:Mr. Bernal;
 8                           That $ , lo·y 1. 1 <:,                 is the deposition officer's
 9   charges to Mr. Bernal for preparing the original deposition
10   transcript and any copies of exhibits;
11                           That the deposition transcript was delivered in
12   accordance with Rule 30(e) and (f) (1) of the FRCP, and that
13   a copy of this certificate was served on all parties shown
14   herein and filed with the Clerk.
15                           Certified to by me on this
16   _ _Q~..:·i.J!?"""-"'-'"'L_ _ _ ,      2 0 21 .
17
                                                                    Christine M. Sitzes,
18                                                                  TX CSR#8756
                                                                    Expiration: 2/28/22
19                                                                  Firm Registration No. 79
                                                                    Federal Court Reporters of
20                                                                  san Antonio
                                                                    10100 Reunion Place
21                                                                  Suite 660
                                                                    San Antonio, Texas 78216-4119
22
23
24
25


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EXHIBIT NO. 10
SNOWDEN
MARCH 16, 2021
CHRISTINE M. SITZES, CSR




                                                                                                    COSA004125
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                        2-10-21 1st wit
                       February 10, 2021

                                                                     Page 1
             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                SAN ANTONIO DIVISION DIVISION
PATRICIA SLACK, Individually and as          )
the surviving mother of CHARLES              )
ROUNDTREE, JR., BERNICE ROUNDTREE            )
as the representative of the estate          )
of CHARLES ROUNDTREE, JR. and all            )
Statutory beneficiaries, TAYLOR              )
SINGLETON, and DAVANTE SNOWDEN               )
     Plaintiffs,                             )
                                             )CIVIL ACTION NO.
VS.                                          )5:18-CV-1117-JKP
                                             )
THE CITY OF SAN ANTONIO, TEXAS               )
AND STEVE CASANOVA                           )
     Defendants.                             )

              ORAL AND VIDEOTAPED DEPOSITION OF
                   PATRICIA CASTILLO SLACK
                      FEBRUARY 10, 2021
      ORAL DEPOSITION OF PATRICIA CASTILLO SLACK, produced
as a witness at the instance of the Defendant, The City
of San Antonio, and duly sworn, was taken in the
above-styled and numbered cause on FEBRUARY 10, 2021,
from 9:05 a.m. to 1:10 p.m., before VANESSA P. POMPA,
CSR in and for the State of Texas, reported by
stenographic method, Via Zoom video conference, San
Antonio, Bexar County, Texas pursuant to the Federal
Rules of Civil Procedure, and the provisions stated on
the record or attached hereto, and pursuant to Texas
Governor's Orders regarding the COVID-19 State of
Disaster, Section 22.0035(b) of the Texas Government
Code.

                                                                   Exhibit
        Federal Court Reporters of San Antonio, Inc.
                 (210) 340-6464210-340-6464                              H
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                            February 10, 2021

                                                                          Page 2
1                                APPEARANCES
2
     FOR PLAINTIFF:
3
          Mr. Daryl K. Washington          (Via Zoom)
4         Washington Law Firm, PC
          345 N. St. Paul Street, Suite 950
5         Dallas, Texas 75201
6    FOR DEFENDANT THE CITY OF SAN ANTONIO:
7         Mr. Logan Lewis                          (Via Zoom)
          Office of City of San Antonio
8         Assistant City Attorney
          Litigation Division
9         100 W. Houston St., 18th Floor
          San Antonio, Texas 78205
10
     FOR DEFENDANT STEVE CASANOVA:
11
          Mr. Adolfo Ruiz                  (Via Zoom)
12        Denton Navarro Rocha Bernal & Zech
          2517 N. Main Avenue
13        San Antonio, Texas 78212
14   ALSO PRESENT:
15        Bernice Roundtree,                       (Via Zoom)
16        Alejandra Casas,                         (Via Zoom)
          Video Technician;
17
          Patricia Castillo Slack                  (Via Zoom)
18        the Witness; and
19        Vanessa P. Pompa, CSR                    (Via Zoom)
20
21
22
23
24
25


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15                          REQUESTED DOCUMENTS
16   NONE
17                          CERTIFIED QUESTIONS
18   NONE
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                                                                         Page 50
1    know, he -- he always had us.         He had uncles, he had
2    aunts, he had -- he had all of us, he had grandparents.
3    You know, he didn't have to do anything to -- all he had
4    to do was ask.
5        Q.     And what relation is Bernice Roundtree to
6    Charles?
7        A.     She is his -- she's his aunt/paternal -- well,
8    she's his adopted mother/paternal aunt.
9        Q.     Okay.   And can you -- can you describe that --
10   that relationship, adopted mother or paternal aunt.              Did
11   he -- did Bernice Roundtree adopt Charles?
12       A.     Yes, she did.
13       Q.     Okay.   When did she adopt Charles?
14       A.     When he was young.      I mean, I can't exactly
15   remember the age.
16       Q.     Okay.   So was it -- was it -- was he ten, was
17   he five?
18       A.     He was younger than that.
19       Q.     Was he five -- was he younger than five?
20       A.     I think he was, like, three or four.
21       Q.     Okay.   And did she legally adopt Charles?
22       A.     Yes, she did.
23       Q.     Okay.   And why did she adopt Charles?
24       A.     I was young, I was -- I had issues.          I was
25   younger, you know, she was mature and I trusted her with


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1    my children.
2        Q.      So what issues did you have?
3        A.      I mean, some issues that I really don't want to
4    re-live, you know.      I was young, I made mistakes.          I
5    didn't want my kids in the system.
6        Q.      What system are you talking about?
7        A.      I didn't want my kids in CPS.
8        Q.      Was there a time where -- where CPS had to take
9    Charles away from you?
10       A.      I don't recall.
11       Q.      Was there a time where CPS had to take any of
12   your other children away from you?
13       A.      I don't recall.
14                   MR. WASHINGTON:       Adolfo, we've been going
15   about an hour-and-a-half now.         Can we take a break?
16                   MR. RUIZ:     Absolutely.     How long of a
17   break would you like, Daryl?
18                   MR. WASHINGTON:       Five minutes.     How long
19   -- how much longer you think you're gonna be going with
20   Patricia?
21                   MR. RUIZ:     Well, I -- probably a while
22   still.    So if you wanna take a break we can take a ten
23   minute break.
24                   MR. WASHINGTON:       Okay.
25                   (Recess from 10:27 to 10:38)


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                                                                         Page 56
1        A.     Correct.
2        Q.     So did you claim any of your children as
3    deductions?
4        A.     I'm not understanding you.
5        Q.     As a dependent when -- where you do your --
6        A.     I've claimed my son yes, when he was living
7    with me.    Yes.
8        Q.     Okay.   Before he was adopted, is that correct?
9        A.     No.
10       Q.     So -- So when Charles turned 18 did he live --
11   start living with you?
12       A.     He was living with me at 15.
13       Q.     Fifteen, okay.      But you didn't go through a
14   legal -- from what I understand, correct me if I'm
15   wrong, go through a legal process to regain custody
16   of -- of Charles when he went back to living with you?
17       A.     Are you asking me did I go to court?
18       Q.     Or -- Yes, or a legal process.
19       A.     No.   I mean, I got power of attorney of -- from
20   Bernice.
21       Q.     Okay.   And what was that power of attorney,
22   what did it -- what did it allow you to do?
23       A.     Everything.
24       Q.     Okay.   Which is?
25       A.     Put him in school, medical and whatever, you


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                            February 10, 2021

                                                                         Page 57
1    know, he needed as a child.
2        Q.     Okay.   And that -- okay.       So did the -- that
3    power of attorney did it -- was Bernice Roundtree still
4    the -- the legal parent of Charles?
5        A.     We both were.
6        Q.     Okay.   But that's your understanding, is that
7    correct?
8        A.     That's both of our understanding.
9        Q.     Now, when you said that you were young and you
10   had issues and you weren't financially well off, did you
11   have any drug problem?
12       A.     No.   I've never had a drug problem.         I don't
13   even do drugs.
14       Q.     How about an alcohol problem?
15       A.     No.   I'm not a drinker.
16       Q.     How about -- besides your -- your financial
17   problems that you indicated did you have a -- I guess a
18   -- since you were -- How old were you when you gave
19   Charles up for adoption?
20       A.     About 15, 16.
21       Q.     How old were you when Charles was born?
22       A.     Charles was born when I was 15 in 2000.            I
23   can't remember the exact age when I gave Bernice
24   Charles.
25       Q.     Well, how long did Charles live with Bernice?


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                            February 10, 2021

                                                                         Page 59
1                      MR. RUIZ:    Oh, I'm sorry, I did take it
2    off.   I'm sorry. There you go.
3        Q.     (BY MR. RUIZ)      So would it be fair to say that
4    at the time of Charles' death on October 17th of 2018
5    that -- well, let me rephrase that question.            When was
6    -- is Charles' birthday?
7        A.     September 5th, 2000.
8        Q.     So at the time of his death on October 17th,
9    2018 Charles had just turned 18?
10       A.     Yes.
11       Q.     So right before Charles' 18th birthday was --
12   was Bernice Roundtree still Charles' legal guardian?
13       A.     She's always been his legal guardian.           Like I
14   said, we've both been his legal guardians.
15       Q.     And that's your understanding?
16       A.     That's both of our understanding.
17       Q.     And although you have this understanding, what
18   is your legal -- I know you're not a lawyer but what is
19   your understanding that the power of attorney provided
20   to you?
21       A.     We both have rights to him.
22       Q.     So when Charles went to live with you when he
23   was -- went to live with you when he was 15 did he stay
24   for any long periods at Bernice's house?
25       A.     Yeah, that's his mom too.


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                                                                                 I
                          DEPARTMENT OF STATE HEALTH SERVICES
                                 VITA:CSTATISTICS UNIT
       Wl,~~tRTMENT OF STATE HEALTH SERVICES. VITAL STATISTICS
                                              TE OF DEATH




                                                                                                                       /
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                Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 281 of 305



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                                                        DEPARTMENT OF STATE HEALTH SERVICES
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I
         STATE OF TEXAS
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         CHARLES
        4a. Place of Dirth • Counly            rb.       D                                    ROUNDTREE
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            BERNICE ROUNDTREE                                                                                                     I

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                                                                                                                                                                                                                                            \



        VS-161 Rev. 01/05 Texas Department of State Health Services - V1t~I Slallstlc~




                                                                                                                                                                                                                    EXHIBIT
                                                                                                                                                                                                                                                    l
Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 282 of 305




    STATE OF TEXAS
    COUNTY OF BEXAR

               That MEADOWLA WN MEMORIAL PARK, INC., a private corporation
      duly incorporated under the laws of the State of Texas, for and in consideration of the sum of
                Two Thousand Nine Hundred Ninety and 00/100 Dollars
                    ($2,990.00) to it paid by Grantee herein named, has granted, sold
                   and conveyed and by these presents do grant, sell and convey unto
                                        Bernice Roundtree
            and their heirs and assigns forever, subject to conditions, limitations, provisions
               and restrictions hereinafter provided, the following described lot or parcel
                                              of land, to-wit:
                              Garden of Promise, Lot 60, Space 9
                               Deceased: Charles D. Roundtree
                     of Meadowlawn Memorial Park, Inc., in Bexar County, Texas

                TO MA VE AND TO HOLD the above described premises unto the said
                                      Bernice Roundtree and their heirs
                and assigns forever, for burial purposes only. This deed is made subject
              to all of the laws of the State of Texas applicable to cemeteries, and subject
                     to conditions, limitations, restrictions and provisions specified in
                   the rules, regulations and by laws, of Meadowlawn Memorial Park.
                 Cemetery may amend, add to, revise, change or modify such rules and
                                       regulations as it may deem fit.

                    This Cemetery is operated as a Perpetual Care Cemetery, which
              means that a Perpetual Care Fund for its maintenance has been established
                   in conformity with the laws of the State of Texas. Perpetual Care
     means to maintain, repair, nnd care for the Cemetery, including the roads on cemetery property.
                           Section 712.007 of Texas Health and Safety Code.

                   The above described lot or parcel shall be entitled to receive care
               and maintenance out of the income of the perpetual care and maintenance
                  fund as provided by Trust Agreement dated July 19, 1963, between
                 Meadowlawn Memorial Park, Inc. and Live Oak Banking Company,
                                    Wilmington, North Carolina.

               IN TESTIMONY WHEREOF, the said Meadowlawn Memorial Park, Inc.
                   has caused these presents to be duly executed by its President and
               countersigned by its Secretary, thereunto duly authorized and empowered,
                                 nnd its seal hereunto affixed, this day.
                                            October 28, 2018
                            MEADOWLA WN MEMORIAL PARK, INC.
Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 283 of 305

                       February 10, 2021

                                                                     Page 1
             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION
PATRICIA SLACK, Individually and as          )
the surviving mother of CHARLES              )
ROUNDTREE, JR., BERNICE ROUNDTREE            )
as the representative of the estate          )
of CHARLES ROUNDTREE, JR. and all            )
Statutory beneficiaries, TAYLOR              )
SINGLETON, and DAVANTE SNOWDEN               )
     Plaintiffs,                             )
                                             )CIVIL ACTION NO.
VS.                                          )5:18-CV-1117-JKP
                                             )
THE CITY OF SAN ANTONIO, TEXAS               )
AND STEVE CASANOVA                           )
     Defendants.                             )

              ORAL AND VIDEOTAPED DEPOSITION OF
                      BERNICE ROUNDTREE
                      FEBRUARY 10, 2021
      ORAL DEPOSITION OF BERNICE ROUNDTREE, produced as a
witness at the instance of the Defendant, The City of
San Antonio, and duly sworn, was taken in the
above-styled and numbered cause on FEBRUARY 10, 2021,
from 1:15 p.m. to 3:36 p.m., before VANESSA P. POMPA,
CSR in and for the State of Texas, reported by
stenographic method, Via Zoom video conference, San
Antonio, Bexar County, Texas pursuant to the Federal
Rules of Civil Procedure, and the provisions stated on
the record or attached hereto, and pursuant to Texas
Governor's Orders regarding the COVID-19 State of
Disaster, Section 22.0035(b) of the Texas Government
Code.
                                                                   Exhibit
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                                                                          Page 2
1                                APPEARANCES
2
     FOR PLAINTIFF:
3
          Mr. Daryl K. Washington          (Via Zoom)
4         Washington Law Firm, PC
          345 N. St. Paul Street, Suite 950
5         Dallas, Texas 75201
6    FOR DEFENDANT THE CITY OF SAN ANTONIO:
7         Mr. Logan Lewis                          (Via Zoom)
          Office of City of San Antonio
8         Assistant City Attorney
          Litigation Division
9         100 W. Houston St., 18th Floor
          San Antonio, Texas 78205
10
     FOR DEFENDANT STEVE CASANOVA:
11
          Mr. Adolfo Ruiz                  (Via Zoom)
12        Denton Navarro Rocha Bernal & Zech
          2517 N. Main Avenue
13        San Antonio, Texas 78212
14   ALSO PRESENT:
15        Alejandra Casas,                         (Via Zoom)
          Video Technician;
16
          Bernice Roundtree                        (Via Zoom)
17        the Witness; and
18        Vanessa P. Pompa, CSR                    (Via Zoom)
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                                                                         Page 30
1    was living with his mother.          He was living with
2    Patricia.
3        Q.      Okay.    And so what was the -- the reason why
4    Charles went to go live with Patricia when he was -- he
5    turned 15?
6        A.      He just wanted to be with his -- his mother.
7        Q.      Okay.
8        A.      And so many -- it was a lot of us.         He just
9    wanted to be with his mother.
10       Q.      And -- and so he stopped living with you and
11   started living with Patricia Slack?
12       A.      Yes.
13       Q.      Now, Patricia said she has a power of attorney.
14   Can you elaborate on that, what -- what she was talking
15   about.
16       A.      Yes.    I gave her the power of attorney to be
17   able to put him in school and if he needed to go to
18   doctors' appointments and whatnot she was able to do
19   that with the power of attorney.
20       Q.      Okay.    Well, with that power of attorney it
21   didn't give up any of your parental rights, did it?
22                      MR. WASHINGTON:     Objection, form.
23       Q.      (BY MR. RUIZ)    Let me ask this another way.
24   Did that power of attorney -- did the power of attorney
25   give up any of your parental rights?


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                                                                         Page 31
1                       MR. WASHINGTON:    Objection, form.
2        A.      No.
3        Q.      Now, when Charles was growing up did -- was
4    there a particular person who was, I guess, a father
5    figure to him?
6        A.      His older brothers.
7        Q.      And who are -- what are their names?
8        A.      Alvin and Rayshon.
9        Q.      And where does Alvin live right now today, is
10   Alvin in San Antonio?
11       A.      He's in Dominguez State Jail.
12       Q.      Okay.    And -- Now, what is he in Dominguez
13   State Jail for?
14       A.      I'm not sure.
15       Q.      So that's the same jail that Charles is in,
16   Roundtree, Senior?
17       A.      Yes.
18       Q.      Okay.    So you -- you don't recall the criminal
19   charge or the conviction why he is in -- why Alvin is in
20   Dominguez State Jail?
21       A.      No.
22       Q.      How about Rayshon, where is he currently?
23       A.      He just moved into an apartment with a
24   roommate.     I'm not sure that -- exactly where but it's
25   here in San Antonio.


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                                                                         Page 51
1    be a fair statement?
2        A.      Yes.
3        Q.      Have you ever known of Charles owning a gun?
4        A.      No.
5        Q.      Or -- having possession -- or having a gun?
6        A.      No.
7        Q.      The power of attorney that you entered into
8    with Patricia Slack, do you have a copy of that power of
9    attorney?
10       A.      I don't recall.    I'm not sure.
11       Q.      Okay.   I guess does -- does -- do you think
12   Patricia has a copy of that power of attorney?
13       A.      I can't say.
14       Q.      Okay.   Did you have a lawyer draw that up for
15   you?
16       A.      I'm sorry?
17       Q.      Did you have a lawyer prepare the power of
18   attorney for you?
19       A.      No, I did not.    I got it from the library and
20   just had it -- we got it notarized.
21       Q.      Okay.   What library did you get it from?
22       A.      It was one of the San Antonio libraries.           I
23   can't remember which branch.
24       Q.      Okay.   And so it was -- was there a term limi
25   -- was there a -- I guess a term period where the power


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                                                                         Page 52
1    of attorney is going to be valid or a time limitation?
2        A.      I don't -- I don't recall.         I can't -- I can't
3    recall.
4        Q.      Okay.   And in that power of attorney was there
5    a power to revoke that power of attorney at any time by
6    you, do you recall that type of clause in the power of
7    attorney?
8        A.      I'm not positive if it -- if that was included.
9    I can't say.
10       Q.      Okay.   When -- When Charles went back to his
11   mother was there any benefits that you were receiving
12   for Charles that kind of transferred over to Patricia
13   Slack?
14       A.      No.
15       Q.      But did Charles still have his Medicaid
16   insurance?
17       A.      Yes.    Yes.
18       Q.      When Charles went to go live with -- with
19   Patricia Slack was it a, I guess, a mutual agreement,
20   everybody agreed that -- Well, let me ask -- let me --
21   let me rephrase.      Was it Charles' decision to go live
22   with Patricia Slack?
23       A.      Yes.
24       Q.      And is there any particular reason why he
25   wanted to live with Patricia Slack or to move from your


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                                                                         Page 53
1    house?
2        A.      Not that I can recall.
3        Q.      And you were okay with that agreement, with
4    that arrangement?
5        A.      Yes.
6        Q.      Tell me the loss that you feel because of the
7    death of Charles.
8        A.      The loss I feel -- I feel empty.         I mean, he --
9    he took away any -- my joy.        He took away a big brother,
10   a mentor.     He took away my spirit.
11       Q.      And have you -- Have you sought any treatment
12   for, I guess, for grieving?        Any counseling or -- or
13   therapy since the death of Charles?
14       A.      I received counseling from Dr. Uche.
15       Q.      So how many times have you seen Dr. Uche?
16       A.      Several times.     I was seeing him frequently.
17   In the beginning it was like every week.           Then it went
18   to every other week up until Covid.
19       Q.      Okay.   And would your insurance cover Dr.
20   Uche's visits?
21       A.      Yes -- Wait.     No -- yes and no.     I have
22   insurance but --
23       Q.      Okay.   Did you see -- there's another doctor,
24   Dr. Dartson, a psychologist out of Dallas.            Did you
25   have -- ever been seen by her?


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                                                                         Page 54
1        A.      No.
2        Q.      Besides Uche any other doctors that you've seen
3    because of the incident -- the shooting incident with
4    Charles?
5        A.      No.
6        Q.      So what has Dr. Uche done for you, what -- what
7    is his -- did he diagnose you or --
8        A.      Well, he -- he didn't diagnose me.         I just
9    mainly went for counseling.        I talked to him.       He
10   started me on a treatment where -- helping me to be able
11   to talk to and deal with the situation without breaking
12   down or, you know, falling apart.          He just talked, we
13   did different exercises, you know, as far as, you know,
14   what -- what I need to do to deal with some of my
15   depression and anxiety.       So pretty much that's what I --
16   he helped me with.
17       Q.      Is he -- is he a psychiatrist or a
18   psychologist, do you know?
19       A.      I just know he's -- it says he's a counselor.
20       Q.      Okay.   Has he -- has he prescribed any
21   medication to you?
22       A.      No, sir.
23       Q.      Okay.   Did he recommend that you go to a
24   psychiatrist or recommend that certain medication may
25   help you?


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                           ,
                     '.


                                                                        NO. 2005-PA-00719

                                  IN THE INTEREST OF                                 §                 IN THE DISTRICT COURT                  I
                          .::o                                                       §
                                  CHARLES D. ROUNDTREE JR.,                          §               166m .JUDICIAL DISTRICT
                                  ETAL
                                                                                     §
                                  CHILDREN                                           §                   BEXAR COUNTY, TEXAS
                                                                  ORDER GRANTING ADOPTION

                                 1.      Date of Hearing
                                         On         APR l 4 2005            the Court heard this case.

                                 2.      Appearances
           co
           ..0   •                       Petitioner, BERNICE ROUNDTREE, appeared in person and through attorney of record,

                                 Arabia Vargas, and announced ready for trial.

                                        •Other party appearing was TEXAS DEPARTivtENT PROTECTIVE & REGULATORY

                                 SERVICES.

                                         Also appearing was IRENE CADENA, appointed by the Court as guardian ad litem of the

                                 children the subject of this suit.

                                 3.      Jurisdiction
                                         The Court, after examining the record and hearing the evidence and argument of counsel,

                                 finds that it has jurisdiction of this case and of all the parties and that no other court has continuing,

                                 exclusive jurisdiction of this case. All questions of fact and oflaw were submitted to the Court. All

                                 persons entitled to citation were properly cited.

                                 4.      Record

                                         The making of a record oftestimony was waived by the parties with the consent of the Court.

                                 5.      Children

                                         The Court finds that the children sought to be adopted in this suit and now residing with

                                 Petitioners are:

                                         Name:                    CHARLES D. ROUNDTREE JR.
                                         Sex:                     Male
                                         Birth date:              September 5, 2000
                                         Birth place:             San Antonio, Texas
                                                                                                                                Exhibit
CR000104




                                         Social Security #:       XXX-XX-XXXX

                                                                                                                                     J
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                              Name:                   INFANT ROUNDTREE AKA CARMELITA MARIAH
                                                      ROUNDTREE
                     ....     Sex:                    Female
                              Birth date:             June 21, 2001
                              Birth place:            San Antonio, Texas
                              Social Security #:      XXX-XX-XXXX

                              Name:                   ALIYHA MARIE CASTILLO
                              Sex:                    Female
                              Birth date:             May24, 2003
                              Birth place:            San Antonio, Texas
                              Social Security #:      XXX-XX-XXXX
           cr          6.     Eligibility for Adoption
           ..0
           ('.J
                              The Court finds that the children have no living parents, and no living alleged or probable

                       father whose parental rights have not been terminated by final judicial order.

                       7.     Residence with Petitioners
           u                   The Court finds that the children have lived in the home ofPetitioners for at least six months.
           .::-_,
           -   ..J



                       8.     Home Screening Post-Placement Report
                              The Court finds that the required preadoptive home screening and post-placement report have

                       been made and are on file.

                       9.     Health, Social, Educational, and Genetic History Report
                              The Court finds that the preparation and filing of the health, social, educational, and genetic

                       history report concerning the children is not required by section 162.005 of the Texas Family Code.

                       10.    Criminal History Record Information
                              The Court finds that the criminal history record information required for BERNICE

                       ROUNDTREE is on file in the record of this case.

                       11.    Interstate Compact
                              The Court finds that Petitioners have filed a verified allegation or statement regarding

                       compliance with the Interstate Compact on the Placement ofChildren as required by section 162.002

                       of the Texas Family Code.

                       12.    Consent

                              The Court finds that the managing conservator has consented to this adoption by written
CR000105
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                   consent on file in this case.
                   13.       Adoption Granted
            .•
             .-~               ...
                             The Court finds that all prerequisites and requirements for adoption have been met and that
                   the adoption is in the best interests of the children. IT IS ORDERED that the adoption of the
                   children the subject of this suit by Petitioners is GRANTED and that the parent-child relationship is
                   created between the children and Petitioners for all purposes.
                             IT IS FURTHER ORDERED that the name ofCHARLES D. ROUNDTREE JR., the child
                   the subject ofthis suit, a male who was born on September 5, 2000, shall remain CHARLES D.
                   ROUNDTREE JR.
                             IT IS FURTHER ORDERED that the name of INFANT ROUNDTREE AKA
                   CARMELIT.N MARIAH ROUNDTREE, the child the subject of this suit, a female who was born
                         \

                   on June 21, 2001, shall changed to CARMELITA MARIAH ROUNDTREE.
                             IT IS FURTHER ORDERED that the name of ALlYAHA MARIE CASTILLO, the child
           ~e subject ofthis suit, a female who was born on May 24, 2003, shall remain ALlYA"tll MARIE
           (PcASTILLO.
                   14.       .Citizenship

                             The Court finds that the children adopted are citizens by birth of the United States of
                   America.
                   15.       Transmitting Report; Sealing Files
                             IT IS FURTHER ORDERED that the clerk of this Court shall, after entry of final orders in
                   this case, transmit to the Bureau of Vital Statistics at Austin, Texas, a certified report of adoption in
                   accordance with section 108.003 of the Texas Family Code. All papers and records in this case,
                   including the minutes of the Court, are ordered sealed.
                   16.       Relief Not Granted

                             IT IS ORDERED that all relief requested in this case and not expressly granted is denied.
CR000106
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                                             17.    Da&e oi'Order APR 1 4 2005
                                                    SIGNED on _ _ _ _ _ _ _ _ _ _ /




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                                                                                                   :ASSOCIATE J1.JOOi
                                             APPROVED AND CONSENrED TO AS TO BOlli FORM                SUBSTANCE·



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                                                                             By:                  j. -~
                                                                                ArabitlrSU
                                                                                   Swe Bu No. 00~89767
                                                                                     omey for Petitioner~
                                                                                              ------~
CR000107
  Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 300 of 305




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MAY REWOVE OR STRIKE ANY OF 1liE FOU.OWlNO INFORMATION FROM THIS
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          e   EXCLUDED SPECIFICALLY FROM THE AUTHORITY AND POWERS GRANTED TO THE

              ATIORNEY· IN· FACT:

              Power or authonty to consent to the marriage or adoption of the ch1d(ren).




 4.     The powers granted to the attorney-in-fact shall be in effect until
 February 27                 . 2019     (not to exceed six months) or unti I such time as the
 undersogned revokes this document and the powers of the attorney-in-fact in writing.




              k l         dayof     ~ub-t-                      , zoJ.S_.

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STATE OF TEXAS
COUNTY OF .JibG:rAilu..t.l-_ _ __


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THE ATTORNEY IN FACT OR AGENT, BY ACCEPTING OR ACTING UNDER THE
APPOINTMENT, ASSUMES THE FIDUCIARY AND OTHER LEGAL RESPONSffilLITIES
OPANAGENT.




                                               -4-


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                  POWER OF ATTORNEY DELEGATING PARENTAL POWERS
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    5.        COMPENSATION oiAit<li""V lf\.FKI N"""

    I.        SIGNATURES

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   Case 5:18-cv-01117-JKP-ESC Document 143 Filed 06/01/21 Page 305 of 305




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

PATRICIA SLACK, Individually and as the §
surviving mother of CHARLES             §
ROUNDTREE, JR., BERNICE                 §
ROUNDTREE as the representative of the §
estate of CHARLES ROUNDTREE, JR. and §
all Statutory Beneficiaries, TAYLOR     §
SINGLETON, and DAVANTE SNOWDEN §
      Plaintiffs,                       §
                                        §        CIVIL ACTION NO.
VS.                                     §        5:18-CV-1117-JKP-ESC
                                        §
THE CITY OF SAN ANTONIO, TEXAS          §
AND STEVE CASANOVA                      §
      Defendants.                       §


                         ORDER ON DEFENDANT CASANOVA’S
                         MOTION FOR SUMMARY JUDGMENT


       On this day the Court considered Defendant Steve Casanova’s Motion for Summary

Judgment.   The Court, having considered the pleadings, finds that Defendant Casanova is

entitled to qualified immunity from all claims asserted by Plaintiffs and Defendant’s Motion

should therefore be granted.

       IT IS THEREFORE ORDERED that Defendant Casanova’s Motion for Summary

Judgment is GRANTED. All of Plaintiffs’ claims against Defendant Casanova are dismissed

with prejudice.

       SIGNED on this ___ day of _____________, 2021.



                                          ELIZABETH S. CHESTNEY
                                          UNITED STATES MAGISTRATE JUDGE
